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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

caseNo. 17 c\) lio\'l@l

KATHLEEN THOMAS,
PLAINTIFF,

V.

BANK OF AMERICA CORP.

BANK OF AMERICA, N.A.,
SETERUS, INC.,
and
Corporate Does, 1-15,
And John/Jane Does, 1-25,

DEFENDANTS

:»M§’E°S+"§.

JUN U 1 2017
David J. Bradley, Clerk of Couri JURY DEMAND
Complaint
lnjunctive Relief
Declarative Judgment

Quiet Title

and for Damages

VERIFIED PETITION FOR REDRESS, COMPLAINT,

AND REQUEST FOR EMERGENCY INJUNCTIVE RELIEF

l. COMES NOW PLAINTIFF KATHLEEN THOMAS, as a person with

disabilities seeking meaningful access to the judicial system, with clean hands filing this

PETITION FOR REDRESS AND COMPLAINT AND REQUEST FOR EMERGENCY

INJUNCTIVE RELIEF pursuant to the U.S. Constitution, federal and state laws and

regulations, and common law, against DEFENDANTS BANK OF AMERICA CORP

(“BOAC”)/BANK OF AMERICA N.A.(“BANA”), together hereinafter “BOA,”

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DEFENDANT SETERUS, INC. (hereinafter “Seterus”), individually and jointly and
severally as Defendants, acting for themselves and controlling other actors as superiori,
and their employees, agents, contractors and assigns, together with 15 Corporate Does
and 25 John/Jane Does (individual defendants) whose names will be added when
identified, to prevent sale of Thomas’ property, to undo fraudulent non-judicial
foreclosure, for quiet title, and for damages. Plaintiff' s complaints against Defendants
include fraud; conspiracy to defraud; mortgage fraud; creation of and attempt to exercise
fraudulent lien; failure to disclose material facts and material misrepresentations; refusal
to execute release of fraudulent lien; insurance fraud; theft/conversion; attempted theft;
breach of contract; tortious interference with contract; exploitation of disabled, elderly
individual; defamation; intentional infliction of emotional distress; engaging in a pattern
of practices (racketeering) in violation of RICO statutes; violation of the Fair Credit
Reporting Act (FRCA); violations of Truth in Lending Act (TILA); securing execution
of documents by deception; commercial bribery; breach of fiduciary duty; misapplication
of fiduciary property; conspiracy to deprive of rights/deprivation of rights (Fannie Mae
servicers) (US Constitution, Amendments 4, 5, and 14); filing false documents with the
IRS; false claims. As a result of Defendants’ unconscionable actions, Plaintiff has
suffered damages, continues to suffer damages and if Defendants are allowed to proceed
with foreclosure sale of property, Plaintiff will suffer further actual and imminent harm.
I. JURISDICTION
2. This Court has subject-matter jurisdiction over this matter pursuant to Article III,
Section 1 of the U.S. Constitution, 28 U.S.C. §1331 (federal question jurisdiction) and 28

U.S.C. § 1367 (supplemental jurisdiction). This Court further has subject-matter

 

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jurisdiction over those of Plaintiffs’ claims that arise under the Racketeer Influenced and
Corrupt Organizations Act, 18 U.S.C. § 1962(d) according to the statute’s jurisdictional
statement, 18 U.S.C. § 1964.“National banks’ business activities are controlled by the
National Bank Act (NBA), 12 U. S. C. §l et seq., and regulations promulgated
thereunder by the Office of the Comptroller of the Currency (OCC), see§§24, 93a,
371(a). OCC is charged with supervision of the NBA and, thus, oversees the banks’
operations and interactions with customers See NationsBank of N. C., N. A. v. Variable
Annuity Lz'fe Ins. Co., 513 U. S. 251, 254, 256. The NBA grants OCC, as part of its
supervisory authority, visitorial powers to audit the banks’ books and records, largely to
the exclusion of other state or federal entities. See §484(a); 12 CFR §7.4000. The NBA
specifically authorizes federally chartered banks to engage in real estate lending, 12 U. S.
C. §371, and “[t]o exercise . . . such incidental powers as shall be necessary to carry on
the business of banking,” §24 Seventh. Among incidental powers, national banks may
conduct certain activities through “operating subsidiaries,” discrete entities authorized to
engage solely in activities the bank itself could undertake, and subject to the same terms
and conditions as the bank. See §24a(g)(3)(A); 12 CFR §5.34(e).” (Waters v. Wachovia
Bank, N.A., et al No. 05-1342, Supreme Court) Defendants are national banks, their
affiliates or operating subsidiaries, and servicers of Fannie Mae mortgages. Kickbacks
between private contractors working under a federal contract are prosecuted under 41
U.S.C.A. §§ 51-58, otherwise known as the Anti-Kickback Enforcement Act of 1986.
See also 41 U.S.C. §§ 8701 to 8707; 48 CFR 3.502-2 et seq. Fannie Mae is a “quasi-
federal” agency. While civil actions for the criminal actions are the province of federal

agencies, under common law, any party damaged by another may seek relief. The right

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of the federal government to secure financial relief reimbursement for criminal actions
does not preclude the right of individuals to seek relief for their separate damages. The
purposes of the Dodd-Frank Act include “to protect consumers from abusive financial
services practices, and for other purposes.” Sec. 1036 prohibits commission or omission
of any act “in violation of a Federal consumer financial law; or to engage in any unfair,
deceptive, or abusive act or practice.” Defendants have violated federal law and common
law.

3. This Court has jurisdiction under 28 U.S.C.A. § 1343(4). A claim for which
relief could be granted is stated under 42 U.S.C.A. § 1983. (Hall v. Garson, 430 F.2d 430
(Sth Cir. 1970), extending a federal cause of action under 42 U.S.C.A. § 1983 to
plaintiffs who are deprived of their civil rights by private persons.) (See also: Maine v.
Thiboutot and Wright v. Roanoke Redevelopment and Housing Authority.) (18 U.S .C.A.
§ 241 (1964)). A private party may be engaged in “state action” if the act which deprived
federal rights could not have occurred but for the existence of a governmental framework
requiring government approval or action. In North Georgia Finishing, Incorporated v.
Di-Chem, Incorporated, the Court found state action in a private party ’s invocation of a
court ordered attachment that failed to afford due process to the debtor Similarly, in
Lugar v. Edmondson Oil Company, the Court held that a creditor who invokes
prejudgment attachment remedies requiring the participation of a court clerk and a
sheriff, acts under color of state law. "[m]isuse of power, possessed by virtue of state law
and made possible only because the wrong-doer is clothed with the authority of state law,
is action taken 'under color' of state law."( 313 U.S.299 (1941))

4. This court has jurisdiction on this matter because of diversity under 28 U.S Code

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§1332; PLAINTIFF is a Texas citizen, and the mortgaged real estate is located in Alvin,
Texas, while DEFENDANTS’ (banks and servicers) principal offices are in North
Carolina and Oregon, and some of those individuals who are believed to be among those
to be added as discovered, are believed to be in North Carolina and Oregon.

5. This Court also has subject-matter jurisdiction over those of Plaintiffs claims
that arise under 12 U.S. Code § 2605 - Servicing of mortgage loans and administration of
escrow accounts; pursuant to 12 U.S. Code § 2614 - Jurisdiction of courts; limitations,
any action pursuant to the provisions of section 2;6_05, M, or 26_0_8 of this title may be
brought in the United States district court or in any other court of competent jurisdiction,
for the district in which the property involved is located, or where the violation is alleged
to have occurred. The property involved is located in Alvin, Brazoria County, Texas, and
some of Plaintiffs claims arise under 12 U.S. Code § 2605. Plaintiff made payments in
Montgomery County, Texas.

6. STATUTE OF LIMITATlONS: Plaintiff has been subject to continuing and
repeated violations demonstrating a pattern of practices in violation of state and federal
law throughout the period of this mortgage loan. Defendants took advantage of

Plaintiff s known disabilities from stroke and traumatic brain injury, including
consecutive memory dysfunction, and engaged in fraudulent concealment and other
practices designed to create “plausible deniability.” From time to time, Defendants
presented the appearance of correcting their egregious behavior, thus further delaying
Plaintiff s final understanding of their purpose and intent, as well as their actual deeds.
The continuing practices of Defendants, as described hereinafter and now ongoing, and

their concealment serves to toll any statute of limitations.

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7. PLAINTIFF 71 -year-old Plaintiff Kathleen Thomas is and at all times
mentioned in this complaint was a natural person residing in Conroe, Montgomery
County, Texas, and property owner in Alvin, Brazoria County, TX. Plaintiff is a
member of the Kyoth$ Tribe and is also known by her tribal call name, Katei Blueclay,
pronounced “KT.” Katei Blueclay is a Kyoth& Council member and sits on the Judicial
Panel. She has been Kyothze Tribe’s Ambassador to the Americas since 2010, is
managing editor of ACAJ, a creative arts joumal, and intermittently teaches writing for
publication in Lonestar-Montgomery Community College’s ALL Program. Plaintiff is
handicapped by disabilities secondary to stroke in the 1970’s, a series of TIAs, and
traumatic brain injury, which limit consistent performance by reason of reduced capacity
and limited functioning At all times alleged herein, Plaintiff is owner of a mortgaged
property at 614 Briarwilde Court, Alvin, TX, 77511, said property now the subject of a
fraudulent non-judicial foreclosure and Sale scheduled for June 6, 2017, with a 15-year
mortgage secured by fraudulent lien in March, 2002, for which Plaintiff accurately and
timely paid all mortgage payments, including double payments for the first two years of
the mortgage; all other required payments, including insurance and property taxes, were
timely and accurately paid by Plaintiff. Prior servicer Defendant Bank of America
(BOA) has in the past engaged in cyclic collection efforts, including notices of intent to
foreclose 4 or more times if Plaintiff did not pay the fraudulent charges and fees posted
by BOA, but each time, after Plaintiff’s exhaustive efforts, corrected repeated, cyclic
fraudulent mortgage transactions and removed some of the fraudulent charges, although

BOA never made complete corrections and does not show the double payments made to

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Countrywide Home Loan, Inc., during the first two years, or other extra payments made
from time to time through the loan period. After BOA notified Plaintiff that servicing

had been transferred to Defendant Seterus, Inc.(Seterus), Seterus continued the

fraudulent mortgage transactions. Plaintiff Thomas can be served at 10001 Overbrook
Drive, Conroe TX 773 04. Plaintiff is not and has not been in default.

8. DEFENDANT Bank of America Corporation (individually “BOAC”, and
collectively, together with its consolidated subsidiaries including Bank of America NA,
identified as “Bank of America,” or “BOA”), a Delaware corporation, is a bank holding
company (BHC), and a financial holding company. ln public federal filings, BOA states
that “The Corporation” may refer to Bank of America Corporation individually, Bank of
America Corporation and its subsidiaries, or certain of Bank of America Corporation’s
subsidiaries or affiliates, and further documents that “Bank of America is one of the
world’s largest financial institutions, serving individual consumers, small- and middle-
market businesses, institutional investors, large corporations and governments with a full
range of banking, investing, asset management and other financial and risk management
products and services, with principal executive offices located in the Bank of America
Corporate Center, 100 North Tryon Street, Charlotte, North Carolina 28255.” In 2016,
BOA assets were reported in excess of $2 Trillion. The officers and directors of Bank of
America Corp (BOAC) are the same as the officers and directors of Bank of America,
N.A (BANA). Brian Moynihan, an attorney and former BOA General Counsel (2008),
has been President, Chief Executive Officer, and Chairman of the Board of both BOAC
and BANA since January, 2010. ln 2015, Moynihan survived a highly contested election

to determine whether he could keep his job as chairman of the board. According to

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BOA’s website, “In his more than 20 years at Bank of America, Moynihan has run each
of the major customer and client businesses: consumer and small business banking,
wealth management, and corporate and investment banking.” In 2016, Moynihan’s
reported total compensation was $20 million ($10,000/hr fulltime); the bank’s board said
that 92.5% of Moynihan’s pay was “variable and directly linked to company
perfonnance,” according to an SEC filing. The bank reported 2016 earnings of $17.9
billion, up 13% from 2015, the second-highest income reported in the company’s history.
9. DEFENDANT Bank of America NA (BANA), with principal executive offices
located in the Bank of America Corporate Center, 100 North Tryon Street, Charlotte,
North Carolina 28255, is a corporation organized under the laws of Delaware, and is
controlled/controlling subsidiary of Bank of America Corporation (BOA), sharing the
same officers and board members with BOA, and acts as lender and mortgage servicer,
with contracts with Fannie Mae. Defendants BOA and BANA control their affiliates,
agents, contractors and others with whom they do business, as further detailed hereinafter.
BANA identifies itself as a debt collector in communications to Plaintiff. Brian
Moynihan, an attorney and former BOA General Counsel, is President, Chairman of the
Board and Chief Executive Officer of both BOA and BANA.

10. DEFENDANT SETERUS, INC., (hereinafter Seterus), previously owned by
BOA and sold as Wilshire Credit to IBM, who as condition of sale retained the BOA
employees, then changed its name to Seterus and was contracted by BOA thereafter to do
the same tasks they did as a BOA affiliate, is allegedly successor to/assignee of BANK
OF AMERICA NA home loan servicing, but not subject to the 2012 National Mortgage

Settlement Agreement. As shown in ASSIGNMENT OF DEED OF TRUST from BOA

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to Fannie Mae, executed on December 14, 2015, by Bank of America NA, Seterus is

located at 14523 SW Millikan Way #200, Beaverton OR 97005. Jeff Johnson is

 

President of Seterus and can be reached at 14523 Southwest Millikan Way, Suite 200
Beaverton, OR 97005. Seterus is a mortgage servicer and debt collector, as stated on
Seterus’ documents mailed to Plaintiff. Seterus, Inc., is a mortgage servicer to whom
Defendant Bank of America (BOA), former servicer, transferred servicing in 2015 or
2016, depending on which of the conflicting documents one accepts as valid, together
with fraudulent and falsified mortgage transaction records, who has refused to correct
said records and who has continued the fraudulent entries. Pursuant to the unsigned,
unnotarized Notice of Trustee Sale mailed to Plaintiff by Marinosci Law Group, self-
labeled as a debt collector, “The Mortgage Servicer is authorized to represent the
Noteholder by virtue of a servicing agreement with the Noteholder. . .to administer any
resulting foreclosure . .” Pursuant to Fannie Mae’s servicing contracts and guides,
servicers stand in a fiduciary relationship to Fannie Mae and to borrowers, and borrowers
are identified as third-party beneficiaries of the contracts. Seterus’ actual status and
relationship to BOA as servicer is somewhat confused: BOA notified Plaintiff that
servicing was transferred and Seterus was “servicer;” on a filed document, Seterus
identifies itself as “subservicer.” Seterus is directly responsible for the actions of those
Seterus directs to act.

ll. OTHER DEFENDANTS: Plaintiff does not know who owns the note and/or
loan and so cannot add it/them at this time. Defendants Corporate Does l through 25,
inclusive, and John/Jane Does, inclusive, are sued in this complaint under fictitious

names. The true names and capacities, whether individual, corporate, associate, or

 

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otherwise, of Defendants CORPORATE DOES 1 through 15 and JOHN/JANE DOES l
through 25 are unknown to Plaintiff, because of the deliberate obscurity imposed by
named Defendants in their association and Plaintiff s inability to compel them to
disgorge the information absent legal action (See Bivens v. Six Unknown Named Agents
ofFed. Bureau ofNarcotics, 403 U.S. 388, 390, fn. 2, 91 S. Ct. 1999, 2001, 29 L. Ed. 2d
619 (1971). Therefore, Plaintiff sues said Defendants by such fictitious names pursuant
to Federal Rule of Civil Procedure Rule 15(a)(2), and Rule 21. Plaintiff alleges that each
of said fictitious Defendants is in some manner responsible for the acts hereinafter set
forth. Plaintiff will amend this Complaint to show the true names and capacities of these
DOE Defendants, as well as the manner in which each fictitious Defendant is responsible,
when these facts are ascertained Plaintiff is informed and believes and thereon alleges,
that each of the fictitiously named defendants is responsible in some manner for the
occurrences alleged in this complaint, and that plaintiffs damages as alleged in this
complaint were proximately caused by those defendants

12. AGENCY: Plaintiff is informed and believes, and on that basis alleges, that at
all times relative to the events concerning each and all, each of the Defendants was an
agent, affiliate (controlled or cooperating), subsidiary, servant, employee, contractor,
joint venturer, and/or conspirator of each of the remaining Defendants, and was at all
times acting within the course and scope of such agency, service, employment, contract,
joint venture and/or conspiracy or other colluding relationship, and each Defendant has
ratified, approved, and authorized the acts of each of the remaining Defendants with full
knowledge of said facts.

13. COLLUSION, CONSPIRACY, AIDING AND ABETTING: Each of the

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1 Defendants abetted, encouraged, and rendered substantial assistance to the other
2 Defendants in breaching their direct obligations to Plaintiff as further detailed herein, and
3 their indirect obligations to Plaintiff as Plaintiff is the beneficiary of federal laws, rules,
4 regulations, and contracts, as alleged herein, In taking action, as alleged herein, to
5 collude, conspire, aid and abet and substantially assist the commissions of these wrongful
6 acts and other wrongdoings complained of, each of the Defendants acted with an
7 awareness of its/his/her primary wrongdoing and realized that its/his/her conduct would
8 substantially assist the accomplishment of the wrongful conduct, wrongful goals, and
9 wrongdoing, and in many cases, would violate federal laws, rules, regulations, and
10 contracts to which they are subj ect.
11 14. ALTER EGO/ASSOCIATION: There is a unity of interest between
12 Defendants, and each acts as the alter ego of the others. Further, a parent corporation is
13 the alter ego of a subsidiary corporation if it controls and directs its activities so that it
14 will have limited liability for its wrongful acts. Defendants are associated in their shared
15 financial interests and in the pattern of practices individually and collectively followed in
16 accomplishing their mutual aim. Because of the multiplicious, almost incestuous
17 relationships between the parties and the sheer size of the Defendants’ wide-ranging
18 asset groups as documented hereinafter, Defendants exert control over not only their
19 official affiliates, but over the entire real estate mortgage sector. BOA Defendants’
20 officers and board members are the same for the two BOA entities named (Bank of
21 America Corp and Bank of America N.A.).
22 15. STANDING: PLAINTIFF has clean hands and has suffered injuries and is
23 continuing to suffer injuries in fact, and those injuries are fairly traceable to Defendants’

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1 conduct (See hereinafter below). It is likely that Plaintiff s injuries will be redressed by
2 the requested relief. U.S. Const. Art. III, § 2, cl. 1. Plaintiff has been and is suffering
3 personal and business economic injuries and personal injuries traceable to Defendants’
4 continuing egregious conduct. Actual and imminent further injury will occur if
5 Defendants are allowed to continue their unconscionable activities, further described
6 below. Plaintiff has diligently worked throughout the past 15 years to prevent and cure
7 Defendants’ actions, and has periodically succeeded although Defendants’ recidivism has
8 overcome all of Plaintiff’s efforts, but Plaintiff"s disabilities together with Plaintiff’s
9 imperative duty to keep her chronically, critically ill granddaughter alive and in
10 reasonably good health and the resulting crisis-response life pattern has precluded legal
11 action except in extremity. Defendants have now moved their actions into extremity, and
12 Plaintiff is compelled to act at this time, lest irreparable harm ensues.
13 III. EXHIBITS
14 16. Exhibits hereto are provided with affidavit, attached hereto, and all exhibits are
15 incorporated herein by this reference, throughout.
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17 IV. REQUEST FOR EMERGENCY INJUNCTIVE RELIEF
18 AGAINST DEFENDANT SETERUS, INC., AUTHORIZED
19 REPRESENTATIVE/SUBSERVICER FOR FANNIE MAE
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21 17. Plaintiff with this request for emergency injunctive relief presents sufficient
22 evidence in the form of information and sworn exhibits to show that significant factual
23 and legal questions of ownership and indebtedness exist to require that these matters be
24 adjudicated prior to Defendants’ proposed action of non-judicial foreclosure and sale of
25 Plaintiff s property. Plaintiff requests the Court to issue an emergency injunction in order

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prevent lasting irreparable harm to Plaintiff and to provide Plaintiff meaningful access to
the judicial system, that justice might be done.

18. Plaintiff does not seek to avoid payment of her mortgage. Plaintiff made a 20%
downpayment on her 15-year mortgage in 2002, and, in fact, Plaintiff has overpaid her
$110,400 mortgage, having made double mortgage payments for years 1 and 2 of the 15-
year mortgage, and having not missed a single payment since that time, having made
automatic BILLPAY payments from a BOA checking account established for that
purpose, and the records showing all payments made timely and confirmed (SEE Exhibit
4, BOA BILLPAY 2-2010 THRU 7-2016. SEE also Exhibits 25 and 26.) Because of the
double payments in the first two years beginning April, 2002, the mortgage was actually
paid up in April, 2015, but Plaintiff continued payments (disabilities) through July, 2016,
for an overpayment of $l4,086.35. Further, from time to time, Plaintiff also made other
double payments (See Exhibit 26.) In 2011, there appears to be no payment for 5/1/2011
on Exhibit 4, but the May payment was made 4/29/2011, and BOA customer service
afterward changed the due date for the mortgage payment to the 5th of the month for July,
2011, and thereafter, explained below.

19. In a December, 2015, mailing, Defendants asserted Plaintiff owed
approximately $16,400, which consisted of fraudulent charges assessed apparently
beginning again in 2014 against an escrow account that had been waived in 2002. Such
charges had previously been assessed and removed at least three (3) times prior to 2014.
These charges include late charges for payments that were paid on time and confirmed
paid with automatic BILLPAY transfers from a Bank of America checking account set

up to make mortgage payments (See Exhibit 4). Booked entries of dates payments

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received on Plaintiffs BOA mortgage transaction records do not coincide with BOA’s
BILLPAY records (See Exhibit 12). This is a manufactured fraudulent default.

20. Plaintiff was deprived of the protection of her fundamental due process rights by
Defendants’ deception and fraud when Defendants induced Plaintiff to first agree to
purchase a home and take out a mortgage, then to execute the closing documents (Note,
Deed of Trust) While Plaintiff was temporarily unable to read the documents because of a
series of Transient Ischemic Attacks. Plaintiff because of disabilities always paid in full
for her purchases until induced by Defendants to secure a mortgage Plaintiff relied on
Defendants’ representations because Defendants had established a fiduciary relationship
with Plaintiff some time before Defendants persuaded Plaintiff to accede to Defendants’
plan to develop a strong personal credit reference through monthly mortgage payments to
match her corporations’ excellent credit reference so Defendant BOA could provide her
corporation accounts receivable financing at need. Since Plaintiff had never purchased a
property for other than full payment at purchase, Plaintiff was completely ignorant of the
transfer of rights in property that she later found she had signed, and of the other clauses
detrimental to her financial and personal interests, and of other material facts Defendants
carefully withheld from her. Had Plaintiff been able to read the documents she was
signing, she would not have signed them, particularly since she had no personal financial
need to secure a mortgage. Plaintiff trusted Defendants, to her lasting cost.

21. With this request for injunctive relief, Plaintiff seeks to prevent fraudulent sale
of her property on June 6, 2017, until the matters presented herein are adjudicated by this
court, and this court can establish both ownership of the note and Deed of Trust,

determine whether any indebtedness exists, and if so, what that indebtedness is.

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1 22. Time is of the essence. Although Plaintiff is not and has not been in default, and
2 rather has prepaid the mortgage, as explained herein, Defendants have filed non-judicial
3 foreclosure and notice of sale of Plaintiff s property to be held on June 6, 2017. Because
4 of Plaintiff s disabilities and family illness, Plaintiff has had inadequate time to secure
5 and work with an attomey, and attorneys have declined this case because of the time
6 constraints, but would take it given adequate time to prepare a case which would be
7 possible with this Court’s issuance of emergency injunctive relief. Given time by this
8 Court’s inj unction, Plaintiff is determined to retain attorneys to conduct the litigation,
9 because Plaintiff cannot otherwise secure meaningful access to the judicial system.
10 Defendants have previously threatened foreclosure at least 4 times, based on their
11 fraudulent mortgage transactions, and have each prior time, after extensive and
12 exhaustive efforts by Plaintiff, finally “corrected” the record and removed the alleged
13 default, Plaintiff s husband has been ill for over a month and had surgery on May 23,
14 2017. Plaintiff’ s critically, chronically ill granddaughter has just been referred for
15 surgery within the next 3-4 weeks. Although filing this petition Pro Se, Plaintiff is well
16 aware that her disabilities make her incompetent to assure meaningful access to the
17 judicial system: Plaintiff is unable to prosecute her claims without the aid of attorneys
18 whose fees she is well able to pay. Plaintiff requests injunctive relief to stop sale of
19 Plaintiffs property until this matter can be adjudicated in this Court with an attorney or
20 attorneys who will amend the petition to meet federal court requirements and proceed
21 according to the rules.
22 23. The Court might at first find this situation and Plaintiff’ s actions or periodic
23 inactions inconsistent and unbelievable, but when one considers the exigencies of

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Plaintiffs life with disabilities and her duties and responsibilities for maintaining the life,
health, and wellbeing of a child who can be triggered into sudden cardiac arrest or
laryngospasm by any ordinary change in any external or internal environmental factor,
and who cannot be resuscitated by normal means, who responds to only one medication
which is increasingly hard to secure, then it is easier to understand how and why crisis-
to-crisis existence precludes normal reactions and activities that would otherwise receive
high priority responses, and why Plaintiff found it almost impossible to deal adequately
with Defendants’ depredations. That Defendants were well aware of Plaintiff s situation
from before the inception of the mortgage makes their actions all the more egregious
24. One of the basic policies of the common law is that no one shall be allowed to
profit by his own Wrongdoing: “nullus commona'um capere protest de injuria sua
propria." A wrongdoer should not be enabled by law to take any advantage from his
actions: “Commodum Ex Injuria Sua Nemo Habere Debet. ”

25. Absent the Court’s issuance of an injunction delaying sale of Plaintiff s
property, Defendants, including Seterus, Inc., will be enabled by law to profit by their
egregious wrongdoing, and Plaintiff will suffer great and irreparable injury. Writ of
injunction may be granted if irreparable injury to real or personal property is threatened,
irrespective of any remedy at law. No financial restitution can restore to Plaintiff the
peace of mind threatened by Defendants’ actions, or overcome the potential fatal effects
of Plaintiff’s distraction from the essential management of a potentially fatal condition.
Sale of Plaintiff’ s property, whether later rescinded or whether financial restitution is
made, will also cause physical injury to Plaintiff and to Plaintiff’s disabled adult son who

resides in the home. Stresses and the related rise in blood pressure are particularly

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1 dangerous in those predisposed to stroke and TlAs, like Plaintiff, and Plaintiff has
2 already been hospitalized once as a direct result of Defendants’ practices. Plaintiff is
3 entitled to the relief under the principles of equity and state statutes relating to
4 inj unctions.
z 5 26. Equity must assure that those who are hanned can find relief, that the relief will
6 only be granted for reasons that are themselves fair, that the form of the relief granted is
7 fair to all concemed, and that equity is not used for unfair purposes. Plaintiff has suffered
8 greatly as a result of the actions of Defendants, who first established themselves in a
9 position of such trust that Plaintiff was induced to forego habitual protections
10 necessitated by her stroke and traumatic brain injury disabilities, and then deliberately
11 violated every principle they advocated and expressed in order to increase their profits.
12 In spite of her handicaps and severe life conditions, Plaintiff has diligently fought
13 Defendants to the best of her abilities, and has refused to accede to extortionate threats.
14 27. In spite of Defendants’ deliberate fraud and violation of their oral agreements,
15 said agreements as demonstrated in the period of performance from 2002 ~ 2009,
16 Plaintiff has made all payments required by her unnecessary mortgage. Plaintiffs hands
17 are clean. Equity requires that Defendants not be enabled or assisted by the judicial
18 system to seize a property for nonpayment when Plaintiff has overpaid the loan.
19 28. The chain of assignments is faulty, and Seterus thus has no authority to
20 foreclose and to sell PlaintifPs property. An obligor has standing to challenge the chain
21 of assignments by which a party claims a right to foreclose. See Preston v. Seterus,
22 Inc., Ll F.Supp.2d_7_43, 751-55 (N.D. Tex. 2013); Miller, 881 F. Supp. 2d at 832
23 (collecting cases); Millet v. JP Morgan Chase, N.A., No. SA-l 1-CV-1031-XR, 2012 WL

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1 1029497, at *3-*4 (W.D. Tex. Mar. 26, 2012); Rice v. Bank ofNew York, No. 4:11-CV-
2 4220, 2012 WL 3685981, at *2 (S.D. Tex. Aug. 24, 2012). While a plaintiff may not
3 have standing to enforce the terms of an assignment to which he was not a party, he
4 would have standing to challenge the authority of a defendant to foreclose under a note
5 and deed of trust to which the plaintiff was a party. Preston, 931 F. Supp. 2d at 755. This
6 is because in the latter case the plaintiffs claims derive from the note and deed of trust
7 and not any related assignments of those instruments Id.
8 29. Seterus, Inc., filed a fraudulent APPOINTMENT OF SUBSTITUTE TRUSTEE
9 in Brazoria County, TX, on 4/20/17. This document contains two (2) or more false
10 statements, that Seterus knew or should have known were false. The statement that
11 Plaintiff executed and delivered to Trustee a Deed of Trust/Security lnstruments securing
12 a note payable to the order of MORT GAGE ELECTRONIC REGISTRA TION
13 SYSTEMS, INC., is false (See Exhibit 10). The Promissory Note was payable to
14 Countrywide Home Loans, Inc., the “Mortgagee,” and Vendor’s Lien and Deed of Trust
15 lien was “assigned, transferred, and delivered to Mortgagee.” (See Exhibit 8-A, p. 1
16 Warranty Deed With Vendor’s Lien, citing note payable to Countrywide Home Loans,
17 lnc.) (Emphasis ours.)
18 30. The second false statement is that “default was made in the payment of such
19 Note. . .” Plaintiff has made no default in payment, as Exhibit 4 demonstrates, together
20 with sundry other facts and proofs hereinafter and at trial.
21 31. Third, within the Appointment, Seterus states it is “the undersigned, the legal
22 owner and holder of such note.” The Appointment is signed by “Seterus, Inc., as
23 Authorized Subservicer for Federal National Mortgage Association (“Fannie Mae”). . .”

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1 in the person of Rebecca Higley, Assistant Secretary for Lien Releases and Assignments,
2 in Bonneville County, Idaho. Beneath the notarization, “Grantor” is identified as Seterus,
3 Inc., etc., in Dallas, TX. The language in this Assignment of Substitute Trustee,
4 including the false statements, creates a question as to who is the owner and holder of the
5 referenced Note.
6 32. Transfer of ownership of the promissory note is not a recordable transaction
7 However, the Truth In Lending Act (TILA) requires that borrowers be notified of
8 ownership changes. Under federal law, borrowers are entitled to receive notification
9 when the ownership of their loan changes. Plaintiff was not notified of ownership
10 changes of the promissory note or of ownership of her loan when or if ownership
ll changed from Countrywide Home Loans, Inc., or thereafter.
12 33. ln the Original Deed of Trust filed 2002 (Exhibit 8), which Plaintiff was
13 induced by fraud and deception to execute, the trustee is identified as CTC Real Estate
14 Services at 400 Countrywide Way in Simi Valley CA, MERS is identified as a
15 beneficiary solely as nominee, but the property was granted and conveyed to Trustee
16 CTC Real Estate Services, in trust, with power of sale under a section titled Transfer of
17 Rights in the Property. MERS is described as a beneficiary in this section, but there is no
18 explanation of for whom the trustee serves anywhere in the document. The question
19 remains.
20 34. According to MERS’ published facts, “At closing, the lender and borrower
21 agree to appoint MERS as the mortgagee on the mortgage or deed of trust.” “All
22 mortgages (or deeds of trust) registered on the MERS® System are recorded in the
23 public land records, and MER$ remains the lien holder in the land records whenever

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1 transfers of the promissory note or servicing rights take place between MERS members.”

2 “In 2011, MERS changed its rules so that foreclosures may no longer be started in its

3 name. Prior to the foreclosure, MERS will assign the loan back to the lender (or the

4 current owner of the loan). . . In a nonjudicial foreclosure, the lender or current owner of

5 the loan will be named as the beneficiary in the foreclosure notices.”

6 35. MERS is not appointed as mortgagee on Plaintiff’ s Deed of Trust, but is

7 beneficiary. Countrywide Home Loans, Inc., is named as mortgagee. Fannie Mae is

8 named as Noteholder in the Notice of Trustee’s Sale, but the Assignment of Deed of

9 Trust, December, 2015, is from Bank of America as “successor to” “Countrywide Home
10 Loans Servicing, LP” to Fannie Mae. (See Exhibits 8 through 10.) MERS allegedly
11 provides the missing link in the assignment chain; however, the position MERS states for
12 itself is not evident, since it is BOA who assigned the Deed of Trust to Fannie Mae,
13 36. Further, the Deed of Trust/Security lnstrument and the Note are a fraudulent lien
14 pursuant to Texas law, because execution of the documents was obtained by deception
15 by Bank of America and Countrywide Home Loans, Inc., jointly and severally, as
16 defined in TX Title 7, Chapter 31 Sec. 31.01 (execution of Note and Deed of Trust to
17 Countrywide Home Loans, lnc. secured by deception per TX Title 7 Chapter 32 Sec.
18 32.46), as further described and explained in this petition, and Plaintiff was induced by
19 trusted Defendants’ knowingly false and deceptive iteration of the supposed contents of
20 the documents, to execute the documents while she was unable to read as a result of
21 having suffered a series of Transient Ischemic Attacks, Defendants having convinced her
22 not to wait until she had recovered. Since Plaintiff had also lost the ability to read when
23 she first had a stroke, then later regained it, Plaintiff believed she would again regain the

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1 ability. Plaintiff’s consent was not effective because it was induced by deception (TX

2 Penal Code Chapter 31 Sec. 31 .01(3)(a)). The Deed of Trust and Promissory Note are

3 invalid because of ineffective consent. However, Plaintiff has overpaid the mortgage,

4 with double payments for the first two years, and having made all other payments each

5 month.

6 37. Texas Penal Code Title 7 § 32.46 provides that (a) A person commits an offense

7 if, with intent to defraud or harm any person, he, by deception: (1) causes another to sign

8 or execute any document affecting property or service or the pecuniary interest of any

9 person.” Defendants have unlawfully appropriated Plaintiff s real property by
10 nonjudicial foreclosure based on a Deed of Trust and Note for which Plaintiffs consent
11 was not effective because induced by deception with intent to defraud Plaintiff, and now
12 seek to sell it. Texas Penal Code 31.03, Thef`t, provides that “(a) A person commits an
13 offense if he unlawfully appropriates property with intent to deprive the owner of
14 property. (b) Appropriation of property is unlawful if: (l) it is without the owner’s
15 effective consent.” “Chpt 31 .01(4) “Appropriate” means: (A) to bring about a transfer or
16 purported transfer of title to or other nonpossessory interest in property, whether to the
17 actor or another; or (B) to acquire or otherwise exercise control over property other than
18 real property. (5) “Property” means: (A) real property; (B) tangible or intangible personal
19 property including anything severed from land; or (C) a document, including money, that
20 represents or embodies anything of value.”
21 38. Further, when Defendants as servicers received Plaintiff s regular mortgage
22 payments, failed to apply them to principal and interest, and applied them to the

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1 fraudulent charges Defendants created and posted in “escrow,” Defendants appropriated
2 Plaintiff’ s money, and are guilty of theft under Texas law.
3 39. Defendant Seterus, lnc.(Seterus) filed this fraudulent Substitution of Trustee in
4 Brazoria County, TX, and in it issued or caused to be issued a Notice of Acceleration of
5 Maturity and Notice of Non-Judicial Foreclosure Sale based on faulty title and
6 manufactured default, Defendants’ falsification of data, and their creation of fraudulent
7 mortgage transaction records falsely alleging default, while Plaintiff is not and has not
ll 8 been in default ln the document, Seterus appointed Marinosci Law Group, PC, et al, as
9 substitute trustee and instructed trustee to sell Plaintiff s property.
10 40. The unsigned, unnotarized NOTICE OF TRUSTEE’S SALE from Marinosci
11 Law Group, PC, the substitute trustee, states sale is scheduled for June 6 2017. (SEE
12 Attached Exhibit 1, Cover Letter_Notices combined.)
13 41. Plaintiff served on Defendants via certified mail a Demand that Defendants
14 execute release of the fraudulent lien or claim, pursuant to TX Title 7, Sec. 32.49, on
15 May 8, 2017. (SEE Attached Exhibit 2, DEMAND AND ATTACHMENTS, with
16 proofs). Plaintiff certified mailed the Demand to the following: Christopher K. Baxter,
17 Marinosci Law Group, PC; Brian Moynihan, CEO Bank of America Corp; Jeff Johnson,
18 President or his successor, Seterus; Timothy J. Mayopoulos, Pres. and CEO Fannie Mae;
19 F annie Mae National Servicing Organization, Dallas; Chairman Mike Crapo, US Senate
20 Committee on Banking, Housing, and Urban Affairs; Chairman Jeb Hensarling,
21 Financial Services Committee; Director Mel Watt, FHFA.
22 42. Defendant Seterus answered May 9, 2017, with an unsigned form letter stating
23 “Dear THOMAS, KATHLEEN: We are in receipt of your inquiry and are in the process

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of reviewing the issue(s) presented” (SEE Attached Exhibit 3, Seterus Answer). The
form of Seterus’ address of plaintiff by last name, first name, and failure to sign the letter
follows the usual and customary pattern of practices Defendants have continued to
engage in; and the arrogance and callous disregard of Plaintiff’s rights and of the law
demonstrated in the unsigned form letter reflects Defendants’ 3,000 pound canary
attitude.

43. Defendant BOA’s unsigned answer, received May 19, 2017, over the name of
Victor Kabasele, identified as a Resolution Specialist with Executive Mortgage Servicing
Complaints, states “We have found the best way to communicate is by phone,” requests
that Plaintiff call him, and states that he expects to complete his review by May 26, 2017.
Based on the experiences of having previously dealt with BOA’s resolution specialists,
as demonstrated by a review of Exhibit 12 A-D and Exhibits 19-A and 19-B, Plaintiff
does not expect to see a resolution of the problem, but rather more delaying action.
Further, BOA’s files contain multiple notices that Plaintiff is handicapped and has
difficulty dealing with phone conversations. The fact that there is no signature indicates a
form letter, sent to add to the paper trail Defendants consistently create and maintain as
part of their pattern of practices, but effects no change or correction of the problem, as is
usual and customary with these Defendants.

44. Under 12 U.S. Code § 2605 (e)(2), servicers are required “Not later than 30 days
(excluding legal public holidays, Saturdays, and Sundays) after the receipt from any
borrower of any qualified written request under paragraph (1) and, if applicable, before
taking any action with respect to the inquiry of the borrower,” to “make appropriate

corrections in the account of the borrower. . .” (Emphasis ours.) Sale of the property and

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1 the harm to Plaintiff if Defendants continue with the announced action make delaying the
2 sale “applicable.” Seterus gives no indication that the sale action will be delayed until
3 after resolution, and the 30-day period allowed for action does not allow time for
4 adjudication of the issues and for justice to be done; therefore Plaintiff seeks judicial
5 intervention in the form of injunction so that justice may be done.
6 45. On May 22, 2017, Plaintiff received another letter from Seterus (See Exhibit 22),
7 with a stamped signature, refusing to release the fraudulent lien, and alleging that
8 Plaintiff provided no proof, although Plaintiff had attached documentary proof , Seterus,
9 as current servicer, is required by Fannie Mae to have received the complete mortgage
10 files from BOA, and the documents in the file should show clearly that no escrows, no
11 insurance queries, or any of the fraudulent entries appeared prior to BOA’s becoming
12 servicer in about 2009-2010, should include notations of corrections, and sufficient other
13 evidence for Seterus to recognize wrong-doing and correct it. (See Exhibit 2, Demand
14 and Attachments. See also Exhibit 12, Some BOA Mortgage Transaction Reports, with
15 conflicting data, and Exhibit 4, BOA BILLPAY 2-2010 through 7-2016.)
16 46. Seterus’ response follows Defendants’ usual practices of misdirection,
17 misrepresentation, reiteration of previous lies, and other deceptive practices, as described
18 in numerous legal actions and settlements, and documented in the Exhibits attached
19 hereto and the proofs to be provided at trial (See Exhibit 19 A and B for examples).
20 Exhibit 19 A includes the following: “Our records indicate we spoke to Great Lakes
21 Insurance on May 28, 2013, and we were advised the policy would not be renewed.”
22 There is no date on that portion of the email. On 19 B, there is a date of 9/10/2013 over
23 that comment. Plaintiff replied after discovering from her insurance agent that what had

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1 actually happened was that on May 28, 2013, BOA had instructed the insurer to cancel
2 Plaintiff’s policy; the agent did not do so, so Plaintiffs policy remained in force. After
3 Plaintiffs reply informing BOA of her discovery, BOA replied with the Message dated
4 03/06/2014, and supposedly corrected the escrow to remove the charge and return the
5 payment amount to the agreed $939.09. Plaintiff downloaded copies of this message at
6 different times, and found that the original message had been altered somehow. Note the
7 differences between 03/06/2014 on 19A and 19 B. 19 B contains 4 additional nonsensical
8 paragraphs “explaining” BOA’s treatment of Plaintiff’s mortgage payments. Note also
9 the sentence “Your next payment is due February 1, 2014,” and that BOA has n_ot
10 corrected the escrow and returned to the correct mortgage payment (Emphasis ours.)
11 Defendants appear to be convinced that their misrepresentations will be accepted as fact,
12 provided that they continue to say them and maintain a written copy in their files, but
13 they are apparently unaware that some clients download and keep their messages.
14 47. Based on Plaintiff’s business experience with computer programming and data
15 bases, deletion of a message and substitution of another message requires an individual
16 with programming skills at a level above that necessary for creating data base reports.
17 48. Defendants have refused to release the fraudulent lien, an offense under Texas
18 Penal Code 32.29.
19 49. Plaintiff is filing this action pro se because the attorneys approached to file the
20 suit after Plaintiff was noticed of the foreclosure and sale cited inability to do the
21 necessary work in the time given, particularly given Plaintiff’s aphasia [verbal
22 communication difficulties] secondary to stroke. Based on previous cyclic action by
23 Defendants, Plaintiff expected several more months of vacillation, then Defendants’

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action to correct the records, rather than fraudulent foreclosure and sale of the property.
With the Court’s permission and injunctive relief permitting same, Plaintiff will secure
an attorney or attorneys to prosecute this case in compliance with the rules of Court
which Plaintiff is currently unable to comply with because of her disabilities

50. Plaintiff requests that this Court issue an order temporarily enjoining Defendant
Seterus, Defendants’ employees, agents, associates, contractors, and assigns, including
trustees, or any other putative owner of the Note/Deed of Trust, from foreclosure sale of
Plaintiff’s property at 614 Briarwilde Court Alvin TX 77511, for the pendency of this
action or as the Court may otherwise deem proper, so that justice may be done.

51. Plaintiff’s case differs from the usual mortgage fraud/foreclosure cases in that
Plaintiff is not and never has been in default on her 15-year mortgage for $110,400.00
secured in 2002, on a property at 614 Briarwilde Court, Alvin TX, 77511, said property
valued at $150,000.00. In fact, Plaintiff’ s mortgage should have been marked paid in
2015, because of double payments Plaintiff made for the first two years of the loan: 2002
- 2004. At all times, Plaintiff s automatic payments were made timely and confirmed
(SEE Attached Exhibit 4, BOA BILLPAY 2-2010 THRU 7-2016 Mortgage Payment
Records). At all times, Plaintiff maintained required insurance at actual replacement
value and provided proof of each year’s renewal; at all times, Plaintiff paid property
taxes and other costs associated with the mortgaged home. Escrow was waived to meet
Plaintiffs disability needs and requirements (SEE Attached Exhibit 5, Countrywide
Home Loans, Inc., memo waiving escrow.) and as part of the verbal agreement between
Plaintiff and Defendants which was used as part of the inducement for Plaintiff to

execute the documents (note and deed of trust, etc.) associated with the mortgage,

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52. In 2008-2009, BOA started booking fraudulent charges to Plaintiff’s bank
records (mortgage transactions) by first transmitting to Plaintiff via computer a document
alleging a false minimum insurance requirement of $256,000 (requirement for insurance
in excess of insurable limits); “Our records indicate that you did not have the
minimum required insurance for this loan. As a result, a lender placed policy has
been obtained for you.” (See Exhibit 13.) The original 2002 15-year mortgage was
8110,400; Plaintiff maintained $150,000 or above throughout, with three policies as
required in that area of Texas: flood, HO or hazard, and wind (Texas Wind lnsurance
Association). At this time, the outstanding balance of the loan was considerably less
than $110,400, and BOA misrepresented the mortgagee’s insurable interest at more than
double the original loan.

53. BOA then created an unauthorized escrow account to which BOA posted
premiums for an alleged lender placed policy, although BOA had admitted Plaintiff’s
policy was in effect and they had proof of insurance, since their document did not allege
that there was no proof of insurance, but that the insurance was less than the minimum
required. Although that charge was later reversed, from that time on, BOA made many
“errors” and fraudulent charges, removed them, added others, removed them, ad
infinitum, and continued manufacturing defaults and posting fraudulent data to the bank
records of Plaintiff s mortgage, from time to time, (See Exhibits 12 and 14.) BOA email
customer services messages online from time to time prove Defendants knew insurance
was not escrowed “each year,” and document Defendants’ fraudulent “errors.” (See
Exhibit 20, BOA Mortgage Account Memo 3_31_14.) After BOA transferred servicing

to Seterus, by whatever process, Seterus continued the practices,

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54. In 2011, BOA failed to post an early payment for May, 2011, when it was made,
and posted the June, 2011, payment as a late May payment. Customer service, after many
delays, finally admitted in a telephone conversation that they had received 2 payments in
April, shown on the BILLPAY records (Exhibit 4) on 4/1/2011 and 4/29/2011, and
suggested changing the due date to the S‘h of the month in order to prevent similar
“posting errors.” BILLPAY records show the payment for 7/1/2011 “cancelled” and a
payment for 7/5/2011 processed, demonstrating Plaintiff’ s compliance with BOA
customer service’s change.

55. All payments thereafter were made on or before the 5th of the month; and almost
all of them were deliberately posted by Defendant BOA as “late payments” thereafter, in
spite of their action to change the payment dates for their convenience BOA used this
false entry pattern as justification for labeling Plaintiff as in default, behind on her
mortgage payments, and transmitting this false information to credit bureaus. (See
Exhibit 12.)

56. BOA also routinely posted completely fraudulent charges to Plaintiff’ s mortgage
transaction reports. Exhibit 14 is a page of BOA’s account analysis for 8/12/2010 on
which Monthly PMI, PMI Payment, School tax pmt, Spec assessment tax, and County
tax pmt appear, all of which are fraudulent. At other times, BOA posted FHA MIP. None
of these relate to Plaintiff’s mortgage, Plaintiff made a 20% down payment for this 15-
year loan. Plaintiff’s was not an FHA loan.

57. Defendant Seterus, Inc., included as a portion of the alleged default certain sums
that Seterus alleges are due from Plaintiff because Seterus paid Plaintiff’s property taxes

for 2015 and charged said payment against an unauthorized escrow set up after Bank of

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America acquired Countrywide and became the loan servicer. At all times during the
mortgage period Plaintiff paid her own property taxes, and continued to pay all property
taxes after Seterus took over servicing.

58. In 2015 , Seterus or BOA made an unauthorized duplicate property tax payment
through subcontractor CoreLogic that was subsequently returned by Brazoria County
Tax Collector Ro’Vin Garrett, as documented in Exhibit 6, Brazoria County Property
Tax memos, proving Seterus’ or BOA’s payment was retumed, with a copy of the front
and back of the cancelled check. Upon information and belief, Seterus or BOA made the
unauthorized payment in an attempt to legitimize the fraudulent escrow account, as a
waived escrow can only be established under Fannie Mae servicing when the
mortgagor’s property tax payments are delinquent; Plaintiff’s property taxes have never
been delinquent Whether it was Seterus or BOA is confused because BOA informed
Plaintiff that servicing was transferred Dec. l or Dec. 15, 2015, but BOA also mailed
Plaintiff an Annual Escrow Account Disclosure Statement January 14, 2016, stating “We
are sending you this statement of activity in your escrow account from August 2015
through January 2016, the date on which your loan was paid in full or transferred to
another servicer.” (See Exhibit 17.)

59. Although Brazoria County returned the unauthorized payment, as shown by
copies of the cancelled check in Exhibit 6, BOA and/or Seterus maintain the charge
against the fraudulent escrow account, and falsely cited this returned payment as part of
Plaintiff s alleged default, and as the basis for altered escrow charges for future (after

Dec. 2016) and an increase in mortgage payment. Plaintiff has refused throughout this

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period to pay the additional sums based on their fraudulent entries that Defendants have
attempted to extort from Plaintiff,

60. Although Seterus’ unauthorized duplicate tax payment for 2015 was refunded,
and Seterus, having been required by F annie Mae to receive a complete copy of BOA’s
mortgage file, and further having been notified by Plaintiff, knew that the mortgagee
and/or its servicer had never paid property taxes and were not authorized to pay
Plaintiff’s property taxes, and further, knew or should have known that Plaintiff’s
property taxes were not delinquent, Seterus nevertheless submitted another duplicate
property tax payment for 2016, which duplicate payment has been or will be refunded by
Brazoria County, because Plaintiff paid her property taxes as usual.

61. Upon information and belief, Brazoria County has notified Seterus that it is
waiting for a written request from Seterus for its refund; Seterus is aware that their
payment is a duplicate and is to be refunded, but has failed to follow Brazoria County
procedures, preferring instead to assert a fraudulent debt owed by Plaintiff for Seterus’
unauthorized property tax payments.

62. FAULTY TITLE/OWNERSHIP: Proof of ownership is inadequate for
foreclosure and sale. A non-party homeowner may challenge a putative assignment’s
validity on the basis that it was not effective to pass legal title to the putative

assignee. See Conlin v. Mortg. Elec. Registration Sys., 714 F.3d 355, 361 (6th Cir. 2013)
(stating that a third party may challenge an assignment if that challenge would render the
assignment void); Livonia Props., 399 F. App’x at 102; see also Woods v. Wells Fargo
Bank, N.A., 733 F.3d 349, 353-54 (1stCir. 2013); 6A C.J.S. Assignments § 132 (“The

debtor may also question a plaintiff’s lack of title or the right to sue.”).

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63. On information and belief, proof of ownership is inadequate for foreclosure and
sale. Any action to foreclose requires proof of ownership of the mortgage, This must be
demonstrated by actual possession of the note and mortgage, together with proof of any
chain of assignments leading to the alleged ownership. Defendants have a history of
misconduct related to legal title, documented in Consent Agreements, suits, settlements,
affidavits and so forth dealing with proof of wrong-doing, which are here referenced to
show a pattern of practices leading to a logical premise that that Defendants continued
their wrongdoing, and that it is unlikely that Defendants failed to follow their usual
pattern of practices. Plaintiff’s title research shows this to be the case here. (See below
and Exhibits 7 through 10.)

64. For example, on April 13, 2011, the Office of the Comptroller of the Currency
(“OCC”) issued a Consent Order citing “systemic failure. . .to properly assign underlying
mortgage loans, and finding that Bank of America N.A., including in its role as alleged
successor to Countrywide, engaged in improper foreclosure practices to cover up the fact
that issuing trusts lacked legal title sufficient to foreclose upon underlying mortgage
loans.” In re Bank of Am., N.A., Consent Order, AA-EC-l 1-12 (Apr. 13, 2011), available
at http://www.occ.gov/news-issuances/news-releases/2011/nr-occ-201 1-47b.pdf. BOA
tends to allege it is successor to Countrywide without specifying exactly what is meant
by “Countrywide.” Often that appears to be Countrywide Home Loans Servicing, LP, as
in this case, rather than Countrywide Home Loans, Inc. Absent inquiry by the court or
clarification by opposing parties, it seems that BOA’s assertion is accepted as “successor
to Countrywide Home Loans, Inc.,” which redounds to BOA’s benefit. BOA has a

tendency to clever expressions, as in responding in one case where the Plaintiff sought to

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verify that BOA was one of the founders of MERS and used 1994 as the putative date of
organization, BOA responded that it was not one of the founders of MERS in 1994.

65. On researching, Plaintiff found that is no clear chain of evidence showing proper
transfers or assignment of title/ownership of the (fraudulent because executed as a result
of deception, pursuant to Texas law, see below) Deed of Trust to the proper parties that
would permit foreclosure and sale of the property, beginning with Countrywide Home
Loans, Inc., and ending with Fannie Mae, although MERS is a beneficiary. A May 2017
Brazoria County title search elicited 4 items: the Warranty Deed with Vendor’s Lien;
original Deed of Trust recorded 4/01/2002, an Assignment of Deed of Trust recorded
12/15/2015, and an Appointment of Substitute Trustee recorded 4/12/2017 (See Exhibit
7, Brazoria County Title Search; See Exhibit 8, Original Deed of Trust; See Exhibit 8-A
Warranty Deed with Vendor’s Lien; See Exhibit 9, Assignment of Deed of Trust). See
Exhibit 10, Appointment of Substitute Trustee).

66. MERS is owned by MERSCORP Holdings, Inc. Merscorp was founded in
either 1993 or 1995 and is owned by the major financial institutions involved in the
mortgage market, including Citigroup, Chase, Bank of America, Wells Fargo, FNMA,
FMAC and others. MERS tracks mortgages and was established to reduce the charges of
recording home ownership in local communities, thus making the widespread
securitization of residential mortgages possible.

67. According to MERS Quick Facts, online, Lenders use MERS as a nominee, with
MERS as mortgagee. because when the loan is in MERS’ name in the land records, this
saves time and recording costs because multiple assignments are not necessary each time

the loan changes hands. MERS does not own the underlying debt. While MERS then

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acts as mortgagee in county land records, it does not actually own the promissory note. “ln
2011, MERS changed its rules so that foreclosures may no longer be started in its name.
Prior to the foreclosure, MERS will assign the loan back to the lender (or the current
owner of the loan).”

68. The loan is not in MERS name as mortgagee in the land records. There is no
assignment from MERS back to the lender or the current owner of the loan.

69. The 2002 original Deed of Trust (Exhibit 8) records the Grantor as Kathleen

Thomas and the Grantee/Lender as COUNTRYWIDE HOME LOANS, INC (CHL), the

 

lender, with MERS as simple nominee (not mortgagee) for Lenders’ successors and
assigns. The trustee is CTC Real Estate Services, which operates as a subsidiary of NB
Holdings Corporation, a bank holding company based in Charlotte, North Carolina,
which operates as a subsidiary of Bank of America Corporation. NB Holdings Corp’s
address is 100 North Tryon Street 56th Floor, Charlotte NC 28202

70. MERS’ explanation of “How MERS Works” online (Exhibit 21) states “MERS
is appointed “mortgagee as nominee” for the lender and its successors and assigns,” but
this language does not appear in the original Deed of Trust.

71. According to MERS QUICK FACTS, Mortgage Electronic Registration
Systems, Inc. ("MERS") is a wholly-owned subsidiary of MERSCORP Holdings, and its
sole purpose is to serve as mortgagee in the land records for loans registered on the
MERS® System and MERS® Commercial. MERS is a nominee for the lender and
subsequent buyers ("beneficial owners") of a mortgage loan and serves as a common
agent for the mortgage industry. At closing, the lender and borrower agree to appoint

MERS as the mortgagee on the mortgage or deed of trust. This means that when a MERS

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member sells the loan to another MERS member, only the promissory note-and not the
mortgage-transfers, because the mortgage is grounded in the name of MERS. Therefore,
because the mortgage did not transfer, an assignment to record the transfer need not be
filed. All mortgages (or deeds of trust) registered on the MERS® System are recorded in
the public land records, and MER$ remains the lien holder in the land records whenever
transfers of the promissory note or servicing rights take place between MERS members.
The MERS® System is not a legal system of record nor a replacement for the public

land records. No interests are transferred on the system; they're only tracked.

Transfer of ownership of the promissory note is not a recordable transaction However, the
Truth ln Lending Act (TILA) requires that borrowers be notified of ownership changes.

[http://wwwdllinoiscourts.gov/SupremeCourt/Public Hea_ringsH\/lortgage Foreclwefha

 

 

ctice Procedures/2012/mercorp.pdf

 

72. According to federal charges, MERS has created a “systemically important, yet
inherent unreliable, database,” and a fatal flaw is that MERS allows “the entry and
management of data by those MERS members who are identified as owners or servicers
in the MERS System, instead of controlling entry and management itself.” This includes
Defendants, who have unsupervised, unmonitored access and may make entries and alter
them at will. The validity of a data base which can be manipulated and/or altered by any
self-serving member is a vanishingly small number, and use of such a database to
determine ownership of a note or a property cannot produce reliable results.

73. The 2015 Assignment of Deed of Trust is from Bank of America as “successor

by merger to BAC Home Loans Servicing, LP, FKA Countrywide Home Loans

 

Servicing, LP,” to F annie Mae/Dallas (Exhibit 9).

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74. The note referenced in Exhibit 8-A is payable to Countrywide Home Loans, Inc.,
which is not the same entity as Countrywide Home Loans Servicing, LP (Exhibit 8-A).
75. Plaintiff was not notified of a change in ownership, pursuant to TILA.
“Consistent with the statute, the final rule requires a purchaser or assignee that acquires a
loan to provide the disclosures in writing no later than 30 days after the date on which
the loan was sold, transferred or assigned.” “The purchaser or assignee that acquires the
loan must provide the required disclosures no later than 30 days after the date on which it
acquired the loan. This provision is contained in TILA Section 131(g), §U_S_C_l@l(g),
which applies to any consumer credit transaction secured by the principal dwelling of a
consumer. Consequently, the disclosure requirements in Section 131(g) apply to both
closed-end mortgage loans and open-end home equity lines of credit.” “The legislative
history indicates, however, that TILA Section 131(g) was not intended to require notice
when a transaction “does not involve a change in the ownership of the physical note,”
such as when the note holder issues mortgage-backed securities but does not transfer
legal title to the loan. 155 Cong. Rec. S5099.”

76. There appears to be no recorded transfer or assignment from Countrywide Home
Loans, Inc., to any of the other parties, including Countrywide Home Loans Servicing,
LP, or from Countrywide Home Loans Servicing, LP, to Bank of America or to Fannie
Mae, regardless of MERS.

77. No record is found of a transfer or assignment from Countrywide Home Loans,

Inc., to Countrywide Home Loans Servicing, LP, to which BOA is allegedly “successor

by merger.”

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78. Plaintiff was not notified of a sale or transfer of her mortgage loans or note, as
required by TILA, and noted by MERS in its Quick Facts referenced in Para 63 above.
79. BOA’s usual claim in mortgage suits that it is a “successor by merger to
Countrywide” is not true as stated. BOA is not “Successor by merger” to Countrywide
Home Loans, Inc. CHL may have merged with Red Oak Merger Corp; there is some
confusion because of BOA’s tendency to use the term “Countrywide” interchangeably
for any and all of the entities originally connected to Countrywide Financial, which may
have been the parent company of the others. BOA alleges Red Oak Merger Corp is its
wholly-owned subsidiary. Reviewing the actual merger disclosures, it is highly doubtful
and even inconsistent with other disclosures that Bank of America Corp or Bank of
America N.A. actually owns any loans originated by CHL.

80. According to various business publications at the time, Countrywide Home
Loans, Inc., was a conduit and not a lender for the many trillions of dollars that were
originated using the Countrywide “platform,” who operated through other thinly
capitalized “originators” none of whom were actually making loans. The loans, by all
accounts, were presold or contemporaneously sold into the secondary market the moment
the “borrower” signed papers. ln the case of Countrywide Home Loans, Inc., MERS was
used extensively, to hide the fact that there were no transactions in which anyone actually
bought the loans because the loans were already paid for with investor funds, according to
the press.

81. Countrywide Home Loans Servicing, LP, (CHLS) was allegedly a subsidiary of
Countrywide Home Loans, Inc. (CHL), which was a part of Countrywide Financial. BOA

states BAC Home Loans Servicing, LP, was “formerly known as” Countrywide Home

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Loans Servicing, LP;” however, Countrywide Home Loans Servicing, LP has never

 

owned the note and/or Deed of Trust.
82. Further, the Appointment of Substitute Trustee recorded 4/12/2017, referencing

execution and delivery of note to CTC Real Estate Srv, Trustee for Countrywide Home

 

Loans Inc., is signed by a Seterus VP, as the “legal owner” of the note (See Exhibit 10,
Appointment of Substitute Trustee) and as authorized subservicer for Fannie Mae.

83. ln the Appointment of Substitute Trustee (Exhibit 10) Defendant Seterus,
Inc.(Seterus) falsely asserted “a Note in the principal sum $l 10,400.00, payable to the
order of MORT GA GE ELECTRONIC REGIST RA T 10N SYSTEMS, INC.,” while the
Warranty Deed cites the note payable to Countrywide Home Loans, Inc.(See Exhibit 8-A,
Warranty Deed with Vendor’s Lien). [Emphasis ours].

84. There is no “transfer back” from MERS to any entity, including from MERS to
Fannie Mae.

85. The Appointment of Substitute Trustee appoints Marinosci Law Group, et al, and
instructs sale of the property, but absent clear chain of evidence of legal transfer and
ownership, the validity of the Appointment is in question, as is the ownership of the
Deed of Trust.

86. Countrywide Home Loans Servicing, LP, is not successor or assign of
Countrywide Home Loans, Inc.

87. FIRSTMORTGAGE OWNERSHIP: Further clouding the ownership of the loan,
numerous times Defendant BOA’s online communications to Plaintiff referenced “past
due” mortgage payments for “0005429193 FirstMortgage at 614 BRIARWILDE

COURT,” indicating that the mortgage owner was FirstMortgage FirstMortgage

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appears as owner of Plaintiff s loan in BOA’s online notices from 2010 through 2015.
(See Exhibit 18 A-E BOA FirstMortgage 2010-2015, downloaded from BOA’s banking
website: 18-A FirstMortgage BOA Blocking Screens, 2010; 18-B, 2011; 18-C, 2012; 18-
D, 2014; 18-E, 9/2015.)

88. There is a valid question as to ownership of the Note and Deed of Trust which
precludes foreclosure and sale of the property until after the Court adjudicates this matter.
89. Note that of these communications in Exhibit 18 citing past due mortgage
payments were Defendants’ willful, deliberate, fraudulent “errors,” and Plaintiff finally
got them corrected each time For example, Exhibit 18-C asserted May, 2012’s payment
was past due; Exhibit 4, p. 9, shows the payment was made and confirmed 5/4/2012,
pursuant to BOA customer service’s change of due date to the 5th in 2011. Plaintiffs
mortgage payments were made on time by automatic BILLPAY transfer from BOA
checking to BOA mortgage

90. This blocking screen appears intermittently. This blocking screen prevents the
mortgagor from accessing mortgage transaction records until a payment is made lt is
counterproductive for the mortgagor, because a mortgagor cannot enter unit specific data
or determine exactly what entries have been made; it is another delaying tactic. Each
time, while unable to see the actual mortgage transaction entries, Plaintiff was able to
confirm via her BOA checking account BILLPAY that all payments had been timely
made, receipt certified.

91. The original Deed of Trust identifies Countrywide Home Loans, Inc., as the
lender, and states “Lender includes any holder of the Note who is entitled to receive

payments under the Note.” MERS “is acting solely as a nominee for Lender and

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Lender’s successors and assigns.” If BOA is not the successor to Countrywide Home
Loans, Inc., or if Plaintiff s Deed of Trust/Note/ownership of the loan was not transferred
or assigned to BOA, as the records seem to indicate was not done, then BOA was not
“entitled to receive payments under the Note.” Nor is BOA entitled to assign the Deed of
Trust to Fannie Mae, as was done December 14, 2015 . And if BOA was not entitled to
assign the Deed of Trust as successor by merger to Countrywide Home Loans Servicing,
LP, then Seterus, “the undersigned,” is not “the legal owner and holder of such Note,”
and is not entitled to appoint a substitute trustee, declare the note due immediately due
and payable and request the substitute trustee “to sell the property.”

92. Adjudication is required to establish proof of ownership and to establish a true
mortgage transaction record proving exactly who own what to whom, before a fraudulent
sale, so that justice may be done.

93. The Deed of Trust is fraudulent, pursuant to Texas law Title 7 Chapters 31
and 32, Defendants having secured its execution by deception, and under the
doctrine of estoppel, Defendants are barred from the foreclosure and intended sale.
As described hereinafter, Defendants misrepresented material facts and deliberately
withheld material facts from Plaintiff in order to induce her to execute the documents,
thus denying Plaintiff material information necessary for effective consent under Texas
law. Consent is not effective if induced by deception or coercion. (Title 7, Chapter 31,
Sec. 31.01(1);(3)).

94. When Plaintiff in reliance on BOA’s advice secured the mortgage from
Countrywide Home Loans, Inc., in 2002, Countrywide Home Loans, lnc., and BOA

worked together to arrange the mortgage, putatively to help Plaintiff to create a strong

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personal credit record to match the very strong credit record held by her business, then a
small business client of BOA, so that in the event of need, BOA stated, Plaintiff" s
business could qualify for accounts-receivable (AR) financing from BOA.

95. Defendant BOA had previously established a fiduciary relationship with Plaintiff,
then CEO of CMSI with an extending banking relationship with BOA, with Thomas
relying on BOA’s financial advice and assistance with personal and professional

business needs over the preceding years. Thomas’ background as an English teacher
prior to stroke and her continuing disabilities had led Thomas to believe that she needed
BOA’s assistance, and BOA’s strong marketing and public relations program added to
the perception that BOA was honest, trustworthy, and as they stated orally and in writing,
had their clients’ best interests at heart.

96. Defendant BOA convinced Plaintiff to make advance preparations for the
eventuality that her business might need accounts receivable financing, because although
it was cash-rich and sound, it was expanding rapidly, represented that she would need a
good personal credit record, and introduced a plan to “help” Plaintiff,

97. Prior to this time, Plaintiff" s usual and customary procedure was to pay cash for
everything because of disabilities related to a stroke she had when she was in her early
30’s. Although Plaintiff already owned several properties in Louisiana and Texas for
which she paid in full at purchase, BOA worked out the plan of home purchase with
mortgage, including automatic payments which were to relieve her of difficulties and
severe anxiety related to her disabilities and purchases - and her reluctance to enter into a
mortgage agreement or any other long-term payment plan, so that Plaintiff could qualify

for the AR financing BOA wanted to provide her in the future Because of Plaintiff s

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financial standing and healthy business, Plaintiff s obvious ability to continue paying all-
cash for her purchases, and Plaintiff s desire not to be bothered with multiple payments
or changes in mortgage payments which might occur as the result of changing insurance
and other rates, escrow was waived, as part of the “simplified” process BOA and
Countrywide Home Loans, Inc., promised Plaintiff, (SEE Attached Exhibit 5,
Countrywide Home Loans, Inc., memo waiving escrow.)

98. BOA referred Plaintiff to Countrywide Home Loans, Inc., for mortgage because,
BOA stated, it was in Plaintiff s interest to have a broader based frame of credit
references, and BOA would be providing the references for Plaintiffs business.

99. At the time of closing, Plaintiff Thomas had suffered several Transient Ischemic
Attacks (small strokes) and temporarily could not read. Although Thomas kept this
temporary condition secret, she informed both BOA and Countrywide Home Loans, Inc.,
that she could not read, and they all discussed delaying the purchase and closing.
Because Thomas had been unable to read after her stroke in her 30’$, and had regained
the ability afterward, Plaintiff believed she would be able to read later. Both assured
Thomas that the documents were in order, that they contained exactly what the parties
had agreed, that it was important to get the closing done, and that if Plaintiff was able to
sign documents, it would be best to do so. Thomas could sign her name, and her left-
handedness was presumed to account for any variations. Relying on those representations
and the trusted relationship Defendants had established with her, Thomas went ahead
with the closing and executed the documents, including a Deed of Trust and Note.

100. Both BOA and Countrywide deceived Plaintiff, made material

misrepresentations to Plaintiff, and withheld material information. Plaintiff was given

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false information and denied essential facts necessary for her to give effective consent, in
violation of TX Title 7, Chapter 32, Sec. 32.46 SECURING EXECUTION OF
DOCUMENT BY DECEPTION, a third-degree felony, “(a) A person commits an
oyfense if with intent to defraud or harm any person, he, by deception: (1) causes
another to sign or execute any document affecting property or service or the pecuniary
interest of any person . . “ and of Chapter 31, “Consent is not effective if:

(A) induced by deception . . .” (Emphasis ours.)

 

101. Defendants knowingly, and with intent to defraud, by deception induced Plaintiff
to execute documents affecting property and the pecuniary interest of Plaintiff that
contained numerous clauses detrimental to Plaintiff, including escrow and partial
payment schema, which allowed the servicers to pyramid and misapply payments and
otherwise manipulate mortgage transactions to harm Plaintiff and increase their profits
Absent Defendants’ deception, Plaintiff would not have executed these injurious
documents Absent Defendants’ strenuous efforts to persuade her, Plaintiff would not
have accepted a mortgage

102. Based on the representations made to her, Plaintiff believed that Countrywide
Home Loans, Inc., was the mortgagee, and Defendants failed to correct this false
impression. Later, when BOA allegedly acquired Countrywide Home Loans, lnc,
Thomas believed that BOA was the mortgagee At no time before closing or for years
afterward was Thomas informed that either was to act as servicer, or given material facts
about the nature of the relationship between servicers and mortgagors At no time was
Thomas made aware that the interests of servicers were not aligned with her interests

Further, knowing that Plaintiffs disabilities prevented her reading the closing documents,

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both BOA and Countrywide lied about the contents of the loan documents: it was clearly
understood by all parties that Thomas would either purchase insurance or self-insure;
neither informed Thomas that the documents contained escrow clauses or other clauses
detrimental to Thomas’ known interests and needs; in proof, both verbally verified that
escrow was waived and Countrywide Home Loans, Inc., confirmed escrow waived in
writing.

103. Defendants promised performance as mortgagors that they knew they would not
perform, with full knowledge and intent to act as servicers Defendants prevented
Plaintiff from acquiring this and other correct information that would have likely caused
Plaintiff s judgment to be sufficiently affected as to prevent the purchase of a dwelling
and acquiring a mortgage (TX Title 7, Chapter 31), and secured execution of the
mortgage documents, including Deed of Trust, by deception, a felony in Texas. (Sec.
32.46 (a)(l).

104. Further, when Plaintiff expressed anxiety and extreme reluctance to dealing with
additional paperwork, given her situation and disabilities, Defendants assured Plaintiff
that although there was no way they could turn off automatic notifications of receipt and
such spam, Plaintiff did not even have to open these - that if there were any problem,
Defendants would immediately contact her by phone to take care of it. Consequently,
Plaintiff did not open and read the copious mail, and that worked for her until 2009,
when Defendant BOA did not call and absent Plaintiff s knowledge and intervention,
started churning the mortgage transactions and payments to their benefit, as
demonstrated in the attached exhibits Defendants’ misrepresentations and deceptions

acted to delay Plaintiff’s discovery of Defendants’ peculations.

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105. FRAUDULENT DEFAULT STATUS: Plaintiff has neither missed a mortgage
payment nor made late payments In fact, Plaintiff prepaid, making double payments for
the first two years of her 15-year mortgage, beginning on the payments at the end of the
purchase month, in advance of due date for the first payment. Originally, because
Thomas began prepayment prior to due date, payments were made on the 26th of the
month, as documented in Countrywide Home Loans email dated September 27, 2008
(See Attached Exhibit 11, Countrywide Home Loans email dated September 27, 2008.)
At some point, Defendant BOA changed the due date to the 1St of the month, but since
Plaintiff was prepaying ahead of time, payments made after the first were still timely.
106. In June, 2011, Defendant BOA changed the due date to the 5th of the month to
eliminate a repetitious error in their posting. (See Exhibit 4, BOA BILLPAY 2-2010
THRU 7-2016 p. 9, 6/1/11 and later.) This change was made in a long-distance telephone
conversation with BOA customer service Because of holidays or other closings, BOA’s
BILLPAY sometimes made 2 payments in one month, one on the lst and one on the 30"‘.
(April l, then April 30 for May, for example.) The next due payment would then fall on
June 1. When that happened, BOA’s mortgage people would apply the April 1 payment
to April, fail to apply the second payment to May; then they would apply the payment
made on June 1 to May and show it one month in arrears ~ and take various punitive
actions Plaintiff would then have to engage in time-consuming frustrating efforts to get
the information corrected. Although the change of payment due date was made by BOA,
thereafter, BOA labeled those payments as “late.”

107. Plaintiff’ s payments of $939.09 were automatically timely made and confirmed

from a Bank of America (BOA) checking account, through BOA’s BILLPAY program

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(SEE Attached EXHIBIT 4, BOA BILLPAY 2-2010 THRU 7-2016, payments
consistently made timely). Although Plaintiff has requested earlier records, Defendant
BOA has not provided them.

108. Further, because of her disabilities from stroke and traumatic brain injury and
Defendants’ creative record-keeping and data entries, Plaintiff s automatic payments
continued to be made long after the loan should have been marked PAID.

109. At all times, Plaintiff Thomas maintained insurance at replacement value on the
mortgaged property, ensured that proof of insurance was provided to BOA, to
Countrywide, and to Seterus, and paid all taxes and other costs related to the property
and to the mortgage Because of Plaintiff’s financial standing and assets and her personal
and business relationship with Defendant Bank of America (BOA) as CEO of CMSI
Group, and because Plaintiff refused to deal with varying mortgage payments and the
related effort to ensure their correctness, escrow for this mortgage was waived (See
Attached Exhibit 5, Countrywide Home Loans, Inc. memo waiving escrow). Plaintiff
Thomas is not now and has never been in default on her mortgage loan.

110. Yet, since 2009, Plaintiff has been the victim of unrelenting, egregious attacks by
Defendants BOA and others, as Defendants, servicers, engaged in a pattern of practices
designed to place Plaintiff in default on paper, to effect foreclosure and sale of Plaintiff’s
small home, and to increase their profits Plaintiff fought Defendants for years, as
Defendants engaged in a pattern of practices, repeatedly making the same “errors” for
long periods, “correcting” the errors for short periods, then repeating the process, as the
attached exhibits and additional proof to be presented at trial comprehensively show.

Mortgage transaction records downloaded and printed at different times for the same

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periods are so strikingly different from each other and so confusing that it is almost
impossible to actually track mortgage payments; however, Plaintiff’s checking account
BILLPAY records of the automatic payments are clear - and show all payments timely
made and confirmed (See Attached Exhibit 12 (A-D), Some BOA Mortgage Transaction
Reports; See Exhibit 4.)

111. The pattern of practices to which Plaintiff was subjected is also now a matter of
common knowledge and public record, having been exhaustively described in a
multitude of class actions and other types of legal efforts prosecuted against banks and
other mortgage servicers, and are further described hereinafter, below. Defendants
bombarded Plaintiff with simultaneous conflicting letters, demands, and threats from
multiple associates all over the US; instituted excessive credit collection calls; posted
email messages on Defendants’ website in Plaintiff’s accounts, and just generally applied
extortionate pressure to compel Plaintiff to pay the fraudulent charges Defendants
created.

112. Each time Plaintiff found Defendants making “errors,” Plaintiff spent months in
efforts to compel Defendants to correct her mortgage transaction records, to provide
complete and understandable records, and to address their policies, procedures, and
practices Copies of mortgage transaction records downloaded from BOA’s site at
various times during disputes show both the creative accounting “errors,” and their
“corrections,” and usually after a month or two, reposting of similar “errors” (See

Attached Exhibit 12 A-D, Some BOA Mortgage Transaction Reports)

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113. Each time Defendants “corrected” the records, Defendants contrived to leave at
least one “error,” usually showing that Plaintiff was one month in arrears, in order to
maintain the fiction that Plaintiff was in default. (See Exhibit 12.)

114. Defendants followed the pattern of practices outlined more fully in the RICO
count below, engaging willfully and with knowledge and intent in the predation in the
mortgage industry that is now common knowledge, although virtually without criminal
prosecution.

115. Defendant BOA started depredations against Plaintiff in 2008-09, approximately,
with insurance fraud. Since Plaintiff' s proofs of insurance had been documented,
Defendant apparently opted to violate the insurable interest provisions With an original
loan amount of $1 10,400 in 2002, a valuation of $150,000, and Plaintiff’s replacement
value coverage in excess of $150,000, Defendant BOA falsely notified Plaintiff that she
did not have the “minimum required insurance for this loan,” and posted a lender policy
for $256,000 coverage, more than $100,000 over the replacement value and about
$186,000 over the mortgagee’s insurable interest as noted [without deducting the double
payments] with an UPB of around $70,000. (See Exhibit 13, BOA 2010 HO INS min).
Defendant BOA created an unauthorized escrow and started posting charges lt took
Plaintiff years to get this partially corrected.

116. On more than one occasion, BOA customer service informed Plaintiff that her
insurer had “cancelled” her insurance policy, and BOA had purchased lender insurance
Plaintiff discovered that what actually happened was BOA called the insurance company
and told them to cancel the policy; the insurance company called the agent; and the agent

told them not to cancel the policy. The policy was not cancelled, and when Plaintiff

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informed BOA that it had not been cancelled, BOA customer service waffled and
admitted the policy was in effect. However, in some way BOA was able to change the
message as it appears in the file, and 19-B is significantly different from 19-A. (See
Exhibit l9-A BOA Emails 3_6_14 and 2_27_14 and 19-B, BOA Emails 3_6_14 and
2_27_14 Revised.). ln 2014, Defendants did cancel the HO policy, but Plaintiff replaced
it when her agent notified her of Defendants’ unlawful action.

117. Unquestionably fraudulent charges: Defendants’ mortgage account analyses
show various other unauthorized and illegal charges, including monthly FHA MIP or PIP
- Plaintiff’s is not an FHA loan ~ and other fraudulent escrow charges which Defendants
attempted to collect. (See Exhibit 14, BOA escrow fraud PMI etc 2010.) These actions
violate Tex. Fin. Code §§ 392.304(a)(8), (19) .

118. Further, while Plaintiffs BOA BILLPAY records clearly show timely mortgage

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payments and confirmations, Defendants mortgage transaction” records do not present
a clear and accurate record of real mortgage transactions A comparison of the BILLPAY
records, EXHIBIT 4, to some of the mortgage transaction history (See EXHIBIT 12 A-D,
Some BOA Mortgage Transaction Reports) Plaintiff has been able to secure from
Defendants, shows not only the “errors” deliberately entered into the records, but also the
corrections Plaintiff forced Defendants to make from time to time - and the almost
immediate resumption of Defendants’ deliberate wrongful entries, which also started
collection harassment Defendants violated Section 392.304 of the TDCPA, which

prevents a debt collector from misrepresenting the character or amount of a debt or

making false representations to collect a debt.

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119. One example of corrections which BOA declared “brought the account current”
is BOA Customer Service memos dated 3_31_14. lt verifies that the “correction” allows
Defendant BOA to submit a credit bureau correction for the months of January and
February, 2014, which BOA reported 30 days late (See Exhibit 20 BOA Mortgage
Account memos 3_31_14.) These memos also verify that insurance is “not escrowed
each year.”

120. Exhibit 20 is a series of memos between Plaintiff and Defendant BOA, The
original memo that begins “You jerks” is in answer to the BOA memoranda below,
where BOA explains its fraudulent charges to escrow, “partial payments,” and its failure
to properly apply the mortgage payments to principal and interest. The partial payments
occurred when Plaintiff refused to increase the mortgage note based on the fraudulent
insurance charges, about which Defendant states “A refund from the Lender Placed
Policy has been requested and will be applied to the escrow when received.” Note
however that the next memo declares that the “next installment” is a fraudulent
“$950.83.” Plaintiff’s BILLPAY records show all payments made timely.

121. Plaintiff requested a “paper copy of everything related to my mortgage,”
including “Who owns it,” in this series of memos Defendant did not forward those copies
122. The extreme nature of Defendants’ harassment of Plaintiff resulted in Plaintiff’s
notifying Defendant BOA in 2010 that she was billing them for the time required to
interact with Defendants in correction attempts, repeated posting errors and
communications errors, etc., since BOA was taking time from her working projects
Plaintiff billed them at her usual and customary hourly rates, and increased the rates to

maximum hazard rates as Defendants continued their intransigency. Ceitain of the

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invoices document numerous telephone calls for collection of the fraudulent charges
Plaintiff needed her time to establish and grow her retirement business designed to
provide for her chronically, critically ill granddaughter after Plaintiff s death. (SEE
EXHIBIT 23 A-l, Hourly Billing BOA Hours.) Plaintiff generated invoices from 2010 to
the present, documenting time and effort required to deal with BOA and their
conspirators As part of her developing retirement businesses Plaintiff billed for
consulting services; Defendant BOA usurped billable time which Plaintiff could have
more effectively used, and failed to pay after having been noticed before billing and
having received invoices subsequently.

123. Defendants’ actions are unconscionable and blatant. Defendants’ threatened
wrongful conduct, the sale of Plaintiff’s property, unless and until enjoined and
restrained by order of this Court, will cause great and irreparable injury to Plaintiff and
her family. Plaintiffs adult disabled son, a former EMT, resides in the home He is ill,
unable to endure additional stress, and has already been hospitalized once as a result of
Defendants’ recent activities Plaintiff, in her 70’s, is also ill and suffers an anxiety
disorder and high blood pressure because of Defendants’ actions The additional time
and effort to undo a sale will also endanger Plaintiff s granddaughter because it will
require time and attention which should be spent managing her illness Defendants’
willful actions have worsened Plaintiff s disability symptoms of stroke Plaintiff has no
adequate remedy at law for the injuries threatened/currently suffered as an award of
monetary damages would not provide an adequate remedy for the injustice to be
perpetrated by Defendants, who allege they are acting for Fannie Mae (under color of

law).

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124. Plaintiff is in her 70’s and suffers disabilities because of a stroke when she was
in her early 30’s. During the past 9 years, Defendants have already deprived her of
excessive amounts of valuable time fighting these predators to compel them to obey the
law and correct the mortgage transaction records Further, Defendants’ egregious actions
negatively affect Plaintiff’s ability to adequately care for her chronically ill
granddaughter, who lives with a potentially fatal condition Allowing the Trustee’s Sale
of Plaintiff’ s property would result in the deprivation of additional time, require highly
stressful activity, and further destroy Plaintiff s failing health. Further, it is not in the
interests of society to permit Defendants to profit from their wrongdoing, at the expense
of an elderly, disabled individual Texas law provides for heightened penalties for
exploitation of the elderly and/or disabled. Plaintiff has no adequate remedy at law for
the injuries threatened and to be suffered as a result of the scheduled Trustee’s Sale of
Plaintiff’s property, should the Court fail to issue the requested temporary injunction, as
an award of monetary damages would not provide an adequate remedy for the resulting
harm.

125. Defendants’ actions are made more unconscionable and egregious because
Plaintiff’s disabilities and the necessities of her life and those of her dependents for
whose continuing lives she is directly responsible, were well-known to Defendants at the
time Defendants drew Plaintiff into their nefarious schemes through deception, and
Plaintiff continued to reference her disabilities throughout the period of the loan, as she
complained in writing of their pattern of practices Defendants had full knowledge of

Plaintiff s disabilities, and they know about them at this time.

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126. Defendants knew that Plaintiff had suffered a severe stroke while in her 30’s, that
she was only partially recovered, and that the disabilities she suffered made carrying out
her life tasks, including her business and professional efforts, extremely difficult and time-
consuming. Defendants knew that Plaintiff s memory and concentration were significantly
impaired, although her IQ was far above norm. Defendants knew that Plaintiffs physical
abilities were diminished, with poor control of her right side Defendants knew that
Plaintiff s strength was reduced. Defendants knew that Plaintiff’ s abilities to communicate
were made difficult by aphasia. Defendants knew that Plaintiff s stamina was reduced,
and that completion of necessary tasks was made more difficult because tasking required
Plaintiff’s intense concentration and control, that distraction inflicted an extra factor that
exponentially increased the difficulty of task completion. Defendants knew that Plaintiff’s
ability to consistently produce was significantly impaired. Defendants knew that anything
not in Plaintiff’s field of vision for all intents and purposes did not exist for Plaintiff.
Defendants knew that Plaintiff had deliberately and carefully reduced her life to
necessities, because Plaintiff could no longer effectively deal with other matters without
those other matters reducing her competency to deal with essential, life-sustaining tasks
for which she was directly responsible Defendants knew that Plaintiff controlled
significant financial resources, her own and those of her business Defendants knew that
although Plaintiff had structured her life and tasks with multiple fail-safes, Plaintiff was
emotionally and mentally overladen with the inherent possibilities of failure, and suffered
acute anxiety and depression because of life-threatening events with which she daily dealt.
127. Defendants also knew that at the time of purchase and closing on the property,

Plaintiff was suffering a series of Transient Ischemic Attacks (TIAs) and could not read.

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128. Further, Defendants were fully aware of the ramifications of Plaintiff’s inability
to read the closing documents, including note and Deed of Trust, because Defendants and
Plaintiff discussed whether or not Plaintiff should delay closing until she might be able to
read again. Plaintiff was aware of the possibility that she might read again because she
lost the ability to read in her first stroke when she Was in her 30’s, and regained it within a
few months Defendants were fully cognizant of all of these facts when they advised her
to do the closing without delay, lying to her about the content of the documents when they
reassured her that all would be well.

129. Defendants knew all of this because Plaintiff told them all about her life and
business, and the factors that Defendants would need to consider in helping her with her
business and personal finances and other issues Defendants know at this time because
Plaintiff has continued, with each contact and written complaint, to reference her known
disabilities

130. lt was Plaintiffs usual and customary procedure to disclose these significant
matters to those with whom she had a close business and personal relationship, because
these significant matters affected the way she had to interact with all parties and Plaintiff
believed they had a right to know about them.

131. Plaintiff s most important task was keeping her critically, chronically ill
granddaughter alive and healthy. Because one of the diagnoses is Generalized Autonomic
Dysfunction (ADG), an incurable potential fatal condition, Plaintiff had to monitor and
control both the external and internal environments, because any factor could without
other cause trigger sudden cardiac arrest, central apnea, laryngeal spasm (sudden closure

of breathway), and other deadly symptoms Plaintiff had to provide eyes-on care 24/7,

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train and supervise other caregivers, and develop and implement a program of integrated
physical and mental therapy for the child, who was 7 years old in 2002,

132. ADG is a rare condition, similar to Familial Dysautonomia, in which symptoms
can be triggered by any change affecting the autonomic nervous system (ANS) and its
work to maintain stasis. The ANS controls all of the bodily “automatics,” i.e. breathing
blood pressure, temperature adjustment, heart, etc. When comparing ADG-diagnosed
individuals and “normal” individuals, one could say that normals have a full cup of
responsiveness to use before the body shuts down in overload, which ADGs have only 1/3
cup. The ANS’s job is to react to environmental cues and to bring the body back to and
maintain stasis, or normal functioning Thus, when a physical threat is perceived, the
ANS triggers flight-or-fight reactions, and after the emergency is over, bring the body
back to normal conditions When the temperature outside rises, the ANS makes bodily
changes to keep the individual healthy and functioning

133. However, when the ANS is stressed beyond its ability to maintain the body
(overloaded), it shuts down. The result is death. For people with ADG, an overload comes
much more quickly, and it may come without any warning lf the ANS is currently dealing
with three (3) stimuli, and a fourth occurs, the ANS functioning that would control that 4th
stimuli ceases functioning This can trigger a cascade effect, resulting in sudden cardiac
arrest and death.

134. There is no cure for ADG. The only thing one can do is rigidly control every
internal and external stimulus, watch the patient (eyes on) with unrelenting attention, react

immediately to symptoms, and pray.

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135. ADG is a brain function, not a problem with various organs ln the event of
sudden cardiac arrest, for example, the usual and customary emergency treatments do not
work. Restarting the heart does not do the job; the brain has to be restarted. For an infant,
this can be as simple as turning the baby upside down and right side up to stimulate
sudden shocking blood flow to the brain, which sometimes works Fortunately for
Plaintiff and her granddaughter, the lead physician on this case had the knowledge and
expertise to provide a reasonably effective baseline care program, including prescribing
the emergency administration of belladonna tincture, which proved to work at restarting
the brain.

136. Plaintiff was 49 years old when she took custody of her granddaughter under a
court order with permanent injunction for care She was aware of her own mortality, and
even then concerned with her granddaughter’s life in the event of her own death. ln 2002,
at the time of the mortgage, while Plaintiff was experiencing TlAs, at age 57 she was
immediately concerned with maintaining her business stability and growing her business
with the idea of it sustaining her granddaughter in the event of Plaintiff’s sudden or later
death.

137. By 2007, at age 62, Plaintiff had realized her business could not be maintained
and that her granddaughter could not manage such an enterprise or even work at the
specialized tasks which required continuing effort and attention, and Plaintiff developed a
plan of interlocking small businesses in the aits, including ebook publishing, music,
audible books and tapes, and other activities using tribal relationships and family, each of
which after startup could be immediately directed by various individuals, with income

flowing to her granddaughter Her granddaughter’s special skills and abilities would allow

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the granddaughter to contribute or work on a part-time basis, when she was well enough,
and would give her a sense of personal worth. Continuing royalties and other such income
could conceivably support her granddaughter throughout her life

138. Plaintiff was well on the way to realizing her plans when Defendants ramped up
their activities and began their years-long persecution in 2008-09. Startups require intense
concentration and effort. Bringing the different members of tribe and family into the
interlocking businesses required that each be well started before bringing in new people to
be trained and to run the businesses Plaintiff secured websites and developed products
139. However, at this crucial point, Defendants threw a monkey wrench into the
works Their carefully-structured documentary framework (designed to confuse and
reduce the effectiveness of borrowers’ complaints and correction efforts); their distancing
of effective error-correction power from contacts; their urgent threats and postulations;
their lies, misdirections, forgeries, and manufactured defaults derailed Plaintiff, who was
not only trying to startup her linked businesses but dealing with the sudden symptoms and
problems of her granddaughter, and with other family problems, including a dying eldest
sister who served as Plaintiff s surrogate mother and a younger DAV’s problems

140. Because of the excessive time interacting with Defendants required and the
intense distractions Defendants provided, Plaintiff has been unable to complete the
necessary work on her businesses, handle all of her family problems, and manage the
necessities of daily living After the first act (“errors and corrections”), Defendants
periodically started up their next series Further, every time a personal or business crisis
unrelated to Defendants loomed, Defendants pitched in with their efforts to defraud

Plaintiff, force her to pay fraudulent charges, or seize and sell her house At this time that

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Defendants have picked to once again threaten foreclosure and noticed sale of the
property, Plaintiff’s husband is recovering from surgery May 23, 2017, and Plaintiffs
granddaughter was diagnosed and must have surgery “within the next few weeks.”

141. Plaintiff is now 71 years old, and will be 72 in August, 2017, as Defendants
know. The imminence of death and her concerns for her granddaughter’s continued life
after Plaintiff’s death create an almost intolerable stress on Plaintiff, to which Defendants’
added immeasurably with their latest abuses Defendants’ actions are egregious and
unconscionable, and Defendants should be penalized in direct proportion to the severity of
their trespasses against Plaintiff and others who have also experienced their nefarious
activities in support of their RICO enterprise and its financial goals

142. The pattern of practices imposed on Plaintiff has continued from 2002 to the
present, with a variety of RICO agents and employees contributing to the illegal action.
BOA and Countrywide Home Loans, Inc., contributed at the inception, with the deception
necessary to convince Plaintiff to execute a fraudulent deed of trust and the note On
belief and information, Countrywide Home Loans, Inc., or BOA received and stole 24
mortgage payments made as double payments during the first 2 years of the mortgage;
after BOA acquired Countrywide Home Loans Servicing, LP, BOA accelerated the illegal
activities and increased the pressure on Plaintiff, forging mortgage transactions with false
and misleading entries, and violating numerous state and federal laws BOA then passed
the task of defrauding Plaintiff and the US government, in the person of Fannie Mae, to
Seterus, who continued the exact same pattern of practices, which is not unexpected,
given that Seterus was once owned by BOA and when sold BOA required the buyer to

retain its employees On information and belief, the group of RlCO associates is far larger

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than just the Defendants named herein; the illegal practices are widespread and identical,
which absent some special connection between the parties could not reasonably be the
case

143. To this point, Defendants have been remarkably successful at perpetrating Fraud
upon the Courts, with outright lies and misdirection. For example, although Fannie Mae
servicer contracts create a fiduciary relationship between the servicers and “F annie Mae
and others,” including specifically the “borrowers,” some Courts have ruled there is no
fiduciary relationship between servicers and borrowers, probably because no party has
introduced the appropriate Fannie Mae documents proving the relationship Further,
Courts have accepted BOA’s consistently identifying itself as “successor” to
“Countrywide,” without specifying which “Countrywide,” and there are a number of
entities originally part of Countrywide Financial which actually merged with Red Oak
Merger Corp, not BOA, One of the Countrywide entities which did not disappear was
Countrywide Home Loans Servicing, LP, which became BAC Home Loans Servicing, LP.
144. PLAINTIFF makes this request for injunctive relief in the interests of justice
Given the facts and the evidence, Plaintiff has a substantial likelihood of success on the
merits An injunction would not substantially injure other interested parties except in
denying Defendants their profits from wrongdoing, since Plaintiff ‘s proof of timely,
accurate payments as shown on Defendant BOA’s own BILLPAY records show that the
mortgage has been completely paid off, in excess of the original $110,400.00. Given the
preponderance of evidence Plaintiff provides even prior to discovery, it is likely that

Plaintiff will prevail in this suit.

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145. Defendants and their fellow actors continue their unconscionable egregious
actions because they can. They have deep pockets, endless time, and no authority has
taken the necessary action or action adequate to curb their nefarious activities lt is in the
public interest that Defendants and their cohort be denied their profits from wrongdoing,
that they be shown that there is authority to compel them to obey the law of the land, and
that a chilling effect be produced on the Defendants and the pattern of practices they
have continued to use despite all settlement agreements and judicial orders to amend
their ways (Baumann v. Dist. of Columbia, 655 F. Supp. 2d 1, 6 (D.D.C. 2009) (citing
Chaplaincy of F ull Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006));
accord National Wildlife Federation v. Burford, 835 F.2d 305 (D.C. Cir. 1987); Cobell v.
Norton, 391 F.3d 251, 258 (D.C. Cir. 2004).

146. Plaintiff Thomas requests EMERGENCY lNJUNCTlVE RELIEF against

Defendants, including Defendant Seterus Inc., identified on the Notice of Trustee’s Sale

 

as the authorized representative/agent of Fannie Mae, to preclude irreparable harm as a
result of Defendants’ stated intention to foreclose or already completed nonjudicial
foreclosure and sell Plaintiff’s property June 6, 2017, despite proof that Plaintiff is not in
default on her mortgage, requesting the honorable Court to issue an order enjoining
Defendants, Defendants’ employees, agents, associates, contractors, and assigns, from
fiirther action against Plaintiff, including foreclosure and sale, during the pendency of
this action, or as may suit the Court. Equitable relief is necessary because relief at law is

inadequate for this foreclosure and sale of property.

V. BACKGROUND, INTRODUCTION, ADDITIONAL FACTS

 

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147. Predation in the mortgage industry is now common knowledge and a matter of
public record, after the multitude of class and individual actions state regulatory suits
investigations findings and related actions and settlement after settlement made by
various banks servicing agencies insurance entities and others RICO violations have
been pled, but have been proven or admitted only once to Plaintiff s knowledge, since
settlements precluded further action in Court which would have elicited evidence,
although members of the predators’ wolf packs have been identified over and over again,
as well as “certain deficiencies and unsafe or unsound practices in residential mortgage
servicing and in . . . initiation and handling of foreclosure proceedings,” as a US
Department of the Treasury Comptroller of the Currency Consent Order described them.
148. According to federal suits most settled, under pressure to generate profits
Bank of America and others developed and implemented a money-making
scheme With relatively low mortgage rates performing mortgages created a
fixed income for BOA. However, by selling these mortgages and securing
servicing contracts With the buyers BOA and others Were in position to make a
double strike: mortgage purchase price and servicing fees Further, they had
control of the means of increasing servicing fees by tweaking mortgage records
and payments and through the use of lender-placed insurance and escrow
accounts BOA and others could also manipulate escrow accounts raise
mortgage payments declare payments “partial” and hold them Without applying
to principal and interest, and manufacture defaults Foreclosing and selling
properties also presented unparalleled earning opportunities for those Willing to
take risks - and the risks Were abnormally low, because BOA and others had

complete control of everything related to the mortgaged properties including all

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documentation And regulators were apparently content to accept their versions
of facts whenever a controversy was presented.

149. Without quality controls the government said, trouble ensued. The
number of borrowers that fell behind on their payments was “abnormally high,”
according to federal lawsuits and the turbulence “cannot be explained solely by
the downturn in the real estate market” alone According to the government’s
assessment, at least 23 percent of the mortgages had defaulted or were
delinquent as of June 2013. When one considers the well-known ability to
manipulate escrow accounts manufacture defaults and unilaterally increase
mortgage payments one can clearly understand the abnormally high figures
150. BOA and others created “error machine” and other practices and
procedures designed to increase servicing activities and fees They structured for
“plausible deniability.” Although the actions they took against purchasers and
mortgagees were deliberate, they used the “error” card to delay and to continue
their money-making activities They neglected to tell mortgagors that their loans
had been sold; therefore mortgagors were denied information Which might have
helped them to understand and defeat the ‘Cuckoo’s Nest/Twilight Zone’ morass
into which BOA placed them with its machinations When mortgagors believed
that BOA owned their loans they could see no logical reason for BOA’s
manipulations because these manipulations would result in losses to the owners
and BOA was believed to be the owner. lt was easy to accept the error concept,
because otherwise BOA’s activities were irrational. However, when one considers

that BOA collected servicing fees for all of the work associated with their “errors,”

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their activities and hardheaded determination to continue in their errors is more
easily understood.

151. Among the tactics BOA and others employed was diversification of
departmental services thus ensuring that multiple contacts were necessary for
any mortgagor to resolve any of the errors created by BOA. They deliberately
sabotaged problem resolution They worked through affiliates who presented
themselves as BOA employees and routinely misinformed borrowers F or
example, mortgagors were directed to send payments to an address in California,
to correspond With BOA Support Services through emails online at the BOA site,
to send documents to the “insurance department” at a third address in Texas.
152. Former BOA employees have provided sworn testimony that BOA
procedures included removing identifying data from correspondence, so the
documents could not be correlated with the mortgage account, thus prolonging
error status Other procedures were designed to delay corrections of the “errors”
BOA created. Bank of America employees regularly lied to homeowners seeking
loan modifications denied their applications for made-up reasons and Were
rewarded for sending homeowners to foreclosure, according to sworn statements
by former bank employees Six of the former employees Worked for the bank,
while one worked for a contractor, They range from former managers to front-line
employees and all dealt with homeowners seeking to avoid foreclosure through
the government’s program. (Case 1:10-md-02193-RWZ United States District Court
for the District of Massachusetts; sworn statements.)

153. Theresa Terrelonge, an ex-employee, said that “the company would consistently

tell homeowners to resubmit infonnation.” Others say that bank employees falsified

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records in the computer system and removed documents from homeowner files Worse
than this Bank of America would simply throw out documents on a consistent basis

154. About twice a month, former case management supervisor William Wilson said,
the bank ordered that all files with documentation 60 or more days old simply be denied.
“During a blitz, a single team would decline between 600 and 1,500 modification files at a
time,” he said in the sworn declaration To justify the denials employees produced
fictitious reasons for instance saying the homeowner had not sent in the required
documents when in actuality, they had. (Emphisis ours.)

155. Five of the former Bank of America employees stated that they were encouraged
to mislead customers “We were told to lie to customers and claim that Bank of
America had not received documents it had requested,” said Simone Gordon, who
worked at the bank from 2007 until early 2012 as a senior collector, “We were told that

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admitting that the Bank received documents ‘would open a can of worms she said.
(Declaration of Simone _Gordon, Case 1:10-md-02193-RWZ Document 210-2 Filed
06/07/13, in the United States District Court for the District of Massachusetts)

156. Simone Gordon described meetings where managers created quotas for lower-
level employees and a bonus system for reaching those quotas Employees “who placed
ten or more accounts into foreclosure in a given month received a $500 bonus” Gordon
wrote “Bank of America also gave employees gift cards to retail stores like Target or Bed
Bath and Beyond as rewards for placing accounts into foreclosure” Employees were

closely monitored, and those who didn’t meet quotas or who dared to give borrowers

accurate information, were fired, as was anyone who “questioned the ethics of

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declining loan modifications for false and fraudulent reasons” according to William
Wilson.

157. The ex-employees listed by name specific executives who authorized and
directed the fraudulent processes but given the number and kind of suits and other actions
filed against BOA and other defendants every executive and board member of Defendants
knew or should have known about the violations of state and federal law, and should have
acted to prevent continuing violations As an attomey, BOA President, CEO, and
Chairman of the Board, and BOA General Counsel in 2008, Brian Moynihan is uniquely
qualified to address the many issues that have been and are being raised. The failure of
executives and board members to act to correct the abuses and violations presents strong
evidence of culpability.

158. To this point, the legal action against servicers has mostly focused on forced
placed insurance and specific mortgage loan servicing/foreclosure practices (robosigning,
etc.), all agreed to be “unconscionable,” although there still exists a rationale that many
of the faults were “errors,” and the predators continue to offer their assurances that they
“were only trying to help.” For example, when Bank of America foreclosed and seized a
home that they held no mortgage on, a Florida court awarded the homeowners a
judgment against the bank, the homeowners had to get a writ of execution in order to
compel BOA to pay it, and a BOA spokesman characterized the events as a “series of
unfortunate circumstances that l\/lr. Nyerges experienced.”

(http://abcnew§go.com/Business/bank-america-florida-foreclosed-angry-homeowner-

 

bo_fa/_story?id=,ljl§§§) When another couple was awarded in excess of $1,000,000 in

a BOA subsidiary loan collection call case, BOA’s Sr. VP Dan Frahm said, "“Bank of

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America has helped 2 million homeowners avoid foreclosure. Our calls to the Coniglios
were not to collect a debt, but rather to help them avoid foreclosure after they fell behind

on their mortgage payments in 2009. . . We are committed to help homeowners in need

 

of assistance avoid foreclosure."(Emphasis ours.) lLttp://abcnews.go.com/US/couple-
wLiLl_m-suit-ma]'or-bank-outrageous-robc_)_c_all/s`to_ry_@d:Z_Z§§Z_ZO\S

159. The settlement orders and consent orders for these legal actions frequently
purport to “end mortgage abuses.” When, in 2014, Bank of America (BM) and QBE
lnsurance Corp agreed to pay $228 million to settle claims that they engaged in a
kickback scheme inflating the cost of insurance that homeowners were forced to buy, the
Court wrote: “The injunctive portion of the settlement mandates an end to force-
placed insurance practices which are the subject of this litigation.” (Cheryl Hall et
al v Bank of America N.A. et al, U.S. District Court, Southern District of Florida, No 12-
cv-22700) (Emphasis ours.)

160. The vaunted 2012 National Mortgage Settlement between the US and 49
individual states and borrowers and the Defendant banks, with its $25 billion payment, is
only one of the documents purporting to end the abuses, and the defendants’ release from
obligations after three years was not made widely known. Payments were also made to
The National Association of Attorneys General ($15 million to create and administer the
“Financial Services and Consumer Protection Enforcement, Education and Training
Fund”); The Conference of State Bank Supervisors ($65 million_-$l$ million to
establish the “State Financial Regulation Fund” and $1 million to each state financial
regulator who signed the consent judgment); the state members of the executive

committee who negotiated the settlement and the Ameriquest Financial Services Fund

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($10 million to cover costs and attorneys’ fees). Nearly $3 billion was committed to
refinance “underwater” mortgages, for borrowers who were current on their payments,
but whose mortgage Was more than their home’s current market value. Approximately
$17 billion, was dedicated to consumers for mortgage modifications, short sales,
deficiency waivers, anti-blight prevention activities and principal forbearance for
unemployed borrowers, along with specific short sale provisions for military borrowers.
A mere 6% of the total, $1.5 billion, was set aside for cash payments to qualifying
individuals whose homes were sold or taken in foreclosure between Jan. 1, 2008, and
Dec. 31, 2011, who submitted claims.

161. Were borrowers made whole by the various settlements? From its $134, 628, 489
2012 National Mortgage Settlement share, Texas directed $10 million to the Judicial
Fund as civil penalties, and the rest to the State General Fund. Whether any of the
borrowers actually defrauded by the banks were recompensed is hotly debated and highly
problematic. To the general public, the big settlements and lack of criminal prosecution,
both state and federal, indicate a system of payoffs previously seen only in connection
with the Mafia and/or corrupt politicians.

162. Were mortgage abuses ended by the various settlements? From the consumers’
viewpoint, nothing has changed, except the predators have become more efficient at
creating the trappings of plausible deniability, through their documentation of mortgagor
contacts and file stuffing, like the unsigned form letters Defendants sent Plaintiff,
Violations of the settlement orders have been documented many times, and Plaintiff and
many others have continued to experience the full range of Defendants’ predatory

behaviors.

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163. RICO actions have been filed; banks have settled; criminal prosecution has
proceeded in very few cases.

164. The fault lines remain in the same locations. ln mortgage securitization
transactions, while the mortgage servicer forwards the borrower's payment of principal
and interest to the certificate holders (investors) of the special securitized trust that owns
and holds the promissory notes secured by the mortgages and deeds of trust, the servicer is

allowed to retain late fees! BPQfe@ ir§pectionjee; and other fees changa' or assessed

 

to a borrower's account In addition to the fee income, the servicer is allowed to retain the

net liquidation proceeds of any foreclosure sale (net after foreclosure expenses and

 

principal balance to investors). This provides an incentive to unscrupulous servicers who
aggressively interpret mortgage documents to add additional fees to a borrower's
mortgage account. Many times, the additional fees added on create an event of default
allowing the mortgage servicer to foreclose on the property. This practice is commonly
referred to as manufacturing a default

http://seattletimes.nwsource.com/ht;n!realestate/2003 522241 guttentag l 4.htn1?_s_ynd_i_ea_ti

 

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165. Servicers earn a small percentage of mortgage payments, but what has made the
business especially profitable are late fees and other ancillary costs such as property
inspections, lender insurance, and other manufactured fees collected from borrowers in
delinquency and in default, particularly since servicers can manipulate every aspect of
every mortgage-related transaction They receive the payments and can create a late
payment simply by the date of receipt they enter into the records. Few borrowers have the

data necessary to argue the date payment was received. Plaintiff is fortunate in that she

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made automatic payments from a BOA checking account, through BOA’s BILLPAY
program, to BOA as servicer, and her BILLPAY records show every payment made, made
timely, and timely receipt is certified. The fact that the BILLPAY records and Plaintiff’ s
BOA mortgage transaction reports do not agree is particularly telling in this
relationship.(See Exhibits 4 and 12.)

166. When the servicer manufactures a default, usually by padding the escrow account
and using the padding to increase the required mortgage payment, the servicer can then
hold the regular mortgage payments in limbo by labeling them as “partial payments”
which Fannie Mae, for example, allows servicers to retain, refuse to apply the mortgage
payments to principal and interest, show the mortgage in default, move to foreclosure -
and make a killing. He who creates accounting creates wealth. . .

167. It is now common knowledge and a matter of public record that the modern
servicing structure has made it more profitable for large loan servicers to foreclose on the
loans they service than to negotiate loan modifications, even where the modifications
would be more profitable for the investors who own the loans. See Schwarcz, T he Fature
of Securitization, 41 Conn. L.Rev at 1322; Alan M. White, Deleveraging the American
Homeowner: The Failure of 2008 Voluntary Mortgage Contract Modifications (2009) 41
Conn. L.Rev. 1107, 1127 (stating that “the investor losses may be very large, but the
servicer will almost always benefit by completing a foreclosure sale ”); Steve Ruterman,
“Servicers Behaving Badly: An Insider’s Perspective to extend default and information
asymmetry between investor and servicer
http://www.subprimeshakeout.com/2012/03/servicers- behaving-badly-an-insiders-

perspective-on-the-root-cause-of-this- recurring-problem.html.); see also Diane

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Thompson, Foreclosing Modifz`cations: How Servicer Incentives Discourage Loan
Modificatz'ons (2011) 86 Wash. L.Rev. 75 5, 767-68 (“Moreover, servicers can bill
investors for services of third parties during the foreclosure process. Servicers often own
shares in companies that provide these ancillary services, and charge above market rates
on these services. See National Mortgage Servicing Standards and Conflicts of Interest,
Hearings Before Sen. Com. on Banking, Hous. & Urban Affairs, 112th Cong., lst Sess.,
pp. 122-128 (2011), testimony of Laurie F. Goodman, Senior Managing Dir., Amherst
Securities.

168. It appears to the consumer that the predators have paid off the various regulatory
agents and complainants, and that their profits from their continued predation in the
mortgage industry outweigh all of the payoffs ~ and the predation continues.

169. Most if not all of the settlement agreements and consent orders are deeply flawed.
For example, the 2008 Bank of America Settlement Agreement gave BOA a tool called a
“foreclosure avoidance budget,” which strangely enough gave the bank the option of
foreclosing on homeowners whenever, in the judgment of the bank’s analysts, more
money could be recouped by foreclosing than by modifying the loan. The 2012 National
Mortgage Settlement allegedly allowed Defendants to monitor themselves for
compliance with its terms, requiring only that they report themselves to the Monitor if
they found any problem. lt is apparent to the consumer, if not to the signers, that the

agreement is flawed. A further flaw is the 3-year period of alleged monitoring. Text of

 

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170. PATTERN OF PRACTICES: During the period of the mortgage, mostly
unknown to Plaintiff Thomas at the time because of her disabilities, substantial legal
action has been undertaken by a variety of individuals, state and federal officials; these
actions and resulting judgments and/or settlements, including the 2012 National
Mortgage Settlement entered into between a number of banks, including Defendant
BOA, and various states’ attorneys general. Each of these civil and regulatory actions
detail many of the same types of practices Defendants applied in Plaintiff Thomas’ case,
and essentially the same kind of unconscionable behavior and disdain for the law,
although the extent of fraudulent practices employed against Plaintiff has not been
detailed, and Plaintiff differs in that Plaintiff has not defaulted. These cases are
referenced to show a pattern of practices by Defendants, and the failure of regulating
agencies to enforce the law, rules, and regulations or the contracts with Fannie Mae that
Defendants continue to ignore or break.

171. ASSOCIATION Like the proverbial shell-game, Defendants and their cohort
move business back and forth between their openly admitted affiliates and their
unrecognized other ‘controlled’ entities. They “sell” affiliates to other associates, then
establish exclusive contracts with the buyers to provide the same services the seller was
providing through that particular affiliate Very of`ten, the “sale” includes a proviso that
the buyer must retain all of the seller’s employees working for the sold affiliate. Also very
often, the “sale” is in response to regulatory or civil action, so the Defendants and their
associates can claim to have divested themselves of affiliates under threat of investigation
or already under adverse action, or can distance themselves from the “bad actor” among

their affiliates. They can claim ignorance, error, and attempts to correct problems, without

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admitting guilt or knowledge. The buyer can then continue the fraudulent actions, basing
the continuation on ignorance and on following procedures based on information they
created in the files, without admitting knowledge that the files have been cooked and
without correcting the accounts. They can claim lack of control.

172. _BQA acquired parts of Countrywide Financial in 2008 after CF’s merger with
Red Oak Merger Corp, including Balboa Insurance, force placed insurance provider and
Countrywide Home Loans Servicing, LP. (Countrywide Home Loans Servicing, LP

became BAC Home Loans ServicingLLP.) Also in 2008, BOA acquired mortgage servicer

 

Wilshire Credit Co;p. as part of its 850 billion purchase of Merrill Lynch & Co.
173. In 2010, BOA sold Wilshire to IBM'2 one of the requirements of sale was that

IBM retained BOA’s Wilshire employees ln 2010, Wilshire was touted as set to receive a

 

substantial servicing portfolio from Fannie Mae.
174. In 2011, IBM changed Wilshire’s name to Seterus. In 2011, while under

investigation of force placed insurance practices, BOA sold Balboa lnsurance to QBE

 

lnsurance Group, who reportedly retained BOA Balboa’s employees, and BOA

subsequently entered into exclusive contracts with QBE to provide not only insurance

 

products, but to provide administrative functions for BOA. Balboa is defined to refer to
BOA’s subsidiaries BA lnsurance Group, Inc. (“BA lnsurance Group”), Balboa lnsurance
Company (“BIC”), Meritplan lnsurance Company (“MIC”), Newport lnsurance
Corporation (“NIC”), and BOA’s former subsidiary Newport Management Corporation
(“Newport”). Although BOA retained the BA lnsurance Group, BIC and MIC legal
entities, QBE manages all of Balboa’s force-placed business and Balboa entered a 100%

quota share reinsurance agreement with QBE pursuant to which QBE receives Balboa’s

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premiums and assumes the risk of Balboa’s force-placed insurance. Balboa’s existing
force-placed insurance policies are in run off and being transitioned to QBE Insurance.
Bank of America and QBE also entered into distribution agreements for insurance and real
estate-owned programs and other consumer insurance products.

175'. In January 2012, BQA transferred over 35,000 mortgages servicing to §e_teru_s.
In September 2012, Fannie Mae elected to transfer mortgage servicing from BOA
“without cause” (despite the state and federal charges against BOA) and agreed to pay
BOA $511 million for the privilege, according to public records.

176. In May, 2011, Bank of America Chase, and Wells F argo formed a “New
Venture To Help Consumers Make Person-to-Person Payments Electronically.”
According to published reports, “The three banks will own and run clearXchange, with
Bank of America ’s John Fela'man serving as General Manager. Financial terms were not
disclosed. clearXchange is headquartered in Charlotte, North Carolina.”

177. In January, 2016, owners Bank of America, Capital One, JPMorgan ChasLUS

 

Bank, and Wells Fargo, sold clearXchange to Eaer Warning. (Emphasis ours)

 

178. In 2015, Early Warning was owned by Bank of Amech BB&T, Capital One,

 

JPMorgan Chase, and Wells Fargo; after the acquisition of clearXchange in 2016, it was

 

owned by Bank of America&B&TLC@ital OneQPMorgan Chase, PNQ U.S. Bank, and
Wells Fargo, according to the websites. "Early Warning provides risk management
solutions to a diverse network of 2,300 financial institutions, government entities and
payment companies, enabling businesses and consumers to transact securely and
conveniently. Early Warning's unique business model facilitates a data exchange system

based on collaborative, shared intelligence For 25 years, the company has worked with

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organizations of all sizes to advance collaborative risk management and fraud

179. The clearXchange Early Warning development and sale is an example of one of
the changes in RICO practices: Defendants and others are moving away from using their
well-known names. When consumers see the name “Early Warning,” they do not connect
it with Defendants. This makes it easier for Defendants who have earned bad reputations
to continue their predation.

180. And, of course, there is MERS and MERSCORP, a privately held entity of which
it is difficult to access the owners, although BOA and other major banks are among them,
according to the media. lt is possibly MERSCORP which underlies the entire mortgage
servicing scam and makes it possible for the enterprise to prosper.

181. In probability statistics, errors that a_ll favor the group making the errors, as one
finds with Defendants’ errors, are systematic or determinate errors that tend to indicate
deliberate causation, or as General Sun Tzu reportedly said: “One may be an accident; two
may be coincidence; three times is enemy action.” Defendants and other.servicers claim
their fraudulent entries are “errors,” and cite difficulties melding systems and programs as
causes of their “inability” to maintain accurate mortgage transaction records, Their
demonstrated ability to develop Early Warning and clearXchange, to meld them
seamlessly, and to provide real~time solutions argues that these excuses are specious.
Their reported exclusive contracts allowing insurors and others to troll their files must
provide for some kind of centralized access; otherwise, how could they do the work so

cheaply‘? Further, the acknowledged assets of BOA, for example, at over $2 trillion would

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seem to allow for whatever equipment and programs necessary to prevent their continued
depredations.

182. Plaintiff’s suit goes beyond force placed insurance and the documentary abuses
of foreclosure, such as robosigning. Plaintiff’ s mortgage has been paid. Plaintiff’ s
situation differs from most of the suits filed because Plaintiff has never missed a
payment; she was and is financially able to maintain mortgage and other related
payments without difficulty. Yet Plaintiff was slotted into Defendants’ machine and has
been almost overwhelmed by their rapacious practices. ln spite of meeting all of her
obligations and having paid more than the total of the mortgage with 2 years of double
payments, Plaintiff has been forced into the manufactured default assembly line.

183. Plaintiff` s experiences with Defendants, named and unnamed, expose the
practices, tactics, and connections between the predators that demonstrate beyond all
doubt that these are not the result of “errors,” but of deliberate, egregious acts, designed
for the sole purpose of increasing the profits of the wolf packs and their associates, and
that the intent of Defendants is not to “help” mortgagors, but to foreclose, sell the
properties, and otherwise maximize their profits.

184. Defendants originated mortgages as trusted advisors to borrowers who were led
to believe that Defendants were mortgagees. Through websites, advertisements, and
posters in their bank, as well as incredibly expensive Super Bowl ads, BOA and others
touted their alleged position as helpful mortgagees. Borrowers were led to believe that
Defendants’ financial interests were aligned with those of borrowers. Defendants

knowingly misrepresented the facts and withheld material facts from borrowers.

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185. Defendants sold the mortgages, often to Fannie Mae, and became servicers,
without informing the mortgagors. As servicers, Defendants entered into contracts with
Fannie Mae. These servicing contracts presented opportunities for Defendants to broaden
and deepen their income stream from mortgages through various fees and charges, some
legal and other not legal.

186. Certain critical elements of the servicing contracts made predation easy for
Defendants and their cohort. Defendants, as servicers, maintained all records on the
mortgages Defendants controlled all of those records and data input. Defendants made
crucial decisions as to when charges could be made, the amount of charges, precisely
how and when they were entered, and monitored themselves, for the most part.
Defendants were in the position of controllers of a monopoly, being the single enterprise
to supply and/or control servicing and its related profits.

187. Defendants also controlled all other service providers for anything related to the
mortgages and the mortgaged properties. To a mortgagor, the servicer controls a
monopsony, because the service is the single entity to control the market to purchase
goods or services related to the mortgaged property’s mortgage, Defendants entered into
lucrative exclusive contracts, often structured to hide such things as kickbacks and
affiliations.

188. Defendants’ contracts with F annie Mae required servicers to verify required
insurance and to provide insurance in certain events. Although servicers are required to
ensure that mortgagors carry insurance to meet Fannie Mae’s requirements, the
requirements are stated as the lesser of two options -essentially replacement value, or the

UPB (Unpaid Balance) of the mortgage loan. The unpaid balance of the loan is the legal

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insurable interest of the mortgagee However, the definition included in Fannie Mae’s
UPB clause is ambiguous, and could be construed to be greater than the unpaid balance,
and thus used as the basis of an “error.” (“the UPB of the mortgage loan. . .as long as the
UPB of the mortgage loan (or the combined UPBs) equals at least the minimum amount
required to compensate for damage or loss on a replacement cost basis, which is usually
80% of the insurable value of the improvements." F annie Mae Servicing Guide, B-2-02,
Determining Minimum Coverage). 80% of the insurable value of the improvements can
exceed the UPB, and does, in Plaintiffs case. This portion of the guide is at:

https://www.fanniemae.com/ content_/guide/ servicing/b/2/ 02 .htm~l

 

189. Defendants’ servicing contracts and guides, incorporated into the contracts,
allowed Defendants to manipulate mortgage transactions in such ways as to increase
Defendants’ fees and charges, and general income from mortgages BOA and others had
control of the means of increasing servicing fees, by tweaking mortgage records and
payments, and through the use of lender-placed insurance and escrow accounts.

190. Defendants made charges to existing escrow accounts, and used those charges to
increase the mortgage payment due. lf mortgagors made the increased payments,
Defendants used the increase to take their charges through application to escrow fees and
charges, increasing their income.

191. lf mortgagors refused to pay the increases, under servicing contracts, Defendants
and other servicers designated those usual and customary mortgage payments as partial
payments, did not apply them to principal and interest, and retained them, showing them
in escrow and applying them to the fraudulent charges and fees, thus increasing their

income.

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192. Defendants had the control and ability to force a mortgagor into default through
use of the “partial payment” designation, inflating fees and charges, pyramiding as it is
now known, create manufactured default, and force a foreclosure sale.

193. In the event of a foreclosure sale, Defendants and other servicers are permitted to
take their fees and charges first, and pay the actual mortgagee the remainder, thus they
are incentivized to apply fraudulent charges.

194. Defendants’ pattern of practices was designed to increase their profits by
generating fees and charges and forcing mortgagors into foreclosure A close look at the
profits of selling and reselling foreclosed properties and the additional profits thus
generated would be appropriate

195. In many suits against Defendants and other servicers, Defendants allege that
plaintiffs are at fault because they failed to make the mortgage payments There does not
appear to be a criminal investigation to determine whether or not borrowers who fell
behind on their payments fell behind primarily as a result of Defendant BOA’s and
others’ frauds and other criminal activities, designed to increase fees from service
contracts, or comparisons of the original mortgage payments with mortgage payments
artificially inflated by Defendants and other servicers, or partial payment schemes.

196. One of the racketeering practices Defendants and other services employed was a
lender insurance scheme whereby Defendants received kickbacks or other self-dealing
benefits. When borrowers were in trouble financially and found maintaining insurance
difficult, Defendants force placed insurance at extremely high rates with one of their

RICO partners, often at insurance limits in excess of the mortgagee’s insurable interest,

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Defendants misrepresented the insurance requirements, and raked in more profits based
on the limits insured.

197. Finding the insurance racket profitable, Defendants went further, and frequently
falsely notified mortgagors that they had no “proof of insurance,” as required. In many
cases, including that of Plaintiff, they were provided proof of insurance multiple times,
and, according to whistleblower testimony, a matter of public record, Defendants had
instituted special file procedures to “lose” documents, instructed their service reps to lie
to mortgagors, and to do other such acts in order to delay acknowledgement so they
could at least bill for a partial period, that period during which they could claim not to
have received proof of insurance Among the evidence in the public record are sworn
statements of former BOA employees who have testified that BOA procedures included
removing identifying data from correspondence so the documents could not be
correlated with the mortgage account, thus prolonging error status Other procedures
were designed to delay corrections of the “errors ” BOA created Bank of America
employees regularly lied to homeowners seeking loan modifications denied their
applications for made-up reasons, and were rewarded for sending homeowners to
foreclosure, according to sworn statements by former bank employees (Simone Gordon
ajjidavit) Six of the former employees worked for the bank, while one worked for a
contractor. They range f‘om former managers to front-line employees, and all dealt with
homeowners seeking to avoid foreclosure through the government ’s program,
(Declaration of Simone Gordon, Case 1:10-md-02193-RWZ Document 210-2 Filed

06/07/13, in the United States District Court for the District of Massachusetts.)

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198. Federal Trade Commission (FTC) complaints cited BOA and others for failure to
post consumers’ mortgage payments in a timely and proper manner, and then charging
consumers late fees or additional interest for failing to make their payments “on time;”
charging consumers for placing casualty insurance on their loans when insurance was
already in place; assessing and collecting improper or unwarranted fees, such as late fees,
delinquency fees, attorneys’ fees, and other fees; misrepresenting the amounts consumers
owed; falsely representing the character, amount, or legal status of consumers’ debts;
communicating or threatening to communicate credit information which was known or
which should have been known to be false, including the failure to communicate that a
debt was disputed; using false representations or deceptive means to collect or attempt to
collect a debt, or to obtain information concerning a consumer; collecting amounts not
authorized by the agreement or permitted by law; and failing to validate debts.

199. When for some reason they could not deny having proof of insurance,
Defendants fraudulently notified mortgagors, including Plaintiff, that their insurance was
less than the minimum required for the loan, thus misrepresenting the law and the
insurable interest requirements,

200. Defendants could also increase their profits from their insurance scams by the
judicial use of credit bureau reporting. Once they reported the loan in arrears, the
insurance went into the high risk or surplus category, and the cost of the borrowers
insurance greatly increased. Since their kickbacks were based on the premiums, their
profits increased

201. Plaintiff was the victim of this tactic, and suffered damages because of the

increases in cost of insurance for the mortgaged property and for all of her other

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insurance and other goods and services from those who use credit scores to determine
fees and costs.

202. Another possible aspect of the insurance scams relates to claims paid. When
Defendants purchased lender insurance for excessive limits above their actual insurable
interest from their associates in the RICO enterprise and from others, how much was
paid to Defendants on claims made‘? For example, Texas Windstorm lnsurance
Association (TWlA) provides windstorm insurance in Texas, and customarily pays
claims to the mortgagee, without ever checking to find out exactly what the mortgagee’s
insurable interest actually is. Other insurors have the same policy. lt is posited that an
insurer active in the RICO enterprise would pay at the policy limits, rather than at
insurable interest

203. Backdating insurance policies, often for months, was also a customary practice
of Defendants and other servicers participating in the insurance scams. Backdating is
unlawful for several reasons: it is illegal to backdate an insurance policy in order to
collect damages for claims that occurred during the uncovered period. That given,
backdating an insurance policy when no claims occurred is fraudulently creating a record
in order to charge for services not rendered. Fraud involves intentional deception or
misrepresentation intended to result in an unauthorized benefit. An example would be
billing for services that are not rendered. Abuse involves charging for services that are
not necessary, do not conform to professionally recognized standards, or are unfairly
priced. Backdating insurance is both fraud and abuse, which Defendants attempted to

perpetrate on Plaintiff.

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204. Defendants have alleged in other cases that backdating is necessary to comply
with their servicing contracts with F annie Mae, and some Courts have appeared to accept
this rationale However, this backdating is a fraudulent attempt to hide violation of their
contracts, and to avoid penalties for it. Backdating to secure payment of a claim while
without insurance is a crime in Texas. Backdating when there is no claim and requiring
the borrower to pay for that period when no benefit can be acquired is the same as
requiring someone to pay for services not rendered and received. Complying with Fannie
Mae servicing contracts which require that servicers monitor and require insurance to
cover the risks is not the responsibility of borrowers. When servicers fail to comply, then
backdate policies to make it appear that they have not violated their contracts, they are
engaging in fraud, defrauding both F annie Mae and the borrowers by forcing borrowers
to pay for the coverup, and requiring borrowers to act involuntary accessories, which is

unlawful.

205. Since it would be unlawful to backdate an insurance policy and collect for a
claim that occurred during the backdated period, no services are being rendered.

206. Defendant BOA and others created an error-driven rube goldberg machine
consisting of a series of linked actions supposedly designed to perform simple tasks
which in actuality perform as fun-house deadends, regardless of where the mortgagor
might enter the system. This pattern of perpetual-motion self-defeating practices is
designed to increase servicing activities and fees, to exhaust the mortgagor, to prevent
ready detection by authorities, and to drive the mortgage into default,

207. Defendants’ and their associates’ practices are structured for “plausible

deniability.” Although the actions they took against purchasers and mortgagees were

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deliberate, they used the “error” card to delay and to continue their nefarious activities,
They neglected to tell mortgagors, including Plaintiff, that their loans had been sold and
to provide the notices required by TILA when ownership changes hands; therefore
mortgagors were denied information which might have helped them to understand and
defeat the ‘Cuckoo’s Nest/Twilight Zone’ morass into which Defendants placed them
with their machinations. When mortgagors believed that Defendant BOA owned their
loans, they could see no logical reason for BOA’s manipulations, because these
manipulations would result in losses to the owners. lt was easy to accept the error
concept, because otherwise Defendants’ activities were irrational. However, when one
considers that Defendants collected servicing fees for all of the work associated with
their “errors,” maximized their profits by false charges, and retained the bulk of
foreclosure assets, their activities and hardheaded determination to continue in their
errors is easily understood.

208. For example, BOA diversified previously unified services, thus ensuring that
multiple contacts were necessary for any mortgagor to resolve any of the “errors” created
by BOA. They completely separated their local bank employees and data from the
various entities working with mortgages. They “outsourced” to their RICO associates.
They “churned.” They worked through affiliates and contractors who presented
themselves as BOA employees. Mortgagors, including Plaintiff, were directed by mail to
send payments to an address in California, to correspond with BOA Support Services
through emails online at the BOA site, to send documents to the “insurance department”
at a third address in Texas, and were often required to communicate by telephone in

order, it is believed, to prevent the formation and retention of documented evidence

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209. Defendants violated the insurable interest requirement and violated fraud statutes
by misrepresenting “the minimum required insurance for this loan.” For example, in
Plaintiff’s case, as in others, Defendants specifically notified Plaintiff that her insurance
was inadequate Plaintiff’ s original loan in 2002 was 8110,400; Plaintiff at all times
maintained all insurance on the property, beginning at 8150,000 coverage limits, as
established by valuation prior to purchase, and Plaintiff’ s insurance agents automatically
provided proof of insurance to Defendants at each renewal. However, in 2009-2010,
Defendant BOA, unable to maintain absence of proof of insurance, instead claimed that
Plaintiff’s coverage was below the minimum, and “acquired” lender placed insurance for
coverage limits of 8256,000, more than 8100,000 over the replacement value of the home,
while in April, 2009, Countrywide documents had placed the UPB at slightly over
870,000, exclusive of the double payments, about 8186,000 over the mortgagee’s
insurable interest. (See Exhibit 13) Defendants charged Plaintiff over 87,000.00 for this
policy, which turned out to be a California Subsistence Policy, which is not a usual
Texas hazard. Although Defendant refused to pay it and eventually succeeded in having
it removed, BOA’s correction left errors in the mortgage transactions

210. Further, Fannie Mae appears to have done inadequate monitoring and control of
their contractors A Fannie Mae service representative told Plaintiff, for example, that
they had no access to BOA’s servicing records after BOA transferred Plaintiff’ s
mortgage servicing to Seterus, although Fannie Mae contracts specifically require
servicers to maintain servicing files on each mortgage during and after a servicing
contract. ln August, 2011, Reuters and others reported that Fannie Mae agreed to pay

BOA 8512 million (more than contractually required) to make a without cause (rather

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than based on poor performance) transfer of servicing to another firm - this while serious
charges of poor servicing performance were being litigated nationwide

https://www.debt.org/blog/fannie-mae-bank-of-america-09-20-2012/

 

211. In reference to Mortgage Loan Payments Fannie Mae requires that “All funds
tendered by the borrower for application to a first-lien mortgage loan that Fannie Mae
owns or securitizes (whether such loan is current or delinquent) must be applied as
intended by the borrower and should not be reallocated as payment towards any
subordinate lien.” (Chpt 1. Mortgage Loan Payments, 10/31/08). Servicers’ charges are a
subordinate lien, yet Defendants converted Plaintiff’s correct and timely payments to
their own use through the fraudulent escrow account, thus failing to make appropriate
entries to the mortgage transaction reports showing payment to interest and principal.
212. For Mortgage loans closed on instruments dated March 1999 and later, F annie
Mae requires that: “Payments must be applied in the following order for a mortgage loan
closed on one of the uniform security instruments that has a date of March 1999 or later:

- first to interest,

' then to principal,

' then to any required deposits for escrow items (which include taxes and
assessments property or mortgage insurance premiums, leasehold payments or ground
rents and community association dues, fees and charges as applicable). When the
payment includes late charges the late charges should be applied only after all of the
scheduled payment has been applied.”

213. However, Fannie Mae also allows a servicer who designates or actually receives

” “'

a payment that is for “less than the full amount due, 1f the mortgage loan is an

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actual/actual remittance type, to remit only the funds that were actually applied to the
loan.” Therefore, if the servicer manipulates escrow and charges in order to create an
increase in the mortgage payment, and the mortgagor fails to pay the increased amount,
then the servicer can designate the payment as a short payment, assign it to escrow and
avoid remitting it to Fannie Mae, Defendants did this to Plaintiff, increasing the mortgage
payment by adding the fraudulent escrow charges to it, then labeling the regular timely
payments as “partial” although they were for the full amount of the mortgage payment due
214. Lacking material facts about their servicers and the servicers’ relationships with
Fannie Mae and others mortgagors like Plaintiff were unable to protect themselves from
predation. Defendants’ deliberate and egregious actions against Plaintiff and others are
worsened by Defendants’ failure to comply with some of the specific parts of Fannie
Mae Servicing Contracts and Guides and by F annie Mae’s failure to compel servicers to
comply.

215. FIDUCIARY RELATIONSHIP: Fannie Mae through contract with Defendants
clearly established a fiduciary relationship to be enjoyed by mortgagors including
Plaintiff, in the conditions to which Defendants are subject under their contracts
including the requirement to comply with the servicing guides and to which Defendants
agreed by undertaking those contracts FANNIE MAE’s servicing guide clearly defines
Defendants’ function under their contracts as a fiduciary for both FANNIE MAE and for
the borrower (Plaintiff); stating: “The servicer’s authorization to receive, handle, or
dispose of funds representing mortgage loan payments (for principal, interest, and tax
and insurance escrows) or of other funds or assets related to the mortgage loans it

services for Fannie Mae or to the properties secured by those mortgage loans is limited to

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those servicing actions that are expressly authorized in this Guide or in the Lender

Contract. Since these funds and assets are owned by F annie Mae and other parties

 

(such as the borrower, a participating lender, or an MBS holder), the servicer in its
handling of these funds is acting on behalf of and as a fiduciary for, F annie Mae and
other parties as their respective interests may appear~and not as a debtor of F annie
Mae. lf the servicer takes any action with respect to these funds or assets that is not
expressly authorized-such as the withdrawal or retention of mortgage loan payment
funds Fannie Mae is due as an offset against any claim the servicer may have against
Fannie Mae_the servicer is not only violating the provisions of this Guide and the

Lender Contract, but also is violating the rights of any and all other parties that have a

 

beneficial interest in the funds Such action is therefore prohibited and will be considered

 

a breach of the Lender Contract.” FANNIE MAE SERVICING GUIDE, SECTION
202.02 (Emphasis ours.)

216. Fannie Mae clearly defined “other parties” to include the borrower, in this case
Plaintiff THOMAS. The fiduciary relationship between BOA and Plaintiff was also
established by other factors including a special relationship enjoyed prior to the
incidents complained of, described and discussed below,

217. Fannie Mae also provides that in a servicing transfer, borrowers are third-party
beneficiaries “Any contract for transfer or sale of servicing rights shall designate that
borrowers are third party beneficiaries under paragraphs IV.M.l .b and IV.M.l.c, above.”
218. In 2002, Defendant Bank of America (“BOA”) had established a fiduciary
relationship with Plaintiff Thomas acting as knowledgeable trusted advisor to Thomas, a

former English teacher with disabilities from stroke and with limited business

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experience, who established Contract Management Services lnc., and Served as its CEO.
Plaintiff relied on the bank’s greater, superior knowledge of the small business world,
particularly because, unlike BOA’s Plaintiff s background was as a teacher and
consultant rather than as a financial maven. CMSI and Thomas banked at Nations Bank
which was acquired by BOA, then placed all business and personal banking accounts at
BOA. Thomas trusted them and relied upon their representations in making personal and
professional business decisions Plaintiff took business advice from no other person or
group. ln particular, BOA provided financial guidance and advice At no time was
Plaintiff made aware of BOA’s conflicting or divergent interests

219. On the advice of Defendant BOA given for a specific purpose allegedly associated
with Plaintiff’s business operations [qualifying for accounts receivable financing],
Plaintiff THOMAS invested in real estate, purchasing a small home at 614 Briarwilde
Court in Alvin, Texas in 2002, with a w mortgage in the amount of 8110,800.00,
with Countrywide Home Loans as instructed by BOA.

220. BOA advised Plaintiff Thomas that at some point in the future, with CMSI
growing rapidly, CMSI might need accounts receivable financing, which BOA would be
happy to provide if Plaintiff met the requirements and that Thomas should be prepared
for that eventuality.

221. BOA represented that CMSl’s credit was very good, but that accounts receivable
financing required that the CEO, Thomas, have very good personal credit. Defendant
BOA advised that because of Plaintiff’ s business interests and planned and continuing
expansion, it was important for Plaintiff to establish some form of personal credit record

that would support any future application for corporate accounts receivable financing,

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and that purchasing a home using a mortgage would best ensure this particularly if she
made automatic payments of some sort that would also accommodate her handicaps The
concept seemed reasonable to Plaintiff; Defendants demonstrated their concern with
Plaintiff’ s reasons for cash payments and provided a workable solution; Plaintiff trusted
BOA, and based partially on their marketing/ advertising/ PR campaigns and on her
understanding of how banks made money, believed in their expertise and impartiality.
Plaintiff also believed that, as they often stated and published on their websites and other
documents they were there to help and had their clients’ best interests at heart, ln
essence, what both BOA and Countrywide said was that “when you prosper, we prosper.”
222. BOA advised that Countrywide Home Loans was her best partner for this
mortgage, Because of the trust established between BOA and Plaintiff, Plaintiff agreed
and proceeded with the directed purchase BOA was aware that Thomas consistently paid
cash in order to avoid credit problems due to her stroke disabilities [memory, etc.] BOA
advised Thomas that buying a house would take care of the personal credit issue, referred
Thomas to Countrywide, and interacted with Thomas and Countrywide during the
subsequent purchase

223. BOA and Countrywide were fully aware of Thomas’ disabilities from stroke and
Transient Ischemic Attacks (TIA’s); Plaintiff followed her usual and customary
procedure of making full disclosure of disabilities that might affect her business
relationships

224. Plaintiff had consistently before this occasion paid in full for all of her purchases
because of disabilities from stroke, specifically to avoid poor credit because of memory

failures and owned a number of properties outright. Neither Plaintiff nor her corporate

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group used any credit other than a monthly paid-in-full business credit card. Neither
Plaintiff nor her corporate group had any outstanding debts BOA advised Thomas that
her concerns about her disabilities and debts could be addressed by setting up automatic
payments for the mortgage

225. Escrow was specifically waived (See Exhibit 5, Countrywide memo waiving
escrow) based on the Defendant’s knowledge that Plaintiff was well able to pay outright
for the real estate and Plaintiff s determination to avoid varying payments and Plaintiff
was to self-insure or purchase insurance at her option and to pay all taxes and ancillary
charges ln answer to Plaintiff’ s question re disclosure, Countrywide stated that charges re
insurance were not charges but rather there to show it would be an expense of Plaintiff
(see Exhibit 5, Countrywide memo). Both Countrywide and BOA seemed relaxed and
comfortable with the special terms they offered Plaintiff, and assured her of complete
compliance with her special needs

226. At the time of closing, Plaintiff Thomas had suffered several Transient Ischemic
Attacks (small strokes) and temporarily could not read. Although Thomas kept this
temporary condition secret, she informed both BOA and Countrywide that she could not
read, and discussed delaying the purchase Both assured Thomas that the documents
were in order, that they contained exactly what the parties had agreed, that it was
important to get the closing done, and that if Plaintiff was able to sign documents it
would be best to do so, and relying on those representations Thomas agreed to go ahead
with the closing and sign the documents However, her discomfort was noted in a memo
on which she scribbled a disguised reference to her inability to read to remind

Defendants (See Exhibit 15).

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227. Thomas signed mortgage documents based entirely on the misrepresentations by
BOA and Countrywide, on Defendants’ failure to provide material facts including the
actual contents of the note and agreement they induced her to sign, and on her
understanding of the situation as BOA and Countrywide represented it.

228. BOA and Countrywide failed to disclose material factors that would have altered
Thomas’ decisions and actions lt was Thomas’ clear understanding that the mortgagee
was Countrywide, and when Countrywide was acquired by BOA, that the mortgagee
became BOA. At no time was Thornas made aware that Countrywide and later BOA

were to act as servicers, and that their financial interests as servicers were in opposition

to her interests as mortgagor. BOA took advantage of its trusted relationship with
Plaintiff to place her in a situation contrary to her interests and designed only to increase
Defendants’ profits

229. Plaintiff was not made aware or informed of the multiplicious connections
between BOA and Countrywide, of any conflicts of interest, or of any profit motives that
might harm Plaintiff in the present or future Plaintiff was not made aware of Defendants’
multiple roles - as lender, servicer, investor/seller, insurance company, and so forth, nor
of the cross-connections of lender/servicer between BOA and Countrywide and other
banks and servicers,

230. Plaintiff was not made aware of the conflict between servicers’ financial interests

and those of a borrower. lt is now commonly known that because modern mortgage

 

servicing is divorced from ownership of the loan, servicers have incentives to charge

borrowers unnecessary fees and to extend default. ln the past, a lender holding a

 

nonperforrning loan would have every incentive to modify the loan with terms that create

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a positive “net present value,” - that is that will produce a revenue stream that, over time,
is predicted to exceed the benefit to the lender of foreclosing. The typical modern
mortgage servicer, on the other hand, has competing incentives Thomas however, was
completely unaware of servicers as entities or of their functions and neither BOA nor
Countrywide Home Loan lnc disclosed that information to her.

231. Representatives of both BOA and Countrywide Home Loan, Inc., made material
false representations to Plaintiff, at the time and during the pendency of Plaintiff" s loan,
and have continued to do so to this date

232. Absent the failures to disclose and material misrepresentations Plaintiff would
not have entered into this arrangement for a mortgage or signed the mortgage documents
but would have paid for the house outright if Plaintiff decided to purchase it for any other
reason.

233. BOA knowingly and willfully made these material false statements and omitted
to disclose other important information with the purpose and intent of inducing the
Plaintiff to enter into an agreement counter to her interests and intents which were
known to Defendant and which Defendant falsely asserted were consistent with the
contents of the mortgage documents/agreement (Deed of Trust/Note), in order to increase
their profits Thomas believed Countrywide Home Loans, Inc., was the mortgagee, and
when BOA informed Plaintiff that BOA had “acquired Countrywide,” Thomas believed
BOA was her mortgagee

234. These material misrepresentations and omissions of fact are among the reasons
Thomas had so much difficulty dealing with the situation in which she found herself; she

could not understand why Defendants behaved as they did. Lacking a logical reason for

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Defendants’ behavior [unaware of their profit motives], Thomas could not find a way to
address the problems effectively, and for many years believed that her disabilities were
causing her to misperceive the situation.

235. In actual fact, Plaintiff has never been in default on her mortgage Payments
were automatically, timely made direct from a BOA checking account, via BILLPAY,
and those checking account records show all payments confirmed received timely,
although entries on the mortgage transaction documents do not agree with BOA’s own
banking records from Plaintiff’ s checking account. (See Exhibit 4, BOA BILLPAY 2-
2010 THRU 7-2016). Further, during the first two years of the mortgage before BOA
“acquired Countrywide,” Plaintiff made double payments which do not appear to have
been credited to Plaintiff’s mortgage account, according to BOA’s mortgage records
Plaintiff’s mortgage transactions if in compliance with actual fact, would show her 15-
year mortgage long paid up. (Compare Exhibit 4 and Exhibit 12.)

236. Defendants as is their usual and customary practice, created a fraudulent escrow
account, significantly far into the mortgage period, applied false charges penalties and
fees asserted fraudulent increases in mortgage payments and asserted that Plaintiff was
in default. Plaintiff then spent weeks fighting with Defendants and finally got some
“correction” of the records, However, in a very brief time thereafter, Plaintiff would once
again find “errors” Defendants created a very unmerry merry-go-round.

237. Defendants used the F annie Mae insurance requirements and their own insurance
providers to create “plausible” but fraudulent records, and to significantly increase their

profits

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238. At all times Plaintiff maintained insurance, sometimes far in excess of
Defendant’s insurable interest, because of Defendant’s fraudulent misrepresentation to
Plaintiff, and proof of insurance was repeatedly supplied.

239. While it was a usual and customary procedure for Defendants to deny receipt of
proof of insurance, Defendant BOA, having inadvertently acknowledged receipt of proof
of insurance, notified Plaintiff in 2009-2010 that her insurance did not “meet the
minimum requirements” for the loan, and had already force placed insurance

240. The original loan was for 8110,400 (2002); Defendant BOA had posted lender
placed insurance with limits of 8256,000 approx. 8 years into the mortgage period.
Defendants misrepresented the mortgagee’s insurable interest and requirements (See
Exhibit 13, BOA 2010 HO INS min).

241. Defendants then applied the charges to escrow and notified Plaintiff of an
increased payment, which Plaintiff refused to make, and while Plaintiff was eventually
able to compel Defendants to remove the fraudulent charges during the period of
intransigency, Defendants continued to post defaults and notify credit agencies that
Plaintiff was behind in her mortgage payments

242. While Defendants seem to make at least an attempt to fake a justification for
fraudulent entries in some cases there seem to be no possible connection between
Defendants’ posted entries and Plaintiff’s mortgage F or example, from time to time after
establishing the fraudulent escrow account, Defendant BOA posted “Monthly PMI,” or
“FHA” charges when Plaintiff`s mortgage had neither PMl nor any connection to FHA.

(See Exhibit 14, BOA escrow fraud PMl etc 2010.pdf.)

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243. F or example, in 2009, Defendant BOA posted not only PMI payment, but
“School tax pmt,” “Spec assessment tax” and “County tax pmt,” showing dates in
December, 2009, under “Last Year’s Escrow Payments.” Defendant made none of these
payments for Plaintiff; and in fact, no county billed such charges to Plaintiff. (See
Exhibit 14, BOA escrow fraud PMl etc 2010)

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244. During each of the periods of Defendants errors” Defendant inundated and
constantly pressured Plaintiff with multiple, confusing, conflicting letters from multiple
sources threats rude collection calls and other tactics designed to extort payments from
mortgagors, such that, with her stroke disabilities Plaintiff was unable to complete work
on her own business development and personal imperatives

245. Defendants deliberately created and employed a system and a pattern of practices
designed to frustrate, block, delay, and exhaust mortgagors including Plaintiff, in their
efforts to secure corrections or to simply communicate with a knowledgeable person or
one empowered to act to correct “errors”

246. For example, Defendant BOA notified the borrower that a “payment had not
been received.” Plaintiff went to the computer to sign on, an exhausting process in itself
for someone who has suffered stroke, and tried to access her mortgage account. When
she did so, she found that Defendant had interposed a blocking screen, denying access to
the mortgage transaction records or mail until and unless Plaintiff first made a payment
online from checking. (See Exhibit 16, BOA BLOCKING SCREEN.) As a paperless

client, Plaintiff could not access her mortgage records in order to determine what was

happening Further, this screen lacked input spaces for sufficient information,

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247. Fortunately, Plaintiff paid her mortgage with automatic payments from a BOA
checking account through BOA’s BILLPAY program. Thus, Plaintiff would access the
BILLPAY records, where she could see that the “missing payment” had been made and
confirmed received on time, This process used about two hours each time, not including
the time it took her to start all over whatever task that was interrupted by BOA’s missing
payment notices (See Exhibit 4.)

248. As a result of Defendants’ egregious behavior and criminal activities, including
fraud, Plaintiff suffered ill health, including hospitalization for high blood pressure,
anxiety disorder, weight gain, insomnia, teeth-grinding sufficient to break Plaintiffs
permanent bridges (which continue to abride), distraction, frustration, depression, and
anger management problems Plaintiff developed chronic inflammation and pain,
suffered migraine, and worsened symptoms of her disabilities Plaintiff’ s overall function
declined, and her quality of life deteriorated significantly as a result of Defendants’
unconscionable actions and practices Further, because of Plaintiff’s known disabilities
Defendants’ egregious practices diminished her capacity to perform essential tasks
related to care of her chronically ill granddaughter and other important tasks of daily
living.

249. Defendants’ creative bookkeeping and falsification of mortgage transaction
records deliberately created a false and fraudulent record indicating that Plaintiff was in
default, damaging Plaintiff’ s reputation and her credit standing, as Defendants falsely

reported that Plaintiff was behind in her mortgage payments

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250. The lowered credit scores Defendants caused impacted Plaintiff financially,
because of providers who use credit scores to determine rates Plaintiff" s insurance rates
went up, not only for the mortgaged property, but for all of her other insurance needs
251. The situation was made worse for Plaintiff by the knowledge that the entire
situation, from purchase and mortgage to the current difficulties had been deliberately
crafted ostensibly to make Plaintiff’ s life easier, but in actuality simply to increase
Defendants’ profits and from Plaintiff` s point of view, had been totally unnecessary.
Plaintiff" s businesses never needed A/R financing

252. The BOA Mortgage Transaction records Plaintiff has been able to acquire, in
spite of BOA’s repeated failures to provide the records during their servicing, display
long periods of fraudulent entries, followed by short periods of “corrected” data,
followed by more fraudulent entries (See Exhibit 12 A-D, Some BOA Mortgage
Transaction Reports). BOA is consistent in creating the errors in its favor and in delaying
correction of its records and Seterus is following in its parent’s steps

253. ln 2015, Plaintist loan balance was less than 810,000.00, when BOA made
Plaintiff Thomas a refinance offer, which Plaintiff rejected, since she was well able to
pay her mortgage, provided Defendant eschewed fraudulent transaction entries This
480-month (40 years) loan term option spotted a monthly payment amount of 89_50@1
an increase of about 812/month over Plaintiff’ s then payment of W, and included

detachable payment forms for that amount to be paid to Bank of America, NA, in Dallas

 

H. As of March, 2016, the balance of THOMAS’ loan per Amortization Schedule

provided at closing, not counting prepayments Thomas made, would have been

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approximately 86500.00, including principal and interest, with about 8103,000.00 having
been paid by Plaintiff, without considering the double payments made in years 1 and 2.
254. The 480-month refinance loan offered by BOA with a payment of
8950.78/month assessed Plaintiff a total of an additional 8456,374.40 over a 40-year
period, as opposed to the loan balance of less than 810,000.00 at the time

255. The “new” loan payment included 8_11$§ monthly principal and interest for a
total of 854,792, with a monthly escrow amount of $836. 63, for an escrow total of

$401,582.40. ln other words FANNIE MAE gets 854,792 while the servicer and their

 

cohorts get over 8400,000.00, part of which is the illegal kickbacks extorted from the

 

homeowner by the bank, who pays the colluding insurer, who then pays the bank its
kickback. The farcical idea that any person of normal intelligence would accept this offer
leads PLAINTIFF to believe that DEFENDANT does not intend such offers to be
acceptable to mortgagors, and that DEFENDANTS’ actual goal is to force mortgagors
into foreclosure Defendants’ intent to secure exorbitant profits is clear and compelling
256. In November, 2015, as Plaintiff was again trying to compel BOA to correct its
records, Defendant suddenly increased its usual barrage of simultaneously conflicting
letters from “affiliates” located all over the US, failed to respond to Plaintiff’ s ongoing
attempts to compel the usual corrections then notified Plaintiff in the last week of the
month that DEFENDANT SETERUS would be her servicer effective December 1, 2015,
and provided a telephone number for Defendant Seterus, pursuant to the F annie Mae

servicer agreement and rule amendments

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257. The contact number provided by BOA was to a recorded Seterus message, telling
callers to call back after they received documents from Defendant Seterus, and Plaintist
attempts to contact Seterus for payment directions was unavailing

258. Further, BOA transferred the mortgage to DEFENDANT SETERUS without
correcting the fraudulent entries; DEFENDANT Seterus still falsely shows PLAINTIFF
in default on her mortgage, continues to add fraudulent charges and asserted that they
will foreclose if PLAINTIFF does not pay their trumped up charges

259. As with Defendants’ other records the transfer records are confusing and

conflicting After Plaintiff received the December 1 2015, notice of transfer, BOA sent

 

Plaintiff an ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT dated
January 14, 2016, stating “We are sending you this statement of activity in your escrow
account from August 2015 through January 2016, the date on which your loan was paid
in full or transferred to another servicer,” in essence stating that BOA was the servicer
through January 2016. (Emphasis ours.) (See Exhibit 17, 2016 Annual Escrow Account
Disclosure Statement.)

260. An Assignment of Deed of Trust from BOA to Fannie Mae is dated and filed

 

with Brazoria County 12/15/16 and Doc 2015057772 was registered with MERS
12/15/16. gSee Exhibit 9, Assignment of Deed of Trust.) Brazoria County shows
assignment from Khoury, seller, to Thomas buyer, and from Thomas to Countrywide
Home Loans, Inc., both in 2002, but no assignment from Countrywide Home Loans, Inc.,
to BOA. (See Exhibit 7, Brazoria County Title Search.)

261. Yet the unauthorized servicer first time payment of Plaintiff’ s property taxes

(which Was refunded as a duplicate payment to Seterus via CoreLogic by Brazoria

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County) was made by Defendants’ contractor CORELOGIC 11/18/15, and claimed by
Defendants against Plaintiff, (See Exhibit 6, Brazoria County Property Tax memos)).
262. Seterus’ status is also confused. BOA notified Plaintiff that Seterus was the new
servicer. However, on the Assignment of Substitute Trustee Seterus filed in Brazoria
County, Seterus identified itself as “Subservicer” (See Exhibit 10).

263. Defendant BOA or Seterus in order to legalize the fraudulent escrow account
[according to Fannie Mae], made an unauthorized payment to Ro’Vin Garrett, Tax
Assessor, Brazoria County, TX, for Plaintiff’s property taxes This was the first time in
the entire mortgage loan period that a payment for property taxes had been made
Plaintist property taxes were not in default. This payment duplicated Plaintiff’ s usual
and customary property tax payment, and Ro’Vin Garret, Brazoria County Tax Collector,
upon receiving Plaintiff‘ s complaint and reviewing the files returned Defendants’
unauthorized payment, and subsequently provided Plaintiff with a copy of the cashed
check. (See Exhibit 6.)

264. This refunded payment serves as part of the basis for Defendants’ claim that
Plaintiff is in default, Following Defendants’ usual practice, Defendants posted the
unauthorized payment to the fraudulent escrow account, and increased Plaintiff’ s
mortgage payment amount. Defendant Seterus continues to this date to maintain that
Plaintiff owes for the payment, although Brazoria County has verified the return and
provided copies of the front and back of the cancelled check (Exhibit 6).

265. Further, upon knowledge and belief, Seterus continues to use the refunded

payment as a basis for account analysis and fraudulent escrow charges

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266. Brazoria County included in their email verification to Plaintiff a copy of a
CORELOGIC email about the refunded tax payment, At this period in time, Seterus was
supposed to be the servicer; however, Corelogic’s email is addressed to “CTAX-RA-
BAC.OS.TAR,” and Plaintiff finds the “BAC” as possibly indicating Bank of America
Corporation, indicative of controlled connections (See Exhibit 6)

267. CORELOGIC’s name appears in various connections with Defendants
Defendants’ unauthorized property tax payment was made by CoreLogic. BOA’s 2015
Assignment of Deed of Trust to Fannie Mae says “When recorded mail to: CoreLogic
Mail Stop: ASGN P.O. BOX 961006 FT. WORTH TX 76161-9836.” (See Exhibit 9) On
information and belief, CoreLogic has access to the mortgage records of Defendants as
has been reported in various suits about other subcontractors and affiliates these entities
troll the mortgage records and take various actions in support of Defendants’ enterprises
268. Defendants’ relationships with CoreLogic gives rise to privacy violations in
violation of federal laws Banks and servicers are required to protect mortgagors’ private
financial and related information, according to Fannie Mae Section 309: “The servicer
must take appropriate steps to ensure the security, integrity, and confidentiality of
individual mortgage loan files and borrower payment records and to protect against
unauthorized access to or use of such mortgage loan files and records ln addition, this
information must not be used by the servicer or anyone connected with it (or be passed
on to a third party for its use) in any way that could be viewed as a conflict of interest, a
breach of confidentiality, or the gaining of an unfair advantage from its relationship with

F annie Mae”

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269. CoreLogic announced in 2011 “a new type of credit file, which is based on the
giant repository of consumer data it maintains on just about everything that most of the
traditional credit bureaus do not: missed rental payments that have gone into collection,
any evictions or child support judgments as well as any applications for payday loans
along with your repayment history. The new report also includes any property tax liens
and whether you’ve fallen behind on your homeowner’s association dues lt may reflect
that you now owe more than your house is worth or if you own any other real estate
properties outright.” CoreLogic also announced a new partnership with FICO, the
provider of credit scores popular with lenders CoreLogic’s access to and use of
Defendants’ records is in violation of federal law and Fannie Mae contracts

270. As a result of their fraudulent entries, Defendants have declared Plaintiff in
default and non-judicial foreclosure with sale scheduled June 6, 2017 (Exhibit 1)

271. Although PLAINTIFF has NOTICED Defendants multiple times since 2009 with
complaints supporting evidence, and invoices for time via certified mail, receipt
confirmed, about the specific “errors” and their multiple past admissions of the same
“errors,” confirming with BILLPAY records that she is not in default on her mortgage and
demanding mortgage transactions corrections to accuracy, including pursuant to Texas
law a Demand for Release of Fraudulent Lien May 4, 2017, DEFENDANTS have noticed
PLAINTIFF that they intend to foreclose, and have not corrected the mortgage transaction
records

272. After becoming servicer, DEFENDANT SETERUS failed to respond to
Plaintiff`s multiple letters for some time Because of her disabilities Plaintiff Thomas was

unable to immediately figure out how to pay Defendant Seterus while maintaining proof

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of payment. BOA customer service told Plaintiff that payments made to BOA in the
interim would be forwarded to Defendant Seterus, so Plaintiff paid December, 2015,
January and February, 2016, via billpay to BOA. BOA returned the February payment to
Plaintiff’s checking account.

273. ln the meantime, absent a reply from Defendant Seterus, Plaintiff finally
figured out that she could do billpay payments from her BOA checking account to
Defendant Seterus, and brought the payments current.

274. Plaintiff was informed by BOA’s customer service department that Plaintist
December, 2015, and January, 2016 payments would be forwarded to Defendant Seterus
but it appears this was not done Defendant BOA apparently converted those funds

275. DEFENDANT SETERUS, as might be expected given its history of association
with Defendant BOA who previously owned them and employed the same people, is
using the same tactics used by Defendant BOA. On review of various suits against a
number of banks involved in mortgage servicing, Plaintiff believes that all of them are
following the same basic pattern of practices and procedures even to using the exact same
terminology in their evasive maneuvers and that there appears to be collusion between
them. For example, BOA serviced loans for other banks including Wells Fargo, and other
banks serviced BOA loans They are associated and engaged in the enterprise of mortgage
loan frauds with a pattern of practices designed to maximize their financial gains

276. Seterus fails to respond to Plaintiff with adequate information; fails to provide
contact information for anyone capable of or willing to make corrections and is

Stonewalling.

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277. After Seterus sent Plaintiff Thomas multiple memos stating payments were in
arrears Plaintiff provided documentary proof of payments which Seterus apparently
ignored.

278. Plaintiff received a communication from Seterus notifying Plaintiff that
Defendant Seterus had not received proof of insurance as previously requested and had
therefore purchased a lender placed policy. However, just the day before receipt of that
communication from Seterus Plaintiff had received a copy of a new face sheet for
Plaintiff" s own policy from the insuror, showing that Defendant Seterus had added itself
to the policy befpr§ informing Plaintiff that they had no proof of insurance Seterus’
notification is obviously meant to provide file documentation to support their fraudulent
mortgage transactions and the act of adding themselves to the policy proves they knew
they were committing fraud.

279. Upon researching the matter with insurer TWIA and agency, Plaintiff found that
the addition as mortgagee to the policy was requested directly by Defendant Seterus or its
subcontractor, and that Defendant Seterus had received a copy of the new facesheet before
Plaintiff had.

280. On May 22, 2017, Plaintiff received another letter from Seterus, with a stamped
signature, refusing to release the fraudulent lien, and citing correspondence allegedly sent
to Plaintiff June 21 , and September 7, 2017, in which Seterus is supposed to have
addressed what Seterus characterizes as Plaintiff’s “concerns.” Since it is May, 2017, and
both June and September, 2017, are still in the future, this is obviously another of Seterus’
“errors” Seterus included a copy of a 3-page letter dated June 21, 2016, in which Seterus

reiterated its usual lies including those about not having received proof of insurance, and

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stating that BOA advised them that the tax payment with which BOA created the latest
escrow account was disbursed for Plaintiff’ s property taxes “as the loan was in review
for loss mitigation assistance which required the loan have an escrow account and any
taxes to be paid immediately.”

281. Plaintiff ‘s loan was not in review for loss mitigation assistance The only loss
mitigation Plaintiff required was for the theft and conversion of Plaintiff’ s mortgage
payments by BOA. Further, Fannie Mae requires that each servicer keep a full and
extensive file on each mortgage, and that the file be transferred to any new servicer.
Seterus’ claim that BOA “advised” them is specious since the complete mortgage file
from 2002 to the present should be immediately in Seterus’ possession for review and
investigation of complaints

282. Seterus further stated in the June 21, 2016, letter that Plaintiff was approved for
“the enclosed Trial Period Plan 240. . .We have since been advised by Fannie Mae that
you have advised them that you would be accepting the Trial Period Plan 240.” This is
absolutely false Plaintiff never applied for any such plan; therefore no approval could
have been issued. Plaintiff never advised Fannie Mae that Plaintiff would be accepting
any Plan. Plaintiff requests that the Court require Defendant Seterus to provide strict
proof of these false statements

283. Defendants have alleged that Plaintiff is in default on her mortgage, but evidence
will show that Defendants’ fraudulent entries and other unlawful acts produced a false
record, Defendants deliberately manufactured a fraudulent default. Defendants have had
absolute control over Plaintiff’ s payments and over all the records relating to the

mortgage Defendants repeatedly notified Plaintiff, over the years that payments had not

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been received, or were received late However, Defendant BOA’s own downloaded
records of Plaintiff` s checking account mortgage payments through BOA BILLPAY
direct, automatic payments clearly show payments made timely and certified receipt.
Plaintiff not only has never missed a payment; Plaintiff made double payments during
the first 2 years of the loan. At all times relevant to this suit, THOMAS timely paid her
mortgage via direct automatic, verified bank transfers from her BOA checking account
maintained for that purpose, by BOA to BOA (see Exhibit 4, attached hereto and
incorporated herein by reference). ln fact, Plaintiff’s mortgage was actually paid off in
April, 2015; yet because of her disabilities and Defendants’ actions Plaintiff continued
to make payments through July, 2016, for an overpayment of 814,086.35.

284. Comparison of Plaintiff’ s BILLPAY records and Defendants’ mortgage
transaction records show clear and convincing discrepancies and evidence of Defendants’
fraud. (See Exhibit 4 BOA BILLPAY 2-2010 THRU 7-2016 and Exhibit 12 A-D Some
BOA Mortgage Transaction Reports)

285. The events detailed here are only a sample of the actions Defendants engaged in
against Plaintiff.

286. Because Plaintiff is an elderly person with disabilities from stroke, and because
Plaintiff has operated in the business world, Plaintiff has maintained extensive copies of
communications between Plaintiff and Defendants and between Plaintiff and others
related to this matter, and has documented all interactions Plaintiff ‘s unprecedented
chain of evidence will prove the predation Plaintiff complains of.

287. Further, Plaintiff recorded some of the conversations with various BOA

representatives of “the President’s office.”

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288. Plaintiff has made the fraud known to the CEOs of both BOA and Seterus, via
complaints via certified letter, many times since 2008. Both know or should have known
of the illegalities and other issues with their usual and customary practices The various
divisions/affiliates etc., of BOA are headed by the same people, who are individually
responsible for the actions of their underlings Seterus’ CEO is directly responsible for
the actions of Defendant Seterus BOA’s CEO/President/Chairman of the Board, an
attomey, is directly responsible for the actions of Defendant BOA.

289. Defendant BOA had access to both the mortgage transactions and to the
BILLPAY records since both were created and maintained by BOA, and under the
control of the same people

290. Plaintiff also filed complaints with Fannie Mae, whose directors and officers are
responsible for enforcing their contracts with their servicers, and who know or should
have known about the irregularities Plaintiff complained of.

291. Defendants vigorously assert they are acting on behalf of Fannie Mae, a quasi-
government agency; thus their actions are “under color of law.” Defendants have violated
Plaintiff’s constitutional rights to due process equal protection under the law, property
rights and privacy. A private party may be engaged in “state action” if the act which
deprived federal rights could not have occurred but for the existence of a governmental
framework requiring government approval or action. In North Georgia Finishing,
Incorporated v. Di-Chem, Incorporated, the Court found state action in a private party ’s
invocation of a court ordered attachment that failed to afford due process to the debtor.
Similarly, in Lugar v. Edmondson Oil Company, the Court held that a creditor who

invokes prejudgment attachment remedies requiring the participation of a court clerk

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and a sheriff acts under color of state law. "[m]isuse of power, possessed by virtue of
state law and made possible only because the wrong-doer is clothed with the authority of
state law, is action taken 'under color' of state law."( 313 U.S.299 (1941))

292. Defendants are using state law to facilitate fraudulent foreclosure and
seizure/sale of Plaintiff’ s property.

293. Some Relationships between Defendants are documented in Paragraphs
164-170 and incorporated here as though repeated. These relationships appear to be
extended to a Wide range of others operating towards the same goals and apparently
employing the same Policy and Procedures Manual. The similarity of the responses and
overt actions is undeniable, and cannot be explained by mere coincidence or by
servicing contracts which require an end performance but do not assert intermediate steps
As a former CEO of a corporation operating nationally in the healthcare industry,
Plaintiff is well aware of corporations’ protective attitudes to administrative documents
such as Policy and Procedures Manuals and that such a wide variety of entities would
employ the same evasive statements language protocols, and forms without collusion is
not credible

294. PEOPLE WITH KNOWLEDGE: From time to time during the mortgage
period, since 2008, PLAINTIFF has filed detailed written complaints with evidence,
usually by certified mail, to various individuals in authority at Defendants’ offices and
others deemed to have the power to affect Plaintiff’ s situation. These responsible
individuals know or should have known even before receipt of Plaintiff’ s specific
complaints about the egregious acts of which Plaintiff complained, and under the law of

the land and as a function of their position within the organizations these individuals

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may be found to be liable in part for criminal action and for the damages Plaintiff

suffered.

DAMAGES

295. Plaintiff’ s damages resulting from Defendants’ unconscionable actions are
damages imposed on an adult female now in her 70’s lt is common knowledge that
aging humans grow weaker, their physical and mental status decline, and their stamina is
gradually reduced. They become less able to accomplish both physical and mental tasks
They become more apt to experience debilitating illness and injuries Consequently, their
effective time becomes increasingly valuable When disabilities such as from stroke and
traumatic brain inj ury, are added to the aging condition, there is a commensurate increase
in the value of effective time

296. Although aging and suffering disabilities Plaintiff` s duties and imperatives have
not lessened. lnstead, as she approaches the end of her life, she finds that effective
performance is more necessary because of the potential end of her life and the need to
provide for members of her family whose sole support she is.

297. Defendants are and were fully aware of Plaintiff’s disabilities related to stroke,
and have taken advantage of these disabilities and Plaintiff s age for their nefarious
purposes

298. Plaintiff proved to be a very successful business woman whose plans and
activities in aid of retirement income and a guaranteed income after her death for her
dependents including a chronically, critically ill young adult who will not be able to

work because of the life-threatening disabilities associated with her condition and whose

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medical expenses are astronomical, have been detailed by Defendants’ continuing
disruptions tactics designed to confuse and obfuscate and keep Plaintiff responding to
multiple, conflicting communications demands and threats As a result of Defendants’
actions Plaintiff has been deliberately prevented from completing the work necessary.
299. Prior to her retirement in 2007, Plaintiff devised a business plan, created backup,
and began startup of this new business conglomerate During the period of Defendants’
persecution of Plaintiff, Plaintiff undertook the first steps of the work. However, the
constant predations over the past years including the months of time necessary to
compel corrections the repetition of Defendants’ actions after a few months constant
harassment by Defendant’s collection agencies and going through this whole thing
multiple times since 2008-2009, precluded successful startups Because of Defendants’
persecution, Plaintiff was unable to do the work planned.

300. Plaintiff designed a business conglomerate to produce income from copyrighted
materials over long periods without requiring future consistent work on the part of her
chronically ill granddaughter. Plaintiff started Blueclay Publications, an ebook
publication company. She resumed her work as an editing consultant and an editor for
previously unpublished authors She writes and performs oral history tales and started
recording these for release and sale She taught Writing for Publication at Lonestar,
created ACAJ, a creative arts journal for the ALL Program, and served as managing
editor. Plaintiff created a business plan for Kyothze Tribe that included licensing tribal
artwork, and created SOLESTONES and its website Because of Defendants’
unconscionable persecution, none of these projects have come to fruition. At her present

age and condition, Plaintiff will require employees and contractors to complete the work.

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301. As an editor and as a consultant it is usual and customary for Plaintiff to bill by
the hour for her services including for management and error correction. As a result of
and a business response to Defendants’ egregious conduct, Plaintiff notified Defendants
that she would be billing them for the time they willfully usurped from her business
activities On 8/25/2010, Plaintiff billed Defendant BOA for time required for
management and error correction services necessary for such items as: Failure to
communicate between BOA and BOA HLS, LP; Failure to timely post payments made
by BOA to BOA HLS, LP; Repeated miscommunication/ harassment of Borrower and
ER contact; Failure to provide handicapped access for Borrower; Denial of access to
information required by Borrower, including on-line access Failure to provide
documentation on request; Loss/confusion of Borrower records lnappropriate and
unauthorized agency activities Website inadequacies for a total of 83750 for 15 hours
302. Plaintiff’s invoice carried the following note: Please note: “Borrower has
consistently paid mortgage timely through her checking account at BOA. Borrower has
provided insurance information multiple times and Lender has either ignored the
information or failed to file it correctly/lost it. Further failures will result in additional
fees assessed, based on time expended in dealing with BOA/BOA HLS, LP and their
agents.”

303. Over a period of months Plaintiff gradually increased her billrate, as usual and
customary with Plaintiff, until she was billing at hazard rate for any and all time
expended, with a minimum 1 hour for each incursion. Plaintiff invoiced Defendant BOA

with explanations and comprehensive complaints BOA has failed to pay for Plaintiffs

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hours/time they expended after having been noticed. See Exhibit 23 A-l, for sample
invoices from 8/2010 to Additional invoices will be presented as evidence at trial.

304. Defendant used Plaintiff’s services and has not paid for those services Plaintiff’s
unpaid invoiced fees and services are part of her damages

305. Defendants’ egregious actions have damaged her further because of the nature of
her disabilities when distraction and stress causes her physical and mental functioning
ability to significantly decline As a result of Defendants’ unlawful and egregious actions
Plaintiff has suffered a significant decline in her ability to peacefully enjoy the remaining
days of her life Since BOA became her loan servicer and proceeded to act in its usual
and customary manner as demonstrated in the many suits and actions against BOA and
other banks Plaintiff has suffered unrelenting torture imposed by those who deliberately
secured her trust. Defendants’ egregious actions are unconscionable

306. As a result of the intensely stressful criminal actions of Defendants Plaintiff
started grinding her teeth in her sleep, and Plaintiff’ s permanent bridges broke and
continue to crumble. Estimates of the necessary removal, replacement and other repairs
necessitated by the damage exceed 840,000.00 and require surgical procedures
dangerous to a person of Plaintiff` s age and condition.

307. PLAINTIFF seeks redress for damages caused by Defendants’ egregious and
criminal actions committed jointly and severally against Plaintiff, as detailed herein, in
an amount sufficient to make Plaintiff whole

308. Plaintiff also seeks damages for the deliberation infliction of emotional and
psychological stress and worsening of her physical condition caused by the willful,

deliberate and egregious actions of Defendants

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309. Defendants’ egregious actions in increasing their profits are contrary to the
public good, as has been demonstrated in legal actions judgments settlements and
consent decrees over the past 15 years These past cases are referenced as showing
Defendants’ continuing pattern of practices Although Defendants BOA signed the 2012
National Mortgage Settlement, BOA has failed to comply with its terms as will be
proven in evidence produced by Plaintiff during trial. Past performance Consent
Agreements, suits affidavits and so forth dealing with proof of wrong-doing are here
referenced to show a pattern of practices leading to a logical premise that, given the cited
factors driving the servicing industry, (suggesting the likelihood that Defendants
continued their wrongdoing rather than that they suddenly stopped) it is unlikely that
Defendants failed to follow their usual pattern of practices To date, the costs of
Defendants’ illegal, unfair, and abusive practices have not approached the gains
Defendants make through these practices lt is in the nation’s and the general public’s
interest to stop these practices Therefore, Plaintiff seeks an award sufficient to cool
Defendants’ ardor for this pattern of practices by compelling disgorgement of the
windfalls Defendants have created for themselves and their co-actors.

310. Defendants have demonstrated that their pattern of practices is designed to be
perceived as “errors,” and to allow them “plausible deniability.” However, it is
significant that these “errors” are consistently in Defendants’ favor. Further, it is
inconceivable that Defendants with their deep pockets are and were unable to set up
systems policies, and procedures to comply with the laws, rules, and regulations under
which they operate and the contracts to which they are parties The sophistication with

which Defendants have grown their profits during these past 15 years belies Defendants’

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inability to eliminate systemic, replicating errors such as are seen in Defendants’
handling of Thomas’ mortgage payments and related matters
311. Defendants engaged in this conduct in bad faith, knowing that their actions were
inconsistent with applicable law, reasonable commercial standards of fair dealing, and
the reasonable expectations of borrowers upon originating their mortgages
312. Plaintiff seeks damages for every violation of law and decency, and seeks return
of the overpayment of Plaintist mortgage, together with penalties and interest,
313. Plaintiff further seeks the imposition of all applicable fines and penalties
attendant upon Defendants’ violations of state and federal laws

COUNTS

COUNT 1. SECURING EXECUTION OF DOCUMENT BY DECEPTION

 

314. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 313 above with the same force and effect as if herein set forth.
315. Defendants in violation of TX Title 7, Chapter 32, Sec 32.46, with intent to
defraud and harm Plaintiff, in the course of their business by deception caused Plaintiff
to sign and execute a Deed of Trust and note that affected Plaintiff’ s property and her
pecuniary interest,

316. Defendants deceived Plaintiff as to the relationships between the parties and the
status of those involved in the transactions at the time and to follow. At no time before
closing was Thomas informed that either was to act as servicer, or given material facts
about the nature of the relationship between servicers and mortgagors, At no time Was
Thomas made aware that the interests of servicers were not aligned with her interests

Further, knowing at the time that Plaintiff suffered the temporary disability of being

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1 unable to read the documents because of TIA’s both BOA and Countrywide lied about
2 the contents of the loan documents both verified that escrow was waived; neither
3 informed Thomas that the documents contained escrow clauses Defendants knew the
4 statements they made were false, and intended Plaintiff to rely on those false statements
5 317. Defendants misrepresented both the facts surrounding execution of the
6 documents and the contents of the documents they induced Plaintiff to sign. Defendants
7 led Plaintiff to believe that Countrywide Home Mortgage, Inc., was the mortgagee and
8 intended to remain the mortgagee, and that the financial interests of the parties were
9 aligned.
10 318. Defendants prevented Plaintiff from acquiring the correct information that would
11 have likely caused Plaintiff’ s judgment to be sufficiently affected as to prevent the
12 purchase of a dwelling and acquiring a mortgage (TX Title 7, Chapter 31), and secured
13 execution of the mortgage documents including Note and Deed of Trust by deception.
14 (Sec. 32.46 (a)(l ). Defendants prevented Plaintiff from acquiring the information that
15 Countrywide Home Loans, Inc., was not the sole and primary actor, the mortgage
16 owner/note holder. Defendants knowingly and deliberately prevented Plaintiff from
17 acquiring the information that the Deed of Trust provided a Trustee (CTC Real Estate
18 Services which operates as a subsidiary of NB Holdings Corporation, a bank holding
19 company based in Charlotte, North Carolina, which operates as a subsidiary of Bank of
20 America Corporation), that MERS was a beneficiary under the Security instrument
21 “acting solely as a nominee for Lender and Lender’s successors and assigns,” and that
22 there was an irrevocable Transfer of Rights in the Property to Trustee CTC Real Estate

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Services including the power of sale Had Plaintiff been able to read the documents she
signed, she would not have signed them,

319. Defendants failed to disclose that they had sold or intended to sell the mortgage
(Securitize it); that they intended to act as servicers that Plaintiff would be dealing with a
number of different entities that Defendants’ interests were in conflict to Plaintiffs
interests that an escrow and other such clauses requiring specific performance were
written into the documents that Defendants’ goals included increasing their financial
gain; that Defendants would control all documents and all aspects related to the mortgage
and could alter them as they wished; that the documents gave Defendants control over
various options that would prove to be costly for Plaintiff and to exponentially increase
the amount of time and energy Plaintiff would have to expend dealing with the mortgage
and Defendants; and other such material facts

320. Defendants promised performance as mortgagors that they knew they would not
perform. Defendants knew that they intended to securitize the mortgage, thus increasing
their profits and that they were going to act as servicers and further increase their profits
321. Plaintiff relied on the representations of Defendants and on their provision of
accurate, complete data, and acted in reliance on them, As a result, Plaintiff suffered
economic, physical and mental damages for which Defendants’ actions were the
proximate cause The documents Defendants induced her to sign thorough fraud and
deception placed her under the control of mortgage servicers Whose interests were
opposed to hers and who were engaged in a pattern of practices designed to drive

mortgagors into foreclosure in order to maximize their profits

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1 322. Because execution of the closing documents was secured by deception,

2 Plaintiff` s consent was ineffective

3 323. Defendants secured execution of the note and Deed of Trust by deception, and

4 Defendants’ deception proximately caused injury and damages to Plaintiff,

5 324. Plaintiff seeks damages and all other relief for Defendants’ actions

6 COUNT 2 FRAUDULENT LIEN

7 325. Plaintiff repeats and realleges and incorporates by reference the allegations in

8 paragraphs l through 324 above with the same force and effect as if herein set forth.

9 326. Defendants with intent to defraud Plaintiff, by deception caused Plaintiff to
10 execute a Deed of Trust and Note, for the property at 614 Briarwilde Court Alvin Tx,
11 thus creating a fraudulent lien or liens
12 327. Because of Defendants’ deception, Plaintiff’ s consent was and is ineffective
13 328. Because Plaintiff s consent is not effective the lien created thereby is fraudulent
14 329. Because the lien is fraudulent, neither note nor deed of trust can be used to seize
15 and sell Plaintiff" s property.
16 330. Because the lien is fraudulent, any assignment or other transfer is rendered
17 fraudulent or invalid or void.
18 331. Defendants have used the fraudulent lien to effect a nonjudicial foreclosure and
19 are intending to use the fraudulent lien to seize and sell Plaintiff`s property.
20 332. Defendants’ actions in creating, using, and attempting to continue using the
21 fraudulent lien is the proximate cause of injury to Plaintiff,
22 333. Plaintiff seeks damages and all other appropriate relief, including injunctive
23 release and declaratory relief.

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1 COUNT 3 REFUSAL TO EXECUTE RELEASE

2 OF FRAUDULENT LIEN OR CLAIM

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4 334. Plaintiff repeats and realleges and incorporates by reference the allegations in

5 paragraphs 1 through 333 above with the same force and effect as if herein set forth.

6 335. Texas Penal Code 32.49 (a) A person commits an offense if, with intent to

7 defraud or harm another, the person: (1) owns holds or is the beneficiary of a purported

8 lien or claim asserted against real or personal property or an interest in real or personal

9 property that is fraudulent, as described by Section 51 .901(c), Government Code; and (2)
10 not later than the 21st day after the date of receipt of actual or written notice sent by either
11 certified or registered mail, return receipt requested, to the person’s last known address or
12 by telephonic document transfer to the recipient’s current telecopier number, requesting
13 the execution of a release of the fraudulent lien or claim, refuses to execute the release on
14 the request of: (A) the obligor or debtor; or (B) any person who owns any interest in the
15 real or personal property described in the document or instrument that is the basis for the
16 lien or claim. (b) A person who fails to execute a release of the purported lien or claim
17 within the period prescribed by Subsection (a)(2) is presumed to have had the intent to
18 harm or defraud another.
19 336. Defendants own, holds or are the beneficiaries of a purported lien asserted
20 against Plaintiff”s real property at 614 Briarwilde Ct, Alvin TX, said lien in the form of
21 Deed of Trust and Note, execution being induced by Defendants’ deception and Plaintiff’s
22 consent to the lien rendered ineffective
23 337. On receipt of Demand to Execute Release of Fraudulent Lien, Defendants
24 refused to release the lien.

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338. Defendants refusal to execute release of the fraudulent lien is the proximate
cause of injury to Plaintiff, and has caused Plaintiff to expend valuable time on dealing
with Defendants and to be unable to participate in the normal events of daily life, pain and
suffering, and other damages for which Plaintiff seeks all available relief.

COUNT 4 FRAUD BY MISREPRESENTATION AND NONDISCLOSURE

 

339. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 338 above with the same force and effect as if herein set forth.
340. Defendants knowingly made false material representations concerning the
mortgage and the closing documents to Plaintiff, with the intent that Plaintiff should act
upon the representations and execute said documents Plaintiff acted in reliance on the
false material representations when executing the Deed of Trust and other documents
and as a result Plaintiff suffered damages

341. Defendants’ false material representations included the assurance that buying a
house with a Countrywide Home Loan, Inc., mortgage would solve a potential business
and personal problem; that the purchase and subsequent actions would result in excellent
personal credit standing to support her business’ excellent credit standing; that
Defendants would make the process easy for Plaintiff; that escrow was waived and that
there was nothing in the closing documents that would create problems for Plaintiff; that
the documents accurately represented the agreement of the parties as they had explained
them to her, that Defendants’ purpose and goal was to help Plaintiff.

342. Plaintiff clearly understood from Defendants that Defendants’ profits from the
transaction derived from the interest charged for the mortgage, and from potential future

business with Plaintiff and her corporations Defendants deliberately failed to disclose

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material information that would have affected Plaintiff` s decisions in this matter. Absent
Defendants material misrepresentations and nondisclosure Plaintiff would not have
executed the documents and entered into the loan agreement

343. Defendants represented that Countrywide Home Loans, Inc. (CHL) was the
mortgagee and would continue to be the mortgagee and owner of the note Plaintiff was
to execute Defendants represented that CHL would handle any problems that arose
Defendants represented that Plaintiff would not have to deal with any other person or
entity, that Plaintiff’ s mortgage payments were and would remain 8939.09 per month,
that Plaintiff could self-insure or purchase insurance to cover the mortgaged property as
she chose and found most convenient, that all Plaintiff was required to do was set up
automatic mortgage payments that CHL would send her confirmations that Plaintiff
would not even have to open because CHL would contact Plaintiff by phone if any
problem arose, that Plaintiff could pay off the note early without penalty, and that there
would be no changes Defendants represented that Plaintiff was a valued customer and
friend, that Defendants fully understood Plaintiff’ s disabilities and difficulties as well as
Plaintiff`s anxiety and reluctance to use a mortgage rather than paying cash, that it was
essential that Plaintiff do so in order to establish good personal credit to match her
company’s excellent credit, and when informed about Plaintiff’ s inability to read as a
result of TlAs convinced Plaintiff that she should go ahead and execute the documents
based on their assurance that the documents contained all of the points agreed upon, and
only those points

344. Defendants continued the deception for many years providing false information

and withholding information from Plaintiff again and again. This deception, false

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information, and withholding of information included but is not limited to: Defendants
falsely informed Plaintiff that she was required to maintain insurance at limits that were
above the appraised value of the home, and Plaintiff complied. Defendants falsely
informed Plaintiff that they did not have proof of insurance, and Plaintiff provided such
proof over and over again, Defendants falsely informed Plaintiff that they had not
received mortgage payments that were automatically paid and confirmed paid by BOA
BILLPAY through Plaintiff’ s checking account, Defendants falsified Plaintiff’s
mortgage transaction statements and manufactured a default. Defendants falsely asserted
that all discrepancies in their performance were the result of errors Defendants falsely
asserted that they had made complete corrections Defendants failed to notify Plaintiff
when the mortgage and/or note changed hands as required by TILA. Defendants
manufactured default and falsely reported to credit bureaus that Plaintiff was delinquent
345. Defendants have now fraudulently claimed that Plaintiff is in default and intend
to sell her property, based on a fraudulent default and a fraudulent Deed of Trust and
note execution of which was secured by deception.
346. Plaintiff relied on Defendants and Defendants’ fraud by misrepresentation and
nondisclosure was a proximate cause of injury and damages to Plaintiff.
347. Plaintiff seeks damages and injunctive relief.

COUNT 5 BREACH OF FIDUCIARY DUTY
348. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs l through 347 above with the same force and effect as if herein set forth.
349, There was a double fiduciary relationship between Defendants and Plaintiff.

Defendants as servicers, owed a fiduciary duty to Plaintiff as borrower as specified

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under Fannie Mae servicing contracts and further, a separate fiduciary relationship
existed between Plaintiff and Defendants BOA/Countrywide by virtue of the special
relationship of trust Defendants deliberately established with Plaintiff, who maintained
significant business and personal accounts with Defendants and had a long-term
relationship with BOA, beginning with Nations Bank which acquired BankAmerica in
1998 and merged to become Bank of America NA.

350. This fiduciary relationship was established first by Bank of America prior to
inducing Plaintiff to purchase a house and mortgage it, then BOA extended the
relationship to include Countrywide Home Loans, lnc.(CHL), by inducing Plaintiff to
seek a mortgage from CHL, and vouching for their reliability and suitability to the need
Defendant BOA convinced Plaintiff that she had, i.e. to establish a credit record to match
that of her business in order to qualify for accounts receivable financing from BOA.
351. By engaging in their pattern of practices to increase their profits all actions that
benefited themselves and not the Plaintiff, and acting against Plaintiff’s interests
Defendants breached their fiduciary duty.

352. ln Plaintiff’ s case as in almost every case filed against bank/servicers, Plaintiff
relied on the bank for accurate, truthful information and good faith and fair dealing,
because in part of Defendants’ unrelenting efforts to invoke that reliance through
misrepresentation and withholding of significant, material facts

353. Plaintiff entrusted her financial affairs involving the mortgage to Defendants and
depended upon them to perform as they represented they would. Defendants induced
Plaintiff to rely on them, with misrepresentations and failure to provide material facts

and acted to her harm.

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354. Defendants executed transactions that benefitted themselves and not the Plaintiff,
and acted in a way that undermined Plaintiff’ s stated expectations and goals agreed to
and, in some cases, created by Defendants Taking full advantage of the trusting
relationship Defendants established with Plaintiff, Defendants exerted undue influence to
secure Plaintiff’ s execution of the mortgage contract and note Defendants assured
Plaintiff that the mortgage documents complied with the terms of her verbal
understanding created by Defendants ln faxed memos before closing, Defendants
confirmed “escrow was waived.”

355. Defendants induced Plaintiff to acquire the mortgage, set up and make automatic
mortgage payments in order to create a positive personal credit record, then deliberately
manufactured defaults by fraudulent entries on the mortgage transaction, including
showing late payments when the BILLPAY records show all payments timely made, and
thereafter deliberately, repeatedly made false reports to credit bureaus to damage her
credit.

356. Defendants using their manufactured defaults declared Plaintiff’s regular
mortgage payments as “partial payments” refused to apply them properly to principal
and interest, and applied the payments to “escrow,” for their financial gain.

357. Defendants created false charges which they posted as due under escrow and
attempted to compel Plaintiff to pay these charges

358. Defendants instituted a program of harassing telephone calls letters and emails
which they knew or should have known would prevent Plaintiff from carrying out her

normal daily activities, and with which they damaged her health, with full knowledge of

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the disabilities and how they affected performance when Plaintiff was distracted or
pressured.

359. Absent the influence exerted by Defendants in their fiduciary relationship,
Plaintiff would not have signed the mortgage documents [note, deed of trust, etc.] to
begin with.

360. Defendants were fully aware of Plaintiff’s disabilities from stroke and TIA’s
knew that Plaintiff could not read the closing documents and deliberately lied to her not
only about the document contents but about the entire status of the loan: Defendants
knew that they were not the mortgagee knew that they were intent on being servicers,
knew that their financial interests were opposed to Plaintiff` s and knew about the pattern
of practices they intended to continue after Plaintiff entered the mortgage agreements
Further, Defendants carefully made sure that Plaintiff did not know these material facts
361. Plaintiff had a right to expect good faith, fair and honest dealing from
Defendants and Defendants breached their fiduciary duty to Plaintiff.

362. Defendants’ breach of fiduciary duty to Plaintiff caused both injury to the
Plaintiff and benefit in the form of profits to the Defendants

363. Defendants’ breach of fiduciary duty was a proximate cause of injury to Plaintiff,
and Plaintiff seeks damages and other relief.

COUNT 6 MISAPPLICATION OF FIDUCIARY PROPERTY

 

364. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs l through 363 above with the same force and effect as if herein set forth,

365. The mortgage payments Defendants received from Plaintiff are fiduciary

property .

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366. Defendants BOA/Seterus, fiduciaries to Thomas misapplied Thomas’ timely,
accurate mortgage payments to the fraudulent charges Defendants created to create a
manufactured default.

367. Defendants’ misapplication of Plaintiff’s mortgage payments amounts to theft.
368. Defendants intentionally, knowingly, or recklessly misapplied property held as a
fiduciary or property of a financial institution in a manner that involved and continues to
involve substantial risk of loss to Plaintiff, the owner of the property, or to a person for
whose benefit the property is held [Sec. 32.45 Texas Penal Code].

369. The fraudulent lien is held as a fiduciary. The posting of fraudulent fees and
penalties to Thomas’ fraudulent escrow account also represents misapplication of
fiduciary property.

370. As a result of their misapplication of fiduciary property and subsequent actions
Defendants damaged Plaintiffs credit standing, cost her time and money dealing with
their depredations injured her health, and threaten the loss of her property through
fraudulent foreclosure and sale

371. Defendants’ misapplication of fiduciary property is a proximate cause of injury
to Plaintiff, and Plaintiff seeks damages and all other appropriate relief.

COUNT 7 COMMERCIAL BRIBERY

 

372. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 371 above with the same force and effect as if herein set forth.
373. BOA/Seterus fiduciaries to Thomas without consent of Thomas intentionally
or knowingly solicited, accepted, or agreed to accept benefits from another person on

agreement or understanding that the benefit would influence the conduct of the fiduciary

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in relation to the affairs of his beneficiary; and offered, conferred, or agreed to confer
benefits the acceptance of which is an offense under Subsection (b) [Sec. 32.43 Texas
Penal Code] [SEE ALSO Subchapter E, Sec. 12.51, Authorized Punishments for
Corporations and Associations].

374. The now publicly known kickback arrangements for forced placed insurance and
the exclusive monopolistic contracts from which Defendants profited, against the
interests of Plaintiff, are violations of the Commercial Bribery statutes

375. Further, the services provided to Defendants BOA/Seterus by the insurer,
including their access to financial and other confidential records of Thomas and other
mortgagors, are a significant factor in not only the financial benefits to the parties but to
their ability to carry out their criminal activities

376. BOA/Seterus’ conduct as fiduciaries was substantially influenced by their
intended financial gains and significantly negatively affected Thomas’ affairs and
Thomas personally.

377. Defendants’ violation of the commercial bribery statutes are a proximate cause

of injury to Plaintiff; therefore Plaintiff seeks damages and all other appropriate relief,

COUNT 8 BREACH OF CONTRACT, ORAL AND WRITTEN

 

378. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 377 above with the same force and effect as if herein set forth.

379. Thomas agreed to secure a mortgage to purchase the horne in order to secure a
personal credit reference to match her business credit references so Defendant BOA could

sell her company A/R financing, and Defendants agreed to provide a care-free mortgage

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period, with automatic payments and nothing to distract Plaintiff or to expend her valuable
time - no worries no hassle. Thomas made a 20% down payment and increased her
corporate business with Defendant BOA.

380. The written contract lacked the promised consideration Under Texas law, a
contract that lacks consideration is unenforceable Federal Sign v. Texas S. Univ., 951
S.W.2d 401 , 409 (Tex. 1997), superseded on other grounds by Tex. Gov’t Code §§
2260.001-008. Consideration is a bargained-for exchange of promises that involves
benefits and detriments to both parties to the contract. ld. Lack of consideration occurs
when the contract, at its inception, does not impose obligations on both parties See City
of the Colony v. North Tex. Mun. Water Dist., 272 S.W.3d 699, 733 (Tex. App._Fort
Worth 2008).

381. At its inception, the written contract imposed obligations on Plaintiff that were
exactly the opposite of those to which she agreed, Further, the consideration promised by
Defendants was lacking in that the written agreement contained specific items that were
promised to be absent, and that created an onerous burden on Plaintiff in opposition to the

promises made by Defendants upon which Plaintiff relied.

382. Plaintiff provided the consideration she promised, as is demonstrated in her
BILLPAY records of monthly mortgage payments Defendants did not intend to uphold
their promises and did not thereafter uphold those promises except that Countrywide
Home Loans, Inc., did not engage in the specific practices of BOA and Seterus for the first
7 years although CHL did fail to book the double payments or BOA altered the mortgage

transaction reports to remove them.

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383. Defendants’ failures are the proximate cause of injury to Plaintiff, and Plaintiff
seeks damages and other appropriate relief,

COUNT 9 UNREASONABLE COLLECTION EFFORTS
384. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 383 above with the same force and effect as if herein set forth.
385. Plaintiff does not owe the debt asserted by Defendants Plaintiff has made all
mortgage payments timely and in full, and has overpaid the mortgage as a result of double
payments in the first two years Defendants owe Plaintiff the overpayments
386. ln efforts to compel Plaintiff to pay the fraudulent charges manufactured by
Defendants which Plaintiff did not owe, Defendants engaged in a course of harassment
that was willful, wanton, malicious and intended to inflict mental anguish and bodily
harm. Plaintiff found Defendant BOA’s collection activities so unreasonable that she
notified BOA and began billing for the time and trouble involved in trying to resolve these
problems Exhibit 23-C documents 36 collection calls for example, with 5 of those calls
between 8:20 AM and 3:27 PM on 2/11/11. These frequent interruptions prevented
Plaintiff from completing tasks because of her handicaps and inability to recapture work
in progress at the interruption point,
387. Among the most egregious of these unreasonable collection efforts has been
Defendants’ cyclic repeated threats of foreclosure and sale of the property, each time
forcing Plaintiff to sustained, intensive effort resulting in inability to complete her usual
and customary tasks because of the responses and action required by Defendants’ attempts

to collect the fraudulent debt they have manufactured

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388. Defendants most egregious unreasonable collection effort is the current
foreclosure and notice of sale of Plaintiff’ s property, have caused Plaintiff to concentrate
exclusively on preparing this suit to prevent Defendants from succeeding in their criminal
activities since Plaintiff received notice Plaintiff continues to invoice Defendants and will
ask payment of all invoices as part of the damages proximately caused by Defendants’
actions

389. Defendants have caused proximate damages to Plaintiff by their actions and
Plaintiff seeks damages and all other appropriate relief,

COUNT 10 FRAUDULENT DESTRUCTION, REMOVALJ
OR CONCEALMENT OF WRITING

 

 

390. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 389 above with the same force and effect as if herein set forth.
391. Texas Penal Code 32.47 (a) “A person commits an offense if, with intent to
defraud or harm another, he destroys removes conceals alters substitutes or otherwise
impairs the verity, legibility, or availability of a writing, other than a governmental record.
(b) For purposes of this section, “writing” includes (1) printing or any other method of
recording information.”

392. Defendants with intent to defraud or harm Plaintiff, destroyed, removed,
concealed, altered, substituted, or otherwise impaired the verity, legibility, or availability
of a writing, including Plaintiff’ s mortgage transaction records and other records relating
to the mortgage and or payments of the mortgage, to the insurance proofs and other such
documents and the mortgage history, including ownership of Deed of Trust and Note
393. Defendants’ actions were the proximate cause of injury to Plaintiff as herein set

forth, and Plaintiff seeks damages and all other appropriate relief,

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COUNT 11 DECEPTIVE BUSINESS PRACTICES

 

394. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 393 above with the same force and effect as if herein set forth,
395. Texas Penal Code 32.42 _ Deceptive Business Practices “(b) A person commits
an offense if in the course of business he intentionally, knowingly, recklessly, or with
criminal negligence commits one or more of the following deceptive business practices
(12) making a materially false or misleading statement: (B) otherwise in connection with
the purchase or sale of property or service.”

396. Defendants intentionally, knowingly, recklessly, or with criminal negligence
made materially false or misleading statements in connection with the purchase or sale of
property and services when Defendants induced Plaintiff to execute the mortgage
documents when Defendants indicated that Defendants were mortgagees rather than
servicers, and when Defendants falsely identified the owners of Plaintiff` s note and/or
deed of trust.

397. Defendants made materially false or misleading statements in Assignment of
Deed of Trust and in Appointment of Substitute Trustee

398. Defendants made materially false or misleading statements in Plaintiff’ s
documents during the servicing period, and when asserting Plaintiff was in default, in
nonjudicial foreclosure, and noticed Sale of Plaintiff’s property.

399. Defendants have violated Texas Penal Code 32.42; Defendants’ deceptive
business practices are the proximate cause of injury to Plaintiff, and Plaintiff seeks
appropriate relief.

COUNT 12 FORGERY

 

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400. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 399 above with the same force and effect as if herein set forth.
401. Texas Penal Code 32.21 _ Forgery (a) F or purposes of this section:
(1) “Forge” means: (A) to alter, make, complete, execute, or authenticate any writing so
that it purports (i) to be the act of another who did not authorize that act;
(ii) to have been executed at a time or place or in a numbered sequence other than was in
fact the case,' or (B) to issue, transfer, register the transfer of pass publish, or otherwise
utter a writing that is forged within the meaning of Paragraph (A),' or (C) to possess a
writing that is forged within the meaning of Paragraph (A) with intent to utter it in a
manner specified in Paragraph (B). (2) “Writing” includes (A) printing or any other
method of recording information (b) A person commits an offense if he forges a
writing with intent to defraud or harm another.
402. Defendants forged mortgage transactions and passed them to each other for use
in defrauding Plaintiff, with the intent to defraud or harm Plaintiff,
403. Upon information and belief, within the meaning of this chapter, Defendants
forged assignments and other documents purporting to prove or demonstrate ownership of
Plaintiff’ s Deed of Trust and Note, and used those forged documents to declare Plaintiff in
default, to execute a nonjudicial foreclosure and seize to sell Plaintiff’ s property.
404. Defendants’ actions are the proximate cause of injury to Plaintiff, and Plaintiff
seeks appropriate relief.

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405. Plaintiff repeats and realleges and incorporates by reference the allegations in

paragraphs 1 through 404 above with the same force and effect as if herein set forth.

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406. Texas Penal Code 31 .03 - Theft (a) A person commits an offense if he
unlawfully appropriates property with intent to deprive the owner of property.

407. (b) Appropriation of property is unlawful if: (1) it is without the owner`s
effective consent Consent is not effective if: (A) induced by deception or coercion; (4)
“Appropriate” means: (A) to bring about a transfer or purported transfer of title to or other
nonpossessory interest in property, whether to the actor or another

408. Defendants unlawfully appropriated Plaintiff’ s property in the form of her
mortgage payments and converted them to their use by misapplying the payments to
fraudulent escrow charges to Defendants’ benefit.

409. Defendants unlawfully appropriated Plaintiff` s home by fraudulent nonjudicial
foreclosure based on a false, manufactured default created by Defendants brought about a
purported transfer of title, and intend to deprive Plaintiff of her property by selling it on
June 6, 2017.

410. Defendants’ actions are the proximate cause of injury to Plaintiff, and Plaintiff
seeks appropriate relief.

COUNT 14 THEFT OF SERVICE

 

411. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 410 above with the same force and effect as if herein set forth.
412. Texas Penal Code 31.04 - Theft of Service (a) A person commits theft of
service if, with intent to avoid payment for service that the actor knows is provided only
for compensation: (1) the actor intentionally or knowingly secures performance of the

service by deception, threat, or false token

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413. Defendants by their actions have compelled Plaintiff to provide services for
which Plaintiff charges billable time Defendants’ pattern of practices were intended, in
part, to expend Plaintiff’s and others’ time, energy, and resources and frustrate borrowers
to the point that Plaintiff and others would finally just give in. They intended to waste
Plaintiff’s resources acted egregiously to do so, and as actually knowingly stole usable,
workable time from Plaintiff,

414. Defendants were noticed that their actions caused Plaintiff to expend the time on
services related to Defendants’ intransigency and deliberate wrongdoing, and that they
would be billed for the services at Plaintiff’ s usual and customary rates Defendants knew
that Plaintiff’s services required by Defendants’ actions would be provided only for
compensation

415. Defendants continued their actions Plaintiff expended the required billable
hours and invoiced Defendants Plaintiff’s billable hours service performance was
secured by Defendants repeated threats and deception

416. Defendants refused to pay for the services expended as a result of Defendants’
intransigency.

417. Because Defendants usurped the time, Plaintiff was unable to effectively use that
time for other billable work. Time is a valuable commodity, particularly when a disabled
individual is required to continue functioning at a high level in reduced circumstances
Further, time is not replaceable, particularly when one approaches old age.

418. Defendants theft of services was the proximate cause of injury to Plaintiff, and
Plaintiff seeks damages in the form of payment for Plaintiff’ s invoices for the work

caused by Defendants’ deception and threats and for other appropriate relief.

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COUNT 15 TEXAS CIVIL PRACI'ICE AND REMEDIES
CODE § 12.002. LIABILITY

 

 

419. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 418 above with the same force and effect as if herein set forth.

420. (a) A person may not make, present, or use a document or other record with:

(1) knowledge that the document or other record is a fraudulent court record or a
fraudulent lien or claim against real or personal property or an interest in real or personal
property; (2) intent that the document or other record be given the same legal effect as a
court record or document of a court created by or established under the constitution or
laws of this state or the United States or another entity listed in Section 37.01, Penal Code,
evidencing a valid lien or claim against real or personal property or an interest in real or
personal property; and (3) intent to cause another person to suffer: (A) physical injury;

(B)financial injury; or (C) mental anguish or emotional distress

421. Defendants have made, presented, and used documents with knowledge that the
Note and Deed of Trust are a fraudulent lien against Plaintiff’ s real property, woth intent
that the documents evidence a valid lien or claim against Plaintiff’ s real property, and with
intent to cause Plaintiff to suffer financial injury and mental anguish or emotional distress
422. In the case of a fraudulent lien or claim against real or personal property or an
interest in real or personal property, the obligor or debtor, or a person who owns an
interest in the real or personal property may bring an action to enjoin violation of this
chapter or to recover damages under this chapter.

423. Defendants’ action are the proximate cause of injury to Plaintiff, and Plaintiff

seeks to enjoin Defendants from actions to sell Plaintiff’ s property, and for damages for

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financial injury and for mental anguish and emotional distress and for any other
appropriate relief`.

COUNT 16 DUTY OF GOOD FAITH AND FAIR DEALING
424. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 423 above with the same force and effect as if herein set forth.
425. The Texas Supreme Court has recognized certain "special relationships" that give
rise to the duty of good faith and fair dealing Aranda v. lnsurance Co. of North America,
748 S.W.2d 210, 212, 213 (Tex. 1988); Arnold v. National County Mut. Fire lns. Co., 725
S.W.2d 165, 167 (Tex. 1987). This duty may arise from the express language of a contract
or from the nature of the relationship between the parties where it entails unequal
bargaining power and the likelihood of abuse by the more powerful party. Lovell v.
Western Nat'l Life Ins Co., 754 S.W.2d 298, 302 (Tex. App.--Amarillo l988,writ denied).
426. The fiduciary relationship between Defendants and Plaintiff created a duty of
good faith and fair dealing
427. The relationship between servicers and mortgagors is such that it entails unequal
bargaining power and the likelihood of abuse by the more powerful party, particularly
with the financial incentives for abuse and the total control servicers exert over the entire
mortgage process accounting and file maintenance
428. Texas finds as a matter of law that no duty of good faith and fair dealing exists
between mortgagors and mortgagees but the relationship between servicers and
mortgagors is not the same relationship as that between mortgagors and mortgagees
429. Defendants owed Plaintiff a duty of good faith and fair dealing, and materially

breached that duty by their actions as incorporated herein

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430. Defendants’ breach of the duty of good faith and fair dealing is the proximate
cause of injury to Plaintiff, and Plaintiff seeks damages and all other available relief,

COUNT 17 DEFAMATION

 

431. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 430 above with the same force and effect as if herein set forth,

432. Knowing the information was false or acting with reckless disregard for the
statements’ truth or falsity, Defendants knowingly and willfully published to credit
reporting agencies false and defamatory information when they stated that Plaintiff was in
default on her loan

433. Further, when Defendants published or caused to be published notice of
Acceleration of Maturity and Notice of Non-Judicial Foreclosure Sale, including posting
at the courthouse door of Brazoria County, TX, Defendants knew or should have known
such information in various public accessible locations Defendants knew that Plaintiff
was not in default,

434. These falsehoods unambiguously created the false impression that Plaintiff failed
to comply with contractual obligations that Plaintiff’ s financial status was impaired; and
impaired Plaintiff’ s credit and financial standing as well as her personal reputation for
honesty and fair dealing; injured Plaintiff’ s business and professional standing and
impaired her ability to adequately perform and to maintain positive relationships in the
business world,

435. Further, Defendant’s publication of these falsehoods subjected Plaintiff to
interruptions inappropriate contacts embarrassment and humiliation from third parties

whose business interests relate to those who are unable to pay mortgages Plaintiff has

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been subjected to numerous unwanted cell phone calls from these parties causing a waste
of Plaintiff’s time and resources
436. Defendants caused the false and defamatory information to be published in a
further attempt to extort payment of the fraudulent charges from Plaintiff, as Defendants
previously threatened, before June 6, 2017, as stated in Marinosci Law Group PC’s
certified letter of 4/21/ 17 to Plaintiff (“This is an attempt to collect a debt.” P. 2).
437. Defendants’ actions are the proximate cause of injuries to Plaintiff, and Plaintiff
seeks damages and all other appropriate relief,

COUNT 18 INSURANCE FRAUD
438. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 437 above with the same force and effect as if herein set forth.
439. Defendants’ alleged purchases of lender or force placed insurance were
fraudulent, because they knowingly duplicated Plaintiff’ s coverages while falsely
claiming Plaintiff was uninsured; because Defendants misrepresented to Plaintiff the
amount of coverage she was required to maintain; because Defendants required Plaintiff
to purchase insurance at limits higher than the insurable interest; because Defendants’
exclusive contractor, the insurer, claimed not to have proof of insurance after Plaintiff had
just previously received a new face sheet showing Defendant as mortgagee
440. Defendants converted Plaintiff’ s mortgage payments and applied them against
this fraudulent insurance
441. A lender’s insurable interest is limited to the amount of the outstanding loan at
the time insurance is purchased. Defendants consistently force placed insurance with

limits that exceeded the lender’s insurable interest, and charged the premium in whole to

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Plaintiff, while having in their possession proof of adequate insurance

442. Then Defendants attempted by threats and harassment to compel Plaintiff to pay
for fraudulent insurance, since by law the lender could not collect more than the insurable
interest. Specifically, Defendant BOA fraudulently attempted to compel Plaintiff to
purchase insurance coverage in the amount of 8250,000 or more, when the total loan
amount was 8110,400 at inception, and at times when the insurable interest was much less
than the original loan Defendants purchased lender insurance in these excessive amounts
while at the same time Plaintiff maintained insurance coverage on the property.

443. Plaintiff at all times maintained insurance on the property, and refused to pay
Defendants the fraudulent charges

444. When Plaintiff complied with Defendants’ demands for excessive coverage, and
increased the limits on her own policies Plaintiff paid insurance costs over what she
should have paid because of their fraud and misrepresentations Because of Plaintiff’ s
disabilities and Defendants’ misrepresentations she did not realize that the coverage was
excessive

445. Defendants have previously referenced Fannie Mae agreements as requiring
replacement value insurance by contract with servicers however, a contractual provision
that is contrary to law is invalid, and Defendants with their experience in the insurance
industry, knew or should have known that insurable interest rulings trump contractual
provisions
446. Defendants applied fraudulent insurance charges to a fraudulent escrow, then
used these charges to attempt to increase Plaintiff’ s mortgage payments and

manufactured a fraudulent default.

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447. Defendants then used these defaults to place Plaintiff’ s property in a high risk
rating, because of Plaintiff’s alleged default, deliberately causing an increase in rating and
premiums, not only in Plaintiff’s insurance for the mortgaged property, but for all of
Plaintiff’ s other insurance

448. That Defendants received kickbacks for force placed insurance is a matter of
common knowledge after various class actions involving Defendants Because of those
suits and settlements after 2012 Defendants should have received no kickbacks However,
the monetary kickbacks for Plaintiff’ s alleged lender placed insurance may not be relevant,
because Plaintiff has seen no proof of Defendants’ alleged payments for such insurance
that they have from time to time billed Plaintiff.

449. Although Defendants may not at this time be receiving money as insurance
kickbacks exclusive contracts with insurance providers such as QBE allegedly provide
that QBE provides administrative services at reduced rates which is a form of exchange
of monetary value

450. While requiring insurance at limits above the insurable interest is fraudulent,
Defendants’ usual and customary practice of backdating insurance, allegedly to cover
their violations of their servicing contracts is a more serious fraud, involving either
attempts for Defendants to collect for damages incurred during an insurance lapse, a
hidden source of income if Defendants and insurors collaborate, or deliberate efforts to
compel Plaintiff and others to pay for services not rendered, and at excessively high rates
451. An act that is illegal for an individual cannot be legal for a corporation or other
entity, including the RICO enterprise Plaintiff alleges Defendants are involved in Plaintiff

has seen no reports on investigations into insurance claims and payments Defendants may

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have received under force placed insurance, but the opportunity for abuse is apparent
452. Defendants’ actions re insurance and insurance fraud are a proximate cause of
injury to Plaintiff, and Plaintiff seeks damages and all other appropriate relief.

COUNT 19 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

 

453. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 452 above with the same force and effect as if herein set forth.

454. Defendants in their conduct of their enterprise and activities acted intentionally to
inflict emotional distress on Plaintiff. Their conduct, and the conduct of their employees
contractors agents and assigns was extreme and outrageous repetitive, cyclic, and
specifically designed to create massive stress and disruption in the lives of Plaintiff and
others as part of their scheme to increase their profits by compelling Plaintiff to pay their
fraudulent charges

455. Their deliberate creation of confusion, errors denials nonsensical responses and
other tactics and practices was designed to inflict emotional distress and they succeeded.

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456. Their pattern of practices, creation of “errors, correcting” errors leaving errors
and repeating; their constant pressure and harassment, threats and interruptions their actions
in fraudulently falsifying Plaintiff’ s mortgage transactions and other such tactics inflicted
extreme emotional distress on Plaintiff.

457. Because of Plaintiff’ s disabilities and the difficulties of her life dealing with a
critically, chronically ill child, Defendants’ actions caused Plaintiff to suffer extreme, severe
emotional distress such that Plaintiff developed an anxiety disorder, required medication,

and at one point was hospitalized with high blood pressure as a direct result of Defendants’

actions

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1 458. Defendants’ actions are a proximate cause of injuries to Plaintiff, and Plaintiff seeks
2 damages and all other appropriate relief.
3 COUNT 20 COMMON LAW CONSPIRACY
4 459. Plaintiff repeats and realleges and incorporates by reference the allegations in
5 paragraphs 1 through 458 above with the same force and effect as if herein set forth,
6 460. Defendants engaged in a common law conspiracy against Plaintiff.
7 461. The Defendants (a) had an object to be accomplished (to increase their profits); (b)
8 had an agreement on the object or course of action, to wit, to increase their profits and in
9 this case to first increase profits by collection of fraudulent charges then to manufacture
10 mortgage defaults foreclose and sell/buy the foreclosed properties thus depriving Thomas
11 of her property rights (c) performed one or more unlawful overt acts including but not
12 limited to creating and posting fraudulent charges to mortgage transactions demanding
13 payments misrepresenting insurance requirements manufacturing defaults foreclosing and
14 selling/attempting to sell Plaintiff’ s property; and (d) caused Plaintiff damages that were a
15 direct result of those acts
16 462. Defendants’ actions are a proximate cause of Plaintiff’s injuries and Plaintiff seeks
17 damages and all other appropriate relief,
18
19 COUNT 21 FAIR CREDIT REPORTING ACT (FRCA) VIOLATIONS
20 463. Plaintiff repeats and realleges and incorporates by reference the allegations in
21 paragraphs 1 through 462 above with the same force and effect as if herein set forth.
22 464. Defendants violated the F air Credit Reporting Act, 15 U.S.C. § 1681 (“FCRA”).

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465. Defendants BOA and Seterus are debt collectors Defendants acknowledged that
they are debt collectors on their correspondence to Plaintiff,

466. Defendants knowingly supplied false and inaccurate information to CRAs
misstating balances due, reporting late payments when timely payments were made, and
reporting that Plaintiff was in default on her mortgage loan,

467. Defendants failed to notify every CRA that Plaintiff disputed the debt, failed to
submit corrected information, failed to refrain from continuing to submit information
Defendants knew or should have known was incorrect, and failed to investigate and inform
Plaintiff of the dispute’s resolution

468. As a result of Defendants’ FRCA violations Plaintiff` s reputation and credit
standing was impaired, and Plaintiff was subjected to increased rates for services and goods
from those who use credit rating to determine rates and fees including insurance on
Plaintiff’ s mortgaged property, and all other insurance Plaintiff required.

469. Defendants’ actions are a proximate cause of injuries to Plaintiff, and Plaintiff seeks
damages and all other appropriate relief,

COUNT 22, TRUTH IN LENDING ACT (TILA)

 

470. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 469 above with the same force and effect as if herein set forth,

471. Section 131(g) of the Truth in Lending Act (TILA) requires that consumers be
notified of the sale or transfer of their mortgage loans

472. A purchaser or assignee that acquires a loan is required to provide the disclosures in
writing no later than 30 days after the date on which the loan was sold, transferred or

assigned.

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473. The disclosures must state (1) The name, address and telephone number of the new
owner; (2) the transfer date; (3) the name, address and telephone number of an agent or
other party authorized to receive the consumer's rescission notice and resolves issues
concerning the consumer's payments on the loan (if other than owner); and (4) where the
transfer of ownership is recorded.

474. The requirement applies to any person or entity that acquires ownership of an
existing consumer mortgage loan

475. MERS as nominee is not the owner of the loan As a nominee, it serves as a
convenient fictional concept for its members and founders MERSCORP is a private
corporation; it is subject to federal law. If members of MERS transferred ownership among
themselves while maintaining the fiction of MERS registration, that does not relieve the
actual owner of the loan of the responsibility to comply with federal law.

476. Defendants failed to provide this notice or notices as required by federal law. As
servicers, Defendants act for the owners handling all communications with the borrowers
providing various notices and meeting other requirements lt was Defendants’ duty to ensure
that notices of change of ownership were timely provided to Plaintiff.

477. As a result, Plaintiff did not know the owner of the mortgage, whether note or Deed
of Trust, and cannot proceed against that owner with surety. Nor did Plaintiff have the
benefit of seeking assistance from the owner(s).

478. Defendants withheld material information that might have lessened Plaintiff’ s
injuries

479. Defendants’ actions are a proximate cause of injury to Plaintiff, and Plaintiff seeks

damages and all other appropriate relief.

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COUNT 23 FEDERAL VIOLATIONS IN RICO ACTIVITIES

 

(Counts grouped for clarity)
480. Plaintiff repeats and realleges and incorporates by reference the allegations in
paragraphs 1 through 479 above with the same force and effect as if herein set forth.
481. Plaintiff asserts that the actions of Defendants individually, jointly and severally, as
described herein and above, are flagrant violations of the following federal statutes or, as
part of the pattern of Defendants’ practices materially contribute to Defendants’ flagrant
violations of these and other statutes in their RICO enterprise;
18 U.S. Code § 225 - Continuing financial crimes enterprise;
18 U.S. Code § 286 - Conspiracy to defraud the Government with respect to claims;
18 U.S. Code § 287 - False, fictitious or fraudulent claims;
18 U.S. Code § 371 - Conspiracy to commit offense or to defraud United States;
18 U.S. Code § 656 - Theft, embezzlement, or misapplication by bank officer or
employee [Willful misapplication];
18 U.S. Code § 657 - Lending, credit and insurance institutions [Willful
misapplication];
18 U.S. Code § 894 - Collection of extensions of credit by extortionate means
18 U.S. Code § 1005 - Bank entries, reports and transactions [false entries];
18 U.S. Code § 1018 - Official certificates or writings
18 U.S. Code § 1031 - Major fraud against the United States;
18 U.S. Code § 1033 - Crimes by or affecting persons engaged in the business of

insurance whose activities affect interstate commerce;

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18 U.S. Code § 1341 - Mail Fraud
18 U.S. Code § 1343 - Fraud by wire, radio, or television;

18 U.S.C. § 1962(c), 18 U.S.C. § 1962(d) Prohibited Activities RICO/racketeering

482. Plaintiff further asserts that the prosecution of Plaintiff’ s suit will elicit evidence of
these and other violations Certain of these violations relate more closely to Plaintiff and
Defendants’ actions against her. These are violations of 18 U.S. Code § 656 - Theft,
embezzlement, or misapplication by bank officer or employee [Willful misapplication];

18 U.S. Code § 657 - Lending, credit and insurance institutions [Willful misapplication];

18 U.S. Code § 894 - Collection of extensions of credit by extortionate means

18 U.S. Code § 1005 - Bank entries, reports and transactions [false entries];
483. Pursuant to 18 U.S. Code § 656, Defendants willfully misapplied Plaintiff`s
moneys funds and assets intrusted to the custody of Bank of America, in the form of
mortgage payments made to be timely applied to principal and interest, and by converting
them to their use, stole them.
484. Pursuant to 18 U.S. Code § 657, Defendants willfully misapplied Plaintiff’s
moneys funds, and assets intrusted to the care of Bank of America, in the form of mortgage
payments made to be timely applied to principal and interest
485. Pursuant to 18 U.S. Code § 894, Defendants knowingly participated and conspired
to do so, in the use of extortionate means to collect a fraudulent debt and to punish Plaintiff
for alleged nonrepayment of the fraudulent debt, through threats to use criminal means
(unlawful seizure; unlawful foreclosure; fraud) to cause harm to Plaintiff through the

fraudulent foreclosure and seizure and sale of her property.

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486. Pursuant to 18 U.S. Code § 1005, Defendants made false entries in “any book,
report, or statement of such bank” with intent to injure or defraud “any individual person,”
i.e., Plaintiff, when they falsified Plaintiff’ s mortgage transaction records and manufactured
defaults altered or falsified Plaintiff’ s tax documents and creatively used Plaintiff’ s and
others’ data in their creative accounting and in support of their false claims Exactly how
these falsifications figured in the larger aspects of Defendants’ accounting and filing
requirements is not now known to Plaintiff, but since Defendants are responsible for
providing tax documents for filing to IRS, and since one of those documents requires an
accurate accounting of interest paid annually by Plaintiff, and others assuredly require
interest received by Defendants Defendants’ falsification of records including mortgage
transaction reports had to have had other repercussions in the accounting systems

487. Plaintiff’ s damages are a small chip off an iceberg of money moved by Defendants
and their RICO enterprise That the financial returns must be enormous is made clearly
evident by consideration of the vast, to Plaintiff, sums Defendants have already paid out in
settlements fines and other costs associated with Defendants’ activities in the loan industry.
(See Exhibit , A Partial List of BOA Payouts approximating 886 billion Oct. 2008- March
2014). Considering that payout and the fact that Defendants and their RICO associates
continue to operate in the same fashion for the same goals regardless leads a logical person
to believe that the financial rewards Defendants are reaping outweigh the costs For this
“game” to be worth it, there must be other rewards than fees charges or even the resale
value of the properties involved. That those rewards lie somewhere in the banking records of

the RICO actors and in the entities with which they are associated is apparent.

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1 488. Defendants’ actions are the proximate cause of injuries to Plaintiff, and Plaintiff

2 seeks damages and all other appropriate relief.

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4 COUNT 24 VIOLATION OF RACKETEER INFLUENCED AND

5 CORRUPT ORGANIZATIONS ACT, 18 U.S.C. § 1962 (c) and (d)

6

7 489. Plaintiff repeats and realleges and incorporates by reference the allegations in

8 paragraphs 1 through 488 above with the same force and effect as if herein set forth.

9 490. Defendants violated RICO statutes The RICO enterprise which engaged in the
10 pattern of practices and the activities of which affected interstate commerce was comprised
11 of an association in fact of entities and individuals that included the Defendants and other as
12 yet unnamed entities and individuals and operated as a continuing financial crimes
13 enterprise
14 491. The members of the RICO enterprise had a common purpose: to increase and
15 maximize their revenues and they engaged in a pattern of practices in the financial and
16 mortgage and mortgage servicing industries to accomplish that goal, controlling every aspect
17 from the money-lending to start a mortgage to securitizing, to manufacturing defaults to
18 foreclose on the properties
19 492. At all relevant times, Defendants were associated with the enterprise and agreed and
20 conspired to violate 18 U.S.C. § 1962(c) and 18 U.S.C. § 1962(d). Defendants agreed to
21 conduct and participate directly and indirectly, in the conduct and affairs of the enterprise
22 through a pattern of racketeering activity, in violation of 18 U.S.C. § 1962(d).
23 493. Defendants’ association included exceptionally profitable exclusive relationships
24 collusive activities, and circular arrangements among the banks mortgage lenders and

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servicers, their affiliates and their cooperating insurers as well as “sales” of affiliates
together with retention of all employees to divert suspicion and provide a facade of innocent
errors rather than deliberate criminal action.

494. Racketeering activity is defined to include any act which is indictable under any of
the following provisions of title 181 United States Code: Section 1341 (relating to mail
fraud), Section 1343 (relating to wire fraud). Section 1344 (relating to financial institution
fraud), among others

495. Defendants committed and caused to be committed a series of overt acts in
furtherance of the conspiracy and to affect the objects thereof, including but not limited to
the acts set forth above

496. F or the purpose of executing the scheme to defraud, Defendants sent, mailed and
transmitted, or caused to be sent, mailed or transmitted, in interstate or foreign commerce
numerous materials including but not limited to the notices and letters described above
informing Plaintiff that she was behind in her payments that she owed additional sums that
they could increase Plaintiff’s policy limits above insurable interest and charge Plaintiff
unreasonably high force-placed insurance premiums, that Plaintiff had to increase the
insurance limits on her property, that Plaintiff was required to pay a higher mortgage
payment, that Plaintiff was in default.

497. Defendants instructed Plaintiff to set up automatic mortgage payments by wire and
Plaintiff’s mortgage payments were made by wire transfer. Defendants also communicated
with Plaintiff via telephone and computer messaging. Defendants also transferred sums
among themselves including but not limited to kickbacks in furtherance of their scheme to

defraud Plaintiff, in violation of the wire fraud statutes

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498. The relationships including sales exclusive contracts and other sweetheart
deals between Defendants and others in the mortgage servicing industry, can be clearly
defined. The exceptionally profitable exclusive relationships collusive activities, and
circular arrangements among the mortgage lenders and servicers, their affiliates and their
cooperating insurers have become common knowledge Defendants and their cohorts
engage in a pattern of practices that are virtually the same, even when no visible
connections between the parties are seen, often even using the same patterns of speech.
499. A diagram of the movements in what is basically a world-wide controlled group
of RICO operators resembles a massive shell game activity. Those movements have
obscured the perpetrators of the outrages in the mortgage industry, “It wasn’t mel” they
say. “It’s not my fault. I’m just following the rules/the regulations/the orders” Further, the
shell game operating in the mortgage industry is designed to keep mortgagors from being
able to compel corrections in the mortgage transaction records Servicers transfer
servicing when a mortgagor becomes obstreperous.

500. That is what has happened to Plaintiff, When Plaintiff created enough noise
Defendant BOA transferred Plaintiff’s mortgage servicing to Defendant Seterus with
Fannie Mae approval, which is required. When Defendant BOA transferred servicing,
BOA also transferred the falsified, fraudulent mortgage transaction records to Defendant
Seterus When Plaintiff complained to Seterus, Seterus informed Plaintiff that Defendant
Seterus could do nothing to correct the records, and that Plaintiff should just pay the
outstanding amounts When Plaintiff complained to Fannie Mae, Fannie Mae’s customer
representative told Plaintiff that Fannie Mae could not access Plaintiff BOA’s mortgage

transaction data because BOA was no longer the servicer. This in spite of the fact that

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Fannie Mae contracts require servicers to maintain loan records even after they stop
servicing

501. However, regardless of the celerity with which the RICO actors move mortgages
subsidiaries employees agents and assigns when the relationships and actions between
the perpetrators including Defendants are graphed with the various class action suits
regulatory actions and other official moves the pattern becomes clearer.

502. Members of the RICO enterprise conspired to defraud the government with respect
to claims and made false fictitious or fraudulent claims some of which were related to
fraudulent servicers charges which Defendants withheld from the proceeds of foreclosure
sales Defendants as servicers are not required to forward to Fannie Mae partial payments
that are posted to escrow, for example Plaintiff saw false charges such as PIP and MIP on
mortgage transactions Plaintiff did not have those payables, but the “errors” could have
more than one function, and another function is to support false claims

503. The RlCO enterprise functioned over a period of years as a continuing unit and
maintained an ascertainable structure separate and distinct from the pattern of racketeering
activity. The Defendants conducted and participated in the affairs of this RICO enterprise
through a pattern of racketeering activity that lasted more than one year, at a minimum,
and that consisted of numerous and repeated violations of federal mail and wire fraud
statutes which prohibit the use of any interstate or foreign wire or mail facility for the
purpose of executing a scheme to defraud, in violation of 18 U.S.C. §§ 1341 and 1343.
504. As part of and in furtherance of the scheme to defraud, Defendants made

numerous material omissions and misrepresentations including false and unrelated

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charges to Plaintiff’s mortgage account with the intent to defraud and deceive Plaintiff,
and statements that the false charges were “mistakes” that would be corrected.

505. The members of the RICO enterprise had a common purpose: to increase and
maximize their revenues by creating a “manufactured” default or defaults resulting directly
not from non-payment of the mortgage or failure to secure adequate insurance but from
Defendants’ own creative bookkeeping; attempting to force borrowers to pay various fees
charges and penalties created by Defendants’ fraudulent, false entries in mortgage records
falsely notifying borrowers Defendants did not have proof of insurance or that borrowers did
not carry the minimum insurance limits required by the mortgage misrepresenting
Defendants’ insurable interest; using the false information to justify purchase of lenders’
insurance from which they received kickbacks or other benefits creating and charging a
fraudulent higher monthly mortgage payment; failing to timely book mortgage payments
thus making false entries in the records showing payments late; labeling the regular
mortgage payments as “partial” when borrowers paid the correctly owed amount; failing to
apply those payments timely received to principal and interest; applying those regular
mortgage payments to an unauthorized escrow account and thus converting them to their
use', labeling the borrowers as behind in payments pressuring borrowers to pay the
fraudulent increases engaging in unfair collection practices knowingly making false reports
to credit bureaus using manufactured, forged paper trails to underline the fictional default;
foreclosing on the property; creating fraudulent transfers/assignments to falsely show
ownership and right to foreclose When the property is sold, Defendants first collect the

unreasonable and false charges they built up on the mortgage account, and pay the

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mortgagee what is left, if anything lf Defendants or their associates buy the foreclosed
house and sell it again, their profits are further increased.

506. As part of their pattern of practices, Defendants routinely made false entries in
reports and statements with intent to injure or defraud Plaintiff, an individual person

507. The pattern of practices included but is not limited to acting to create
“manufactured” defaults resulting directly not from non-payment of the mortgage or failure
to secure adequate insurance but from Defendants’ own creative bookkeeping; attempting to
force borrowers to pay various fees charges and penalties created by Defendants’
fraudulent; making false entries in mortgage records misapplying funds falsely notifying
borrowers via mail and wire that Defendants did not have proof of insurance or that
borrowers did not carry the minimum insurance limits required by the mortgage;
misrepresenting Defendants’ insurable interest; using the false information to justify
purchase of lenders’ insurance from which they received kickbacks or other benefits
including free or low-cost “services;” creating and charging a fraudulent higher monthly
mortgage payment; failing to timely book mortgage payments thus making false entries in
the records showing payments late; labeling the regular mortgage payments as “partial”
when borrowers paid the correctly owed amount but not the inflated mortgage payment;
failing to apply those payments timely received to principal and interest; booking fraudulent
charges and fees applying those regular mortgage payments to an unauthorized escrow
account and thus converting them to their use; labeling the borrowers as behind in payments
reporting false information to credit bureaus using the fraudulent default status and credit
bureau reports to place properties in “high risk” categories that created higher insurance rates

and premiums pressuring borrowers to pay the fraudulent increases engaging in unfair

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collection practices using manufactured, forged paper trails to underline the fictional
default; foreclosing on the property; creating fraudulent transfers/assignments to falsely
show ownership and right to foreclose

508. When the property is sold, Defendants first collect the unreasonable and false
charges they built up on the mortgage account, and pay the mortgagee what is left, if
anything lf Defendants or their associates buy the foreclosed house and sell it again, their
profits are further increased.

509. Defendants created a monopolistic enterprise whereby they controlled all aspects of
the mortgage and services for the mortgage and the property. They made all decisions were
the sole point of control for all purchases and payments They moved title and ownership
through a privately held corporation of which they were founding members and through
which they could adjust the files as they pleased, without supervision 'l`he degree of
complicity involving those whose duty it is to monitor and supervise the activities of
Defendants and their RICO associates is currently unknown, but the arrogance and
willfulness demonstrated by Defendants in their hardheaded continuance of their illegal
activities leads Plaintiff to belief that said complicity is more than just minimal.

510. Defendants used false charges to increase escrow and unilaterally increase the
agreed mortgage payment. Upon information and belief, borrowers were then artificially
priced out of their homes as Defendants’ manipulations increased mortgage payments from
amounts which borrowers could have made to amounts they could not pay.

511. ln order to “comply” with various regulations contractual obligations and
settlements of earlier suits and actions Defendants offered lip service to their duty to

refinance troubled loans However, without adequate supervisor, nothing prevented

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Defendants from making unreasonable offers which they knew borrowers would refuse as
they offered to Plaintiff,

512. Plaintiff is fortunate in that she was fully capable of making the mortgage
payments or of purchasing the property outright.

513. But although Plaintiff made 15 payments more than she was required to make
significantly overpaying the mortgage, Defendants implemented their assembly line process
to seize Plaintiff’ s property, using a fraudulent lien with an inadequate chain of assignments
and filing a notarized Appointment of Substitute Trustee containing false statements and
intend to sell Plaintiff’ s property on June 6, 2017.

514. From bank/mortgagee to middle man seller to “servicer” to insurance sales to
conversion of both federal and private funds all through an infinitely complex creative
bookkeeping system and a network of RICO actors Defendants are making money hand
over fist, piling up the profits And some of that profit derives from Defendants predation on
Plaintiff.

515. By reason and as a result of Defendants’ conduct and participation in the
racketeering activity alleged herein, Defendants have caused damages to Plaintiff in the form
of increased costs of insurance, increased costs of other goods and services as charged by
those who use credit information to determine rates and fees loss of time from her business
time billed to Defendants for activities involved in complaints and lengthy, frustrating
resolution of Defendants’ repeated violations and damage to her health and property

suffered as a result of Defendants’ RICO activities

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516. Defendants’ RlCO activities are a proximate cause of injury to Plaintiff, wherefore
Plaintiff seeks compensatory and triple damages attorneys’ fees and costs and all other
available and appropriate relief.

DEFENDANTS’ EGREGIOUS, UNCONSIONABLE CONTINUING CONDUCT
REQUIRES PUNITIVE DAMAGES.

517. Defendants’ egregious unconscionable continuing conduct requires punitive

 

 

damages without cap. Texas caps punitive damages but Article lV, US Constitution,
provides that the citizens of each state shall be entitled the same privileges of all others
518. Defendants willfully deprived Plaintiff of much more than the mortgage

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payments they converted to their use Defendants servicing” practices are designed to
put the maximum pressure on the mortgagors, in order to confuse depress and stress
them, to expend their time on senseless and ineffective activities [administrative
exhaustion] responding to Defendants and to delay and/or avoid the thwarting of their
activities As in other forms of extortion, the object is to induce the mortgagor to submit to
Defendants’ demands for additional money, on pain of negative credit reporting, of
foreclosure and loss of homes and of unending, continuing debt for “unpaid balances.”
519. Defendants’ actions against Plaintiff are particularly unconscionable given the
existing fiduciary relationship, and are made heinous by their knowledge of and
exploitation of Plaintiff’ s disabilities

520. Plaintiff Thomas suffers disabilities from stroke and traumatic brain injury. She
has memory problems organizational problems aphasia [written and verbal], Riddock’s

[a visual perception problem], concentration/distractibility problems and limited effective

time, and although her IQ is significantly over normal, these disabilities mean that

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Thomas can only complete 2 or 3 tasks in a given day, when she is undisturbed When she
is stressed or interrupted in her work, she cannot complete tasks

521. The more stress to which she is subjected, the fewer tasks she can effectively
handle Yet, Plaintiff is by unavoidable circumstances in the position of providing life-
saving care for her granddaughter, who has a chronic, life-threatening condition which
requires constant high-level attention and responses ln spite of her other activities,
Plaintiff was able to do so without the debilitation caused by Defendants’ deliberate
actions after they induced her to acquire a mortgage on a property which she could have
purchased outright, and in her usual practice would have purchased outright, absent
Defendants’ self-serving actions

522. Because of Defendants’ persecution of Plaintiff, Plaintiff was frequently reduced
to being able to handle that task alone And, although she maintained her granddaughter’s
life and reasonable health, there were many necessary tasks she could not complete - or
remember - because of Defendants’ unrelenting pressure and unconscionable acts

523. As Defendants continued and increased their nefarious pattern and practices,
Plaintiff’s life was made increasingly miserable. Her increasing anger and pain are clearly
visible in her communications to Defendants and in her actual billing, with billing rates
increasing as Defendants maintained their intransigency. She developed an anxiety
disorder, which further negatively impacted her life Plaintiff suffered from high blood
pressure spikes as a result of Defendants’ actions and continued intransigency, and was
hospitalized after a particularly trying episode with Defendants Plaintiff’ s stress resulted

in teeth grinding, and her permanent bridges were broken and continue to chip. Repair

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will require surgical intervention and significant time down, and costs are estimated to be
in the range of 835,000 to 845,000.

524. Defendants deprived Plaintiff of peace and quiet, and ensured that she suffered
nine years of their egregious unconscionable actions Plaintiff had specific plans for those
nine years including the establishment of business interests that were planned to provide
for her granddaughter, who is unable to work, after Plaintiff’s death. Because of
Defendants Plaintiff was unable to do the work that had to have been done

525. Because Plaintiff lives from crisis to crisis dealing with the potential of sudden
death at any time, she could not carry out the continuing activities necessary to completely
end Defendants’ depredations; she could only fight until the more important crises related
to healthcare and maintaining her granddaughter’s life intervened. Frequently, while
dealing with necessary health tasks Plaintiff was interrupted by Defendants starting up
again There was never time to end Defendants’ egregious activities - and Defendants
made ending those activities as difficult as possible But throughout, Plaintiff made sure
that her obligation to pay the mortgage payments was carried out, and in fact Plaintiff
continued paying the mortgage for 15 months after the last required payment was made
526. Plaintiff’s life has been made miserable by Defendants Defendants have stolen
that most valuable commodity of all - time - which they cannot replace; however, they
can pay her damages sufficient to remove future anxieties for herself and her family.
Aside from the actual mortgage depredations Defendants with their external actions such
as bad credit reporting, managed to affect Plaintiff’ s entire financial life

527. Plaintiff has at various times billed Defendants for their nefarious activities As a

consultant, her last billing rate to Defendants was 81550/hour, which would total in excess

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of 828,000,000. The concept of billing for time is well-known and accepted', individuals
base their rates on expertise difficulty, outcome etc. Plaintiff is the person who best
knows what her time is worth, and how much difficulty she has experienced at
Defendants’ hands

528. Time becomes more valuable as one reaches end stage lf one were told that one
had 10 hours to live but could purchase 10 additional hours what would be the price that
anyone would be willing, if not able to pay? Time cannot be replaced, but with money,
one can hire others to expend the time one no longer enjoys Duty can be passed to others
529. Defendants have jointly and severally paid settlements over a period of years but
those settlements have failed to cure the problems and Defendants have continued in their
unconscionable acts Plaintiff requests damages sufficient to curb Defendants’ activities
530. BANK OF AMERICA assets March 31, 2017 were 82.248 Trillion. The bank
reported 2016 earnings of 817.9 billion, up 13% from 2015, the second-highest income
reported in the company’s history. Named BOA president and CEO in 2010, in 2016
Brian Moynihan’s total compensation was 820 million (over 89,000/hr based on 2040
annual hours); the bank’s board said that 92.5% of Moynihan’s pay was “variable and
directly linked to company performance,” according to an SEC filing

531. Plaintiff requests the Court to grant punitive damages in the amount of 81 .79
Billion, one-tenth of Bank of America’s reported 2016 earnings part of the award to come
directly from the assets of the John/lane Does to be named as identified.

PRAYER FOR RELIEF

 

Plaintiff prays for all available and appropriate relief, including

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lnjunctive relief (prospective, retroactive or both), to rescind foreclosure and to prevent
sale of Plaintiffs property on June 6, 2017; Declaratory relief, on determination of
ownership, monies owed, and an accurate accounting; Quiet title; Compensatory
damages Punitive damages Pain and suffering damages Statutory damages such as
treble damages or fines as they apply; Reimbursement of funds paid or lost through
misapplication and other acts of Defendants including overpayment of mortgage loan
(814,086.35); Payment of lnvoiced amounts Attorneys’ fees Costs; and such other and
further relief as this court may deem just and proper.

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Kat een Thomas /s

  
  
 

Signed under penalties of pte ury:

Kathleen Thomas Pro Se Plaintiff

10001 Overbrook Drive Conroe TX 77304
VERIFICATION
l, Kathleen Thomas Pro Se Plainiff, verify that to the best of the my knowledge
information, and belief, formed after an inquiry reasonable under the circumstances the
material presented is true and correct, not filed for an improper purpose and has the

requisite degree of evidentiary and legal support. Kathleen Thomas /s/

ACKNOWLEDGMENT

STATE OF TEXAS

County of Montgomery

On June l, 2017, before me k °T§'M cdi high , a Notary Public, personally

 

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appeared Kathleen Thomas who proved to me on the basis of satisfactory evidence to be

the person whose name is subscribed to the within instrument and acknowledged to me

that she executed the same in her authorized capacity, and that by her signature on the

instrument the person executed the instrument

l certify under PENALTY OF PERJURY under the laws of the State of Texas that the

foregoing paragraph is true and correct

WITNESS my hand and official seal.

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Notary 10 125916053

 

 

 

